Case 22-11068-JTD   Doc 25689-2   Filed 09/25/24   Page 1 of 20




                        EXHIBIT A

                      Proposed Order
             Case 22-11068-JTD             Doc 25689-2         Filed 09/25/24        Page 2 of 20




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

          Debtors.                                            (Jointly Administered)

                                                              Ref. No. __


         ORDER SUSTAINING DEBTORS’ NINETY-SECOND (NON-SUBSTANTIVE)
                       OMNIBUS OBJECTION TO CERTAIN
                   SUPERSEDED CLAIMS (CUSTOMER CLAIMS)

                 Upon the ninety-second omnibus objection (the “Objection”) 2 of FTX Trading

Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of

an order (this “Order”) sustaining the Objection and disallowing and expunging in their entirety

the Superseded Claims set forth in Schedule 1 attached hereto; and this Court having jurisdiction

to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court being able to issue a final order consistent with Article III of

the United States Constitution; and venue of these Chapter 11 Cases and the Objection in this

district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

notice of the Objection and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.
             Case 22-11068-JTD        Doc 25689-2       Filed 09/25/24      Page 3 of 20




further notice is necessary; and responses (if any) to the Objection having been withdrawn,

resolved or overruled on the merits; and a hearing having been held to consider the relief

requested in the Objection and upon the record of the hearing and all of the proceedings had

before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors and their estates; and that the legal and factual bases

set forth in the Objection establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Objection is SUSTAINED as set forth herein.

               2.      Each Superseded Claim set forth in Schedule 1 attached hereto is

disallowed and expunged in its entirety. The claims listed in the column titled

“Surviving Claims” identified on Schedule 1 attached hereto shall remain on the claims register,

subject to the Debtors’ further objections on any substantive or non-substantive grounds.

               3.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.

               4.      This Order has no res judicata, estoppel, or other effect on the validity,

allowance, or disallowance of, and all rights to object to or defend on any basis are expressly

reserved with respect to any Superseded Claims referenced or identified in the Objection that is

not listed on Schedule 1 attached hereto.

               5.      To the extent a response is filed regarding any Superseded Claim, each

such Superseded Claim, and the Objection as it pertains to such Superseded Claim, will

constitute a separate contested matter as contemplated by Bankruptcy Rule 9014. This Order




                                                 -2-
             Case 22-11068-JTD         Doc 25689-2      Filed 09/25/24      Page 4 of 20




will be deemed a separate order with respect to each Superseded Claim. Any stay of this Order

pending appeal by any claimants whose claims are subject to this Order shall only apply to the

contested matter which involves such claimant and shall not act to stay the applicability and/or

finality of this Order with respect to the other contested matters listed in the Objection or this

Order.

               6.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               7.        Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtor may have to enforce rights of setoff against the

claimants.

               8.        Nothing in the Objection or this Order, nor any actions or payments made

by the Debtor pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

               9.        This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.




                                                  -3-
           Case 22-11068-JTD         Doc 25689-2       Filed 09/25/24     Page 5 of 20




               10.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.



Dated: ___________________
       Wilmington, Delaware                           The Honorable John T. Dorsey
                                                      Chief United States Bankruptcy Judge




                                                -4-
Case 22-11068-JTD   Doc 25689-2   Filed 09/25/24   Page 6 of 20




                       SCHEDULE 1

                     Superseded Claims
                                                                                                    Case 22-11068-JTD                                                                                 Doc 25689-2                                                Filed 09/25/24                    Page 7 of 20
                                                                                                                                                                                                                             FTX Trading Ltd. 22-11068 (JTD)
                                                                                                                                                                                                                        Ninety-Second Omnibus Claims Objection
                                                                                                                                                                                                                             Schedule 1 - Superseded Claims

                                                                                                                               Claims to be Disallowed                                                                                                                                             Surviving Claims
 Claim                                                                                                                                                                                                                                    Claim
                                              Name                                                          Debtor                                                      Tickers                       Ticker Quantity                                               Name                  Debtor                       Tickers   Ticker Quantity
Number                                                                                                                                                                                                                                   Number
30063  Name on file                                                                    FTX Trading Ltd.                                                                                                                    Undetermined* 75802  Name on file               FTX Trading Ltd.              ETH                                     0.000219880000000
                                                                                                                                                                                                                                                                                                         ETHW                                    0.000219880609073
                                                                                                                                                                                                                                                                                                         GOG                                     0.291400000000000
                                                                                                                                                                                                                                                                                                         JOE                                     0.398960000000000
                                                                                                                                                                                                                                                                                                         TRX                                     0.671720000000000
                                                                                                                                                                                                                                                                                                         USD                                 6,373.655057364509000
64841          Name on file                                                            FTX Trading Ltd.                                       TRX                                                                     0.000806000000000 65179*       Name on file          FTX Trading Ltd.              TRX                                     0.000806000000000
                                                                                                                                              USDT                                                                   15.849910084359546                                                                  USDT                                   15.849910084359546
12874          Name on file                                                            FTX Trading Ltd.                                       AMPL                                                                    0.015222837604205 31144        Name on file          FTX Trading Ltd.                                                          Undetermined*
                                                                                                                                              BTC                                                                     0.000000006091998
                                                                                                                                              COIN                                                                    0.000000005445726
                                                                                                                                              COMP                                                                    0.000000003500000
                                                                                                                                              ETH                                                                     0.000000008016968
                                                                                                                                              ETHW                                                                    0.000000001766968
                                                                                                                                              FTT                                                                   150.000100000000000
                                                                                                                                              LUNA2                                                                 548.221393900000000
                                                                                                                                              LUNA2_LOCKED                                                        1,279.183252000000000
                                                                                                                                              MOB                                                                   268.049439151288300
                                                                                                                                              SRM                                                                     0.261331620000000
                                                                                                                                              SRM_LOCKED                                                            226.443854060000000
                                                                                                                                              TRX                                                                     0.000002000000000
                                                                                                                                              USD                                                                   -28.893905684015603
                                                                                                                                              USDT                                                                    1.907981410715992
21661          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                                0.000000000000000 63919*       Name on file          FTX Trading Ltd.              ADA-PERP                                0.000000000000000
                                                                                                                                              ALICE-PERP                                                              0.000000000000000                                                                  ALICE-PERP                              0.000000000000000
                                                                                                                                              ATOM-PERP                                                               0.000000000000000                                                                  ATOM-PERP                               0.000000000000000
                                                                                                                                              AVAX-PERP                                                               0.000000000000000                                                                  AVAX-PERP                               0.000000000000000
                                                                                                                                              AXS-PERP                                                                0.000000000000000                                                                  AXS-PERP                                0.000000000000000
                                                                                                                                              BTC                                                                     0.000200000000000                                                                  BTC                                     0.000200000000000
                                                                                                                                              BUSD                                                                                                                                                       BUSD                                1,445.000000000000000
                                                                                                                                              DOT-PERP                                                                0.000000000000000                                                                  DOT-PERP                                0.000000000000000
                                                                                                                                              EGLD-PERP                                                               0.000000000000000                                                                  EGLD-PERP                               0.000000000000000
                                                                                                                                              ETH-PERP                                                                0.000000000000000                                                                  ETH-PERP                                0.000000000000000
                                                                                                                                              FTM-PERP                                                                0.000000000000000                                                                  FTM-PERP                                0.000000000000000
                                                                                                                                              MANA-PERP                                                               0.000000000000000                                                                  MANA-PERP                               0.000000000000000
                                                                                                                                              MATIC-PERP                                                              0.000000000000000                                                                  MATIC-PERP                              0.000000000000000
                                                                                                                                              NEAR-PERP                                                               0.000000000000000                                                                  NEAR-PERP                               0.000000000000000
                                                                                                                                              OMG-PERP                                                                0.000000000000000                                                                  OMG-PERP                                0.000000000000000
                                                                                                                                              RUNE-PERP                                                               0.000000000000000                                                                  RUNE-PERP                               0.000000000000000
                                                                                                                                              SOL                                                                     0.000015710000000                                                                  SOL                                     0.000015710000000
                                                                                                                                              SOL-PERP                                                                0.000000000000000                                                                  SOL-PERP                                0.000000000000000
                                                                                                                                              USD                                                                 1,552.166326686427300                                                                  USD                                 1,552.166326686427300
                                                                                                                                              USDT                                                                    0.005613000000000                                                                  USDT                                    0.005613000000000
34683          Name on file                                                            FTX Trading Ltd.                                       USD                                                                 2,036.910000000000000 75528        Name on file          FTX Trading Ltd.              USD                                 2,036.913670694138500
                                                                                                                                                                                                                                                                                                         USDT                                    0.000000002191116
34644          Name on file                                                            FTX Trading Ltd.                                                                                                                    Undetermined* 75528       Name on file          FTX Trading Ltd.              USD                                 2,036.913670694138500
                                                                                                                                                                                                                                                                                                         USDT                                    0.000000002191116
77925          Name on file                                                            FTX Trading Ltd.                                       1INCH-20211231                                                          0.000000000000000 78239        Name on file          FTX Trading Ltd.              1INCH-20211231                          0.000000000000000
                                                                                                                                              1INCH-PERP                                                              0.000000000000000                                                                  1INCH-PERP                              0.000000000000000
                                                                                                                                              AAVE-PERP                                                               0.000000000000000                                                                  AAVE-PERP                               0.000000000000000
                                                                                                                                              ADA-PERP                                                                0.000000000000000                                                                  ADA-PERP                                0.000000000000000
                                                                                                                                              ALGO-PERP                                                               0.000000000000000                                                                  ALGO-PERP                               0.000000000000000
                                                                                                                                              ALICE-PERP                                                              0.000000000000000                                                                  ALICE-PERP                              0.000000000000000
                                                                                                                                              ALPHA-PERP                                                              0.000000000000000                                                                  ALPHA-PERP                              0.000000000000000
                                                                                                                                              APE-PERP                                                                0.000000000000000                                                                  APE-PERP                                0.000000000000000
                                                                                                                                              AR-PERP                                                                 0.000000000000000                                                                  AR-PERP                                 0.000000000000000
                                                                                                                                              ASD-PERP                                                                0.000000000000000                                                                  ASD-PERP                                0.000000000000000
                                                                                                                                              ATLAS-PERP                                                              0.000000000000000                                                                  ATLAS-PERP                              0.000000000000000
                                                                                                                                              ATOM-20210326                                                           0.000000000000000                                                                  ATOM-20210326                           0.000000000000000
                                                                                                                                              ATOM-PERP                                                               0.000000000000000                                                                  ATOM-PERP                               0.000000000000000
                                                                                                                                              AVAX                                                                    0.000000000381061                                                                  AVAX                                    0.000000000381061
                                                                                                                                              AVAX-20210924                                                           0.000000000000000                                                                  AVAX-20210924                           0.000000000000000
                                                                                                                                              AVAX-PERP                                                               0.000000000000227                                                                  AVAX-PERP                               0.000000000000227
                                                                                                                                              AXS-PERP                                                                0.000000000000000                                                                  AXS-PERP                                0.000000000000000
                                                                                                                                              BAND-PERP                                                               0.000000000000000                                                                  BAND-PERP                               0.000000000000000
                                                                                                                                              BAO-PERP                                                                0.000000000000000                                                                  BAO-PERP                                0.000000000000000
                                                                                                                                              BAT-PERP                                                                0.000000000000000                                                                  BAT-PERP                                0.000000000000000
                                                                                                                                              BCH-PERP                                                                0.000000000000000                                                                  BCH-PERP                                0.000000000000000
                                                                                                                                              BIT-PERP                                                                0.000000000000000                                                                  BIT-PERP                                0.000000000000000
                                                                                                                                              BNB-PERP                                                                0.000000000000000                                                                  BNB-PERP                                0.000000000000000
                                                                                                                                              BSV-PERP                                                                0.000000000000000                                                                  BSV-PERP                                0.000000000000000
                                                                                                                                              BTC                                                                     0.000000000500000                                                                  BTC                                     0.000000000500000
                                                                                                                                              BTC-MOVE-20210403                                                       0.000000000000000                                                                  BTC-MOVE-20210403                       0.000000000000000
                                                                                                                                              BTC-MOVE-20210508                                                       0.000000000000000                                                                  BTC-MOVE-20210508                       0.000000000000000
                                                                                                                                              BTC-MOVE-WK-20210409                                                    0.000000000000000                                                                  BTC-MOVE-WK-20210409                    0.000000000000000
                                                                                                                                              BTC-PERP                                                                0.000000000000000                                                                  BTC-PERP                                0.000000000000000
                                                                                                                                              CAKE-PERP                                                               0.000000000000000                                                                  CAKE-PERP                               0.000000000000000
                                                                                                                                              CHR-PERP                                                                0.000000000000000                                                                  CHR-PERP                                0.000000000000000
                                                                                                                                              CHZ-PERP                                                                0.000000000000000                                                                  CHZ-PERP                                0.000000000000000
                                                                                                                                              CREAM-PERP                                                              0.000000000000000                                                                  CREAM-PERP                              0.000000000000000
                                                                                                                                              CRO-PERP                                                                0.000000000000000                                                                  CRO-PERP                                0.000000000000000
                                                                                                                                              CRV-PERP                                                                0.000000000000000                                                                  CRV-PERP                                0.000000000000000
                                                                                                                                              DENT-PERP                                                               0.000000000000000                                                                  DENT-PERP                               0.000000000000000
                                                                                                                                              DODO-PERP                                                               0.000000000000000                                                                  DODO-PERP                               0.000000000000000
                                                                                                                                              DOGE                                                                    0.888888880000000                                                                  DOGE                                    0.888888880000000
                                                                                                                                              DOGE-20210625                                                           0.000000000000000                                                                  DOGE-20210625                           0.000000000000000
                                                                                                                                              DOGE-PERP                                                               0.000000000000000                                                                  DOGE-PERP                               0.000000000000000
                                                                                                                                              DOT-20210326                                                            0.000000000000000                                                                  DOT-20210326                            0.000000000000000
                                                                                                                                              DOT-20210625                                                            0.000000000000000                                                                  DOT-20210625                            0.000000000000000
                                                                                                                                              DOT-PERP                                                                0.000000000000000                                                                  DOT-PERP                                0.000000000000000
                                                                                                                                              DYDX-PERP                                                               0.000000000000000                                                                  DYDX-PERP                               0.000000000000000
                                                                                                                                              EDEN-PERP                                                               0.000000000000000                                                                  EDEN-PERP                               0.000000000000000
                                                                                                                                              EGLD-PERP                                                               0.000000000000000                                                                  EGLD-PERP                               0.000000000000000
                                                                                                                                              ENS-PERP                                                                0.000000000000227                                                                  ENS-PERP                                0.000000000000227
                                                                                                                                              EOS-20210625                                                            0.000000000000000                                                                  EOS-20210625                            0.000000000000000
                                                                                                                                              EOS-PERP                                                                0.000000000000000                                                                  EOS-PERP                                0.000000000000000
                                                                                                                                              ETC-PERP                                                                0.000000000000000                                                                  ETC-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                     0.000000010000000                                                                  ETH                                     0.000000010000000
                                                                                                                                              ETH-PERP                                                                0.000000000000000                                                                  ETH-PERP                                0.000000000000000
                                                                                                                                              FIDA-PERP                                                               0.000000000000000                                                                  FIDA-PERP                               0.000000000000000
                                                                                                                                              FIL-PERP                                                                0.000000000000090                                                                  FIL-PERP                                0.000000000000090
                                                                                                                                              FLOW-PERP                                                              -0.000000000000454                                                                  FLOW-PERP                              -0.000000000000454
                                                                                                                                              FTM-PERP                                                                0.000000000000000                                                                  FTM-PERP                                0.000000000000000
                                                                                                                                              FTT                                                                    25.019994131422283                                                                  FTT                                    25.019994131422283
                                                                                                                                              FTT-PERP                                                                0.000000000000113                                                                  FTT-PERP                                0.000000000000113
                                                                                                                                              FXS-PERP                                                                0.000000000000005                                                                  FXS-PERP                                0.000000000000005
                                                                                                                                              GALA-PERP                                                               0.000000000000000                                                                  GALA-PERP                               0.000000000000000
                                                                                                                                              GAL-PERP                                                                0.000000000000000                                                                  GAL-PERP                                0.000000000000000
                                                                                                                                              GLMR-PERP                                                               0.000000000000000                                                                  GLMR-PERP                               0.000000000000000
                                                                                                                                              GMT-PERP                                                                0.000000000000000                                                                  GMT-PERP                                0.000000000000000
                                                                                                                                              GRT-PERP                                                                0.000000000000000                                                                  GRT-PERP                                0.000000000000000
                                                                                                                                              GST-PERP                                                                0.000000000000000                                                                  GST-PERP                                0.000000000000000
                                                                                                                                              HOT-PERP                                                                0.000000000000000                                                                  HOT-PERP                                0.000000000000000
                                                                                                                                              HT-PERP                                                                 0.000000000000000                                                                  HT-PERP                                 0.000000000000000
                                                                                                                                              HUM-PERP                                                                0.000000000000000                                                                  HUM-PERP                                0.000000000000000
                                                                                                                                              ICP-PERP                                                                0.000000000000000                                                                  ICP-PERP                                0.000000000000000
                                                                                                                                              IOTA-PERP                                                               0.000000000000000                                                                  IOTA-PERP                               0.000000000000000
                                                                                                                                              KAVA-PERP                                                               0.000000000000000                                                                  KAVA-PERP                               0.000000000000000
                                                                                                                                              KIN                                                                     0.000000005904390                                                                  KIN                                     0.000000005904390
                                                                                                                                              KIN-PERP                                                                0.000000000000000                                                                  KIN-PERP                                0.000000000000000
                                                                                                                                              KNC-PERP                                                                0.000000000000727                                                                  KNC-PERP                                0.000000000000727
                                                                                                                                              KSHIB-PERP                                                              0.000000000000000                                                                  KSHIB-PERP                              0.000000000000000
                                                                                                                                              KSM-PERP                                                                0.000000000000000                                                                  KSM-PERP                                0.000000000000000
                                                                                                                                              LINA-PERP                                                               0.000000000000000                                                                  LINA-PERP                               0.000000000000000
                                                                                                                                              LINK-20210625                                                           0.000000000000000                                                                  LINK-20210625                           0.000000000000000
                                                                                                                                              LINK-PERP                                                               0.000000000000000                                                                  LINK-PERP                               0.000000000000000
                                                                                                                                              LOOKS-PERP                                                              0.000000000000000                                                                  LOOKS-PERP                              0.000000000000000
                                                                                                                                              LRC-PERP                                                                0.000000000000000                                                                  LRC-PERP                                0.000000000000000
                                                                                                                                              LTC-PERP                                                                0.000000000000000                                                                  LTC-PERP                                0.000000000000000
                                                                                                                                              LUNC-PERP                                                               0.000000000000000                                                                  LUNC-PERP                               0.000000000000000
                                                                                                                                              MANA-PERP                                                               0.000000000000000                                                                  MANA-PERP                               0.000000000000000
                                                                                                                                              MAPS-PERP                                                               0.000000000000000                                                                  MAPS-PERP                               0.000000000000000
                                                                                                                                              MATIC-PERP                                                              0.000000000000000                                                                  MATIC-PERP                              0.000000000000000
                                                                                                                                              MEDIA-PERP                                                              0.000000000000000                                                                  MEDIA-PERP                              0.000000000000000
                                                                                                                                              MKR-PERP                                                                0.000000000000000                                                                  MKR-PERP                                0.000000000000000
                                                                                                                                              MOB-PERP                                                                0.000000000000000                                                                  MOB-PERP                                0.000000000000000
                                                                                                                                              MTL-PERP                                                                0.000000000000000                                                                  MTL-PERP                                0.000000000000000
                                                                                                                                              NEAR-PERP                                                               0.000000000001818                                                                  NEAR-PERP                               0.000000000001818
                                                                                                                                              OKB-PERP                                                                0.000000000000909                                                                  OKB-PERP                                0.000000000000909
                                                                                                                                              OMG-20211231                                                            0.000000000000000                                                                  OMG-20211231                            0.000000000000000
                                                                                                                                              OMG-PERP                                                                0.000000000000000                                                                  OMG-PERP                                0.000000000000000
                                                                                                                                              OXY-PERP                                                                0.000000000000000                                                                  OXY-PERP                                0.000000000000000
                                                                                                                                              RAY-PERP                                                                0.000000000000000                                                                  RAY-PERP                                0.000000000000000
                                                                                                                                              REEF-20210625                                                           0.000000000000000                                                                  REEF-20210625                           0.000000000000000
                                                                                                                                              REEF-PERP                                                               0.000000000000000                                                                  REEF-PERP                               0.000000000000000
                                                                                                                                              REN-PERP                                                                0.000000000000000                                                                  REN-PERP                                0.000000000000000
                                                                                                                                              RUNE-PERP                                                               0.000000000000000                                                                  RUNE-PERP                               0.000000000000000
                                                                                                                                              SAND-PERP                                                               0.000000000000000                                                                  SAND-PERP                               0.000000000000000
                                                                                                                                              SHIB-PERP                                                               0.000000000000000                                                                  SHIB-PERP                               0.000000000000000
                                                                                                                                              SLP-PERP                                                                0.000000000000000                                                                  SLP-PERP                                0.000000000000000
                                                                                                                                              SNX-PERP                                                               -0.000000000000090                                                                  SNX-PERP                               -0.000000000000090
                                                                                                                                              SOL-20210326                                                            0.000000000000000                                                                  SOL-20210326                            0.000000000000000
                                                                                                                                              SOL-20210625                                                            0.000000000000000                                                                  SOL-20210625                            0.000000000000000
                                                                                                                                              SOL-20211231                                                            0.000000000000000                                                                  SOL-20211231                            0.000000000000000
                                                                                                                                              SOL-PERP                                                                0.000000000000000                                                                  SOL-PERP                                0.000000000000000
                                                                                                                                              SPELL-PERP                                                              0.000000000000000                                                                  SPELL-PERP                              0.000000000000000
                                                                                                                                              SRM                                                                     0.580424840000000                                                                  SRM                                     0.580424840000000
                                                                                                                                              SRM_LOCKED                                                              2.482650630000000                                                                  SRM_LOCKED                              2.482650630000000
                                                                                                                                              SRM-PERP                                                                0.000000000000000                                                                  SRM-PERP                                0.000000000000000
                                                                                                                                              SRN-PERP                                                                0.000000000000000                                                                  SRN-PERP                                0.000000000000000
                                                                                                                                              STEP-PERP                                                               0.000000000000000                                                                  STEP-PERP                               0.000000000000000
                                                                                                                                              STORJ-PERP                                                              0.000000000000000                                                                  STORJ-PERP                              0.000000000000000
                                                                                                                                              STX-PERP                                                                0.000000000000000                                                                  STX-PERP                                0.000000000000000
                                                                                                                                              SUSHI-PERP                                                              0.000000000000000                                                                  SUSHI-PERP                              0.000000000000000
                                                                                                                                              SXP-PERP                                                                0.000000000000000                                                                  SXP-PERP                                0.000000000000000
                                                                                                                                              THETA-20210625                                                          0.000000000000000                                                                  THETA-20210625                          0.000000000000000
                                                                                                                                              THETA-PERP                                                             -0.000000000000062                                                                  THETA-PERP                             -0.000000000000062
                                                                                                                                              TLM-PERP                                                                0.000000000000000                                                                  TLM-PERP                                0.000000000000000
                                                                                                                                              TOMO-PERP                                                              -0.000000000001818                                                                  TOMO-PERP                              -0.000000000001818
                                                                                                                                              TONCOIN-PERP                                                            0.000000000000000                                                                  TONCOIN-PERP                            0.000000000000000
                                                                                                                                              TULIP-PERP                                                              0.000000000000000                                                                  TULIP-PERP                              0.000000000000000
                                                                                                                                              USD                                                                 1,831.351072462137600                                                                  USD                                 1,831.351072462137600
                                                                                                                                              USDT                                                                    0.000000008029436                                                                  USDT                                    0.000000008029436
                                                                                                                                              USDT-PERP                                                               0.000000000000000                                                                  USDT-PERP                               0.000000000000000


65179*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
63919*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                     Case 22-11068-JTD                                                                             Doc 25689-2                                               Filed 09/25/24                     Page 8 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                          Surviving Claims
  Claim                                                                                                                                                                                                                                   Claim
                                              Name                                                           Debtor                                                     Tickers                    Ticker Quantity                                               Name                  Debtor                          Tickers   Ticker Quantity
 Number                                                                                                                                                                                                                                  Number
                                                                                                                                              USTC-PERP                                                            0.000000000000000                                                                  USTC-PERP                                  0.000000000000000
                                                                                                                                              VET-PERP                                                             0.000000000000000                                                                  VET-PERP                                   0.000000000000000
                                                                                                                                              WAVES-20210924                                                       0.000000000000000                                                                  WAVES-20210924                             0.000000000000000
                                                                                                                                              WAVES-PERP                                                           0.000000000000000                                                                  WAVES-PERP                                 0.000000000000000
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                  XRP-PERP                                   0.000000000000000
                                                                                                                                              XTZ-20211231                                                         0.000000000000000                                                                  XTZ-20211231                               0.000000000000000
                                                                                                                                              XTZ-PERP                                                             0.000000000000000                                                                  XTZ-PERP                                   0.000000000000000
                                                                                                                                              ZIL-PERP                                                             0.000000000000000                                                                  ZIL-PERP                                   0.000000000000000
                                                                                                                                              ZRX-PERP                                                             0.000000000000000                                                                  ZRX-PERP                                   0.000000000000000
25860          Name on file                                                            FTX Trading Ltd.                                       CRO                                                              3,000.000000000000000     90090    Name on file          FTX Trading Ltd.              CRO                                    3,000.000000000000000
                                                                                                                                              FTT                                                                 70.993710000000000                                                                  FTT                                       70.993710000000000
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                  FTT-PERP                                   0.000000000000000
                                                                                                                                              LUNA2                                                                0.000734459029500                                                                  LUNA2                                      0.000734459029500
                                                                                                                                              LUNA2_LOCKED                                                         0.001713737736000                                                                  LUNA2_LOCKED                               0.001713737736000
                                                                                                                                              LUNC                                                               159.930000000000000                                                                  LUNC                                     159.930000000000000
                                                                                                                                              SOL                                                                104.309318540000000                                                                  SOL                                      104.309318540000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                  SOL-PERP                                   0.000000000000000
                                                                                                                                              TRX                                                                  0.000002000000000                                                                  TRX                                        0.000002000000000
                                                                                                                                              USD                                                                 30.414421021071270                                                                  USD                                       30.414421021071270
                                                                                                                                              USDT                                                                 0.000000006453087                                                                  USDT                                       0.000000006453087
54292          Name on file                                                            FTX Trading Ltd.                                       BNB                                                                  0.001481628371379     54394    Name on file          FTX Trading Ltd.              BNB                                        0.001481628371379
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                  BTC-PERP                                   0.000000000000000
                                                                                                                                              DOGE-PERP                                                            0.000000000000000                                                                  DOGE-PERP                                  0.000000000000000
                                                                                                                                              ETC-PERP                                                             0.000000000000000                                                                  ETC-PERP                                   0.000000000000000
                                                                                                                                              ETH                                                                  0.000401334782336                                                                  ETH                                        0.000401334782336
                                                                                                                                              ETH-PERP                                                            -0.000000000000006                                                                  ETH-PERP                                  -0.000000000000006
                                                                                                                                              ETHW                                                                 0.000288605302826                                                                  ETHW                                       0.000288605302826
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                  FTT-PERP                                   0.000000000000000
                                                                                                                                              GALA                                                                 0.000000002885432                                                                  GALA                                       0.000000002885432
                                                                                                                                              LUNA2                                                                0.000000040745415                                                                  LUNA2                                      0.000000040745415
                                                                                                                                              LUNA2_LOCKED                                                         0.000000095072636                                                                  LUNA2_LOCKED                               0.000000095072636
                                                                                                                                              LUNC                                                                 0.008872400000000                                                                  LUNC                                       0.008872400000000
                                                                                                                                              MATIC                                                                0.000000002612770                                                                  MATIC                                      0.000000002612770
                                                                                                                                              SOL                                                                  0.001309506885072                                                                  SOL                                        0.001309506885072
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                  SOL-PERP                                   0.000000000000000
                                                                                                                                              TRX                                                                  0.100777000000000                                                                  TRX                                        0.100777000000000
                                                                                                                                              USD                                                                891.911295510545800                                                                  USD                                      891.911295510545800
                                                                                                                                              USDT                                                                 0.009717562776790                                                                  USDT                                       0.009717562776790
56524          Name on file                                                            FTX Trading Ltd.                                       USD                                                                  0.018904004481143     56548*   Name on file          FTX Trading Ltd.              USD                                        0.018904004481143
                                                                                                                                              USDT                                                                 0.000009131473507                                                                  USDT                                       0.000009131473507
9046           Name on file                                                            FTX Trading Ltd.                                       BTC                                                                  0.000799850000000     7894*    Name on file          FTX Trading Ltd.              BTC                                        0.000799850000000
                                                                                                                                              ETH                                                                  0.013997340000000                                                                  ETH                                        0.013997340000000
                                                                                                                                              LTC                                                                                                                                                     LTC                                        0.199962000000000
                                                                                                                                              USD                                                                  2.502325870000000                                                                  USD                                        2.502325870000000
                                                                                                                                              USDT                                                                36.625806360000000                                                                  USDT                                      36.625806360000000
8455           Name on file                                                            FTX Trading Ltd.                                       ETH                                                                  0.000364000000000 53030*       Name on file          FTX Trading Ltd.              USD                                        0.100000000000000
                                                                                                                                              ETHW                                                                 0.100364000000000                                                                  USDT                                   2,804.450000000000000
                                                                                                                                              USD                                                                  0.009906451300000
                                                                                                                                              USDT                                                             2,804.450000000000000
53024          Name on file                                                            FTX Trading Ltd.                                       USD                                                                  0.100000000000000 53030*       Name on file          FTX Trading Ltd.              USD                                        0.100000000000000
                                                                                                                                                                                                                                                                                                      USDT                                   2,804.450000000000000
75547          Name on file                                                            FTX Trading Ltd.                                       LUNC-PERP                                                            0.000000000000000 75680        Name on file          FTX Trading Ltd.              LUNC-PERP                                  0.000000000000000
                                                                                                                                              USD                                                              1,080.519859893750000                                                                  USD                                    1,080.519859893750000
35795          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                                    40195*       Name on file          FTX Trading Ltd.              ETH                                        0.000000000000000
                                                                                                                                              ETHW                                                                 1.017610862366000                                                                  ETHW                                       1.017610862366000
                                                                                                                                              FTT                                                                 25.095100600000000                                                                  FTT                                       25.095100600000000
                                                                                                                                              SHIB                                                         4,999,036.000000000000000                                                                  SHIB                               4,999,036.000000000000000
                                                                                                                                              SRM                                                                 55.353780980000000                                                                  SRM                                       55.353780980000000
                                                                                                                                              SRM_LOCKED                                                           1.109930220000000                                                                  SRM_LOCKED                                 1.109930220000000
                                                                                                                                              TRX                                                                  0.000002000000000                                                                  TRX                                        0.000002000000000
                                                                                                                                              USD                                                                  2.695048598104100                                                                  USD                                        2.695048598104100
                                                                                                                                              USDT                                                                 0.030000000000000                                                                  USDT                                       0.030000000000000
15822          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined* 74633        Name on file          FTX Trading Ltd.              ADA-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                                                      BOBA-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                                                      BTC                                        0.000000016630743
                                                                                                                                                                                                                                                                                                      BTC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                                                      ETCBULL                               19,431.000000000000000
                                                                                                                                                                                                                                                                                                      ETH                                        3.617714775930738
                                                                                                                                                                                                                                                                                                      ETHBULL                                    0.000000009000000
                                                                                                                                                                                                                                                                                                      ETH-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                                                      ETHW                                      10.081073704952694
                                                                                                                                                                                                                                                                                                      SOL-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                                                      TRUMPSTAY                             33,528.688585000000000
                                                                                                                                                                                                                                                                                                      USD                                        1.044452815886113
                                                                                                                                                                                                                                                                                                      USDT                                       0.000000006372564
58119          Name on file                                                            FTX EU Ltd.                                            ADA-PERP                                                             0.000000000000000 94584*       Name on file          FTX EU Ltd.                   ADA-PERP                                   0.000000000000000
                                                                                                                                              ALT-PERP                                                             0.000000000000000                                                                  ALT-PERP                                   0.000000000000000
                                                                                                                                              ATOM-PERP                                                            0.000000000000454                                                                  ATOM-PERP                                  0.000000000000454
                                                                                                                                              AXS-PERP                                                             0.000000000000113                                                                  AXS-PERP                                   0.000000000000113
                                                                                                                                              BCH                                                                  0.000000005000000                                                                  BCH                                        0.000000005000000
                                                                                                                                              BEAR                                                               463.670000000000000                                                                  BEAR                                     463.670000000000000
                                                                                                                                              BNB-PERP                                                             0.000000000000000                                                                  BNB-PERP                                   0.000000000000000
                                                                                                                                              BTC                                                                  0.000153657664040                                                                  BTC                                        0.000153657664040
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                  BTC-PERP                                   0.000000000000000
                                                                                                                                              BULL                                                                 0.000001045250000                                                                  BULL                                       0.000001045250000
                                                                                                                                              DEFI-PERP                                                            0.000000000000000                                                                  DEFI-PERP                                  0.000000000000000
                                                                                                                                              DOGE-PERP                                                            0.000000000000000                                                                  DOGE-PERP                                  0.000000000000000
                                                                                                                                              DOT-PERP                                                            -0.000000000000056                                                                  DOT-PERP                                  -0.000000000000056
                                                                                                                                              EOS-PERP                                                             0.000000000000909                                                                  EOS-PERP                                   0.000000000000909
                                                                                                                                              ETHBULL                                                              0.000017119500000                                                                  ETHBULL                                    0.000017119500000
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                  ETH-PERP                                   0.000000000000000
                                                                                                                                              ETHW                                                                 4.794395310000000                                                                  ETHW                                       4.794395310000000
                                                                                                                                              FTM                                                                  0.000000004170298                                                                  FTM                                        0.000000004170298
                                                                                                                                              FTM-PERP                                                             0.000000000000000                                                                  FTM-PERP                                   0.000000000000000
                                                                                                                                              FTT                                                                150.843290936819400                                                                  FTT                                      150.843290936819400
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                  FTT-PERP                                   0.000000000000000
                                                                                                                                              GALA-PERP                                                            0.000000000000000                                                                  GALA-PERP                                  0.000000000000000
                                                                                                                                              GMT-PERP                                                             0.000000000000000                                                                  GMT-PERP                                   0.000000000000000
                                                                                                                                              KAVA-PERP                                                            0.000000000000000                                                                  KAVA-PERP                                  0.000000000000000
                                                                                                                                              LINK                                                                 0.001000000000000                                                                  LINK                                       0.001000000000000
                                                                                                                                              LINK-PERP                                                            0.000000000000113                                                                  LINK-PERP                                  0.000000000000113
                                                                                                                                              LTC                                                                  0.000000001160710                                                                  LTC                                        0.000000001160710
                                                                                                                                              LTC-PERP                                                             0.000000000000000                                                                  LTC-PERP                                   0.000000000000000
                                                                                                                                              LUNA2                                                                0.004839683013000                                                                  LUNA2                                      0.004839683013000
                                                                                                                                              LUNA2_LOCKED                                                         0.011292593700000                                                                  LUNA2_LOCKED                               0.011292593700000
                                                                                                                                              LUNC                                                                 0.000803100000000                                                                  LUNC                                       0.000803100000000
                                                                                                                                              LUNC-PERP                                                            0.000000000000000                                                                  LUNC-PERP                                  0.000000000000000
                                                                                                                                              MATIC-PERP                                                           0.000000000000000                                                                  MATIC-PERP                                 0.000000000000000
                                                                                                                                              MID-PERP                                                             0.000000000000000                                                                  MID-PERP                                   0.000000000000000
                                                                                                                                              RAY-PERP                                                             0.000000000000000                                                                  RAY-PERP                                   0.000000000000000
                                                                                                                                              RUNE                                                                 1.127655407023462                                                                  RUNE                                       1.127655407023462
                                                                                                                                              SAND-PERP                                                            0.000000000000000                                                                  SAND-PERP                                  0.000000000000000
                                                                                                                                              SHIT-PERP                                                            0.000000000000001                                                                  SHIT-PERP                                  0.000000000000001
                                                                                                                                              SOL                                                                  0.001466650000000                                                                  SOL                                        0.001466650000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                  SOL-PERP                                   0.000000000000000
                                                                                                                                              SRM                                                                 16.478572240000000                                                                  SRM                                       16.478572240000000
                                                                                                                                              SRM_LOCKED                                                         189.167309030000000                                                                  SRM_LOCKED                               189.167309030000000
                                                                                                                                              SRM-PERP                                                             0.000000000000000                                                                  SRM-PERP                                   0.000000000000000
                                                                                                                                              SUSHI-PERP                                                           0.000000000000000                                                                  SUSHI-PERP                                 0.000000000000000
                                                                                                                                              TRX                                                                 32.622917689766110                                                                  TRX                                       32.622917689766110
                                                                                                                                              TRX-PERP                                                             0.000000000000000                                                                  TRX-PERP                                   0.000000000000000
                                                                                                                                              UBXT                                                                 0.097410000000000                                                                  UBXT                                       0.097410000000000
                                                                                                                                              UNI                                                                  0.170073230897144                                                                  UNI                                        0.170073230897144
                                                                                                                                              USD                                                              9,929.137880019935000                                                                  USD                                    9,929.137880019935000
                                                                                                                                              USDT                                                                 2.827598571193204                                                                  USDT                                       2.827598571193204
                                                                                                                                              USTC                                                                 0.685080000000000                                                                  USTC                                       0.685080000000000
                                                                                                                                              XMR-PERP                                                             0.000000000000000                                                                  XMR-PERP                                   0.000000000000000
                                                                                                                                              XRP                                                                  0.458013346088414                                                                  XRP                                        0.458013346088414
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                  XRP-PERP                                   0.000000000000000
23420          Name on file                                                            FTX Trading Ltd.                                       1INCH                                                                0.000000005120500 55396*       Name on file          FTX Trading Ltd.              1INCH                                      0.000000005120500
                                                                                                                                              1INCH-PERP                                                           0.000000000000000                                                                  1INCH-PERP                                 0.000000000000000
                                                                                                                                              AAVE-PERP                                                            0.000000000000000                                                                  AAVE-PERP                                  0.000000000000000
                                                                                                                                              ADA-PERP                                                             0.000000000000000                                                                  ADA-PERP                                   0.000000000000000
                                                                                                                                              AGLD-PERP                                                            0.000000000000000                                                                  AGLD-PERP                                  0.000000000000000
                                                                                                                                              ALGO-PERP                                                            0.000000000000000                                                                  ALGO-PERP                                  0.000000000000000
                                                                                                                                              ALICE-PERP                                                           0.000000000000000                                                                  ALICE-PERP                                 0.000000000000000
                                                                                                                                              ALPHA-PERP                                                           0.000000000000000                                                                  ALPHA-PERP                                 0.000000000000000
                                                                                                                                              ALT-PERP                                                             0.000000000000000                                                                  ALT-PERP                                   0.000000000000000
                                                                                                                                              APE-PERP                                                             0.000000000000000                                                                  APE-PERP                                   0.000000000000000
                                                                                                                                              APT                                                                  0.000000000631250                                                                  APT                                        0.000000000631250
                                                                                                                                              APT-PERP                                                             0.000000000000000                                                                  APT-PERP                                   0.000000000000000
                                                                                                                                              ATOM-PERP                                                            0.000000000000000                                                                  ATOM-PERP                                  0.000000000000000
                                                                                                                                              AVAX-PERP                                                            0.000000000000000                                                                  AVAX-PERP                                  0.000000000000000
                                                                                                                                              AXS-PERP                                                             0.000000000000000                                                                  AXS-PERP                                   0.000000000000000
                                                                                                                                              BADGER-PERP                                                          0.000000000000000                                                                  BADGER-PERP                                0.000000000000000
                                                                                                                                              BAL-PERP                                                             0.000000000000000                                                                  BAL-PERP                                   0.000000000000000
                                                                                                                                              BAT-PERP                                                             0.000000000000000                                                                  BAT-PERP                                   0.000000000000000
                                                                                                                                              BCH-PERP                                                             0.000000000000000                                                                  BCH-PERP                                   0.000000000000000
                                                                                                                                              BNB                                                                  0.000000005547330                                                                  BNB                                        0.000000005547330
                                                                                                                                              BNB-PERP                                                             0.000000000000000                                                                  BNB-PERP                                   0.000000000000000
                                                                                                                                              BTC                                                                  0.000000016048636                                                                  BTC                                        0.000000016048636
                                                                                                                                              BTC-MOVE-20210811                                                    0.000000000000000                                                                  BTC-MOVE-20210811                          0.000000000000000
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                  BTC-PERP                                   0.000000000000000
                                                                                                                                              BTTPRE-PERP                                                          0.000000000000000                                                                  BTTPRE-PERP                                0.000000000000000
                                                                                                                                              C98-PERP                                                             0.000000000000000                                                                  C98-PERP                                   0.000000000000000
                                                                                                                                              CAKE-PERP                                                            0.000000000000000                                                                  CAKE-PERP                                  0.000000000000000
                                                                                                                                              CHZ-PERP                                                             0.000000000000000                                                                  CHZ-PERP                                   0.000000000000000
                                                                                                                                              COIN                                                                 0.000000005194000                                                                  COIN                                       0.000000005194000
                                                                                                                                              CRO-PERP                                                             0.000000000000000                                                                  CRO-PERP                                   0.000000000000000
                                                                                                                                              CRV-PERP                                                             0.000000000000000                                                                  CRV-PERP                                   0.000000000000000
                                                                                                                                              DENT-PERP                                                            0.000000000000000                                                                  DENT-PERP                                  0.000000000000000
                                                                                                                                              DOGE                                                                 0.000000003619120                                                                  DOGE                                       0.000000003619120
                                                                                                                                              DOGE-PERP                                                            0.000000000000000                                                                  DOGE-PERP                                  0.000000000000000
                                                                                                                                              DOT                                                                  0.000000003281650                                                                  DOT                                        0.000000003281650
                                                                                                                                              DOT-PERP                                                             0.000000000000000                                                                  DOT-PERP                                   0.000000000000000
                                                                                                                                              DYDX-PERP                                                            0.000000000000000                                                                  DYDX-PERP                                  0.000000000000000
                                                                                                                                              EDEN-PERP                                                            0.000000000000000                                                                  EDEN-PERP                                  0.000000000000000
                                                                                                                                              EGLD-PERP                                                            0.000000000000000                                                                  EGLD-PERP                                  0.000000000000000
                                                                                                                                              ENJ-PERP                                                             0.000000000000000                                                                  ENJ-PERP                                   0.000000000000000
                                                                                                                                              ETH                                                                  0.236907580409970                                                                  ETH                                        0.236907580409970
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                  ETH-PERP                                   0.000000000000000
                                                                                                                                              ETHW                                                                                                                                                    ETHW                                       0.000000000000000
                                                                                                                                              FIDA-PERP                                                              0.000000000000000                                                                FIDA-PERP                                  0.000000000000000
                                                                                                                                              FLM-PERP                                                               0.000000000000000                                                                FLM-PERP                                   0.000000000000000
                                                                                                                                              FLOW-PERP                                                              0.000000000000000                                                                FLOW-PERP                                  0.000000000000000
                                                                                                                                              FTM-PERP                                                               0.000000000000000                                                                FTM-PERP                                   0.000000000000000
                                                                                                                                              FTT                                                                    0.065809210000000                                                                FTT                                        0.065809210000000
                                                                                                                                              FTT-PERP                                                               0.000000000000000                                                                FTT-PERP                                   0.000000000000000


56548*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
7894*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
53030*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
40195*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
94584*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
55396*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                     Case 22-11068-JTD                                                                                Doc 25689-2                                               Filed 09/25/24                     Page 9 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                             Surviving Claims
  Claim                                                                                                                                                                                                                                      Claim
                                              Name                                                           Debtor                                                     Tickers                       Ticker Quantity                                               Name                  Debtor                         Tickers                Ticker Quantity
 Number                                                                                                                                                                                                                                     Number
                                                                                                                                              GALA-PERP                                                               0.000000000000000                                                                  GALA-PERP                                              0.000000000000000
                                                                                                                                              GAL-PERP                                                                0.000000000000000                                                                  GAL-PERP                                               0.000000000000000
                                                                                                                                              GMT-PERP                                                                0.000000000000000                                                                  GMT-PERP                                               0.000000000000000
                                                                                                                                              GRT-PERP                                                                0.000000000000000                                                                  GRT-PERP                                               0.000000000000000
                                                                                                                                              GST-PERP                                                                0.000000000000000                                                                  GST-PERP                                               0.000000000000000
                                                                                                                                              ICP-PERP                                                                0.000000000000000                                                                  ICP-PERP                                               0.000000000000000
                                                                                                                                              IOTA-PERP                                                               0.000000000000000                                                                  IOTA-PERP                                              0.000000000000000
                                                                                                                                              JASMY-PERP                                                              0.000000000000000                                                                  JASMY-PERP                                             0.000000000000000
                                                                                                                                              KNC-PERP                                                                0.000000000000000                                                                  KNC-PERP                                               0.000000000000000
                                                                                                                                              LINA-PERP                                                               0.000000000000000                                                                  LINA-PERP                                              0.000000000000000
                                                                                                                                              LINK-PERP                                                               0.000000000000000                                                                  LINK-PERP                                              0.000000000000000
                                                                                                                                              LOOKS-PERP                                                              0.000000000000000                                                                  LOOKS-PERP                                             0.000000000000000
                                                                                                                                              LTC                                                                     0.000000006574570                                                                  LTC                                                    0.000000006574570
                                                                                                                                              LTC-PERP                                                                0.000000000000000                                                                  LTC-PERP                                               0.000000000000000
                                                                                                                                              LUNA2                                                                   0.155702189100000                                                                  LUNA2                                                  0.155702189100000
                                                                                                                                              LUNA2_LOCKED                                                            0.363305107800000                                                                  LUNA2_LOCKED                                           0.363305107800000
                                                                                                                                              LUNC                                                               33,904.479479284270000                                                                  LUNC                                              33,904.479479284270000
                                                                                                                                              LUNC-PERP                                                               0.000000000000000                                                                  LUNC-PERP                                              0.000000000000000
                                                                                                                                              MANA-PERP                                                               0.000000000000000                                                                  MANA-PERP                                              0.000000000000000
                                                                                                                                              MATIC-PERP                                                              0.000000000000000                                                                  MATIC-PERP                                             0.000000000000000
                                                                                                                                              MNGO                                                                4,130.000000000000000                                                                  MNGO                                               4,130.000000000000000
                                                                                                                                              NEAR-PERP                                                               0.000000000000000                                                                  NEAR-PERP                                              0.000000000000000
                                                                                                                                              NEO-PERP                                                                0.000000000000000                                                                  NEO-PERP                                               0.000000000000000
                                                                                                                                              NFT (298924791487694261/JAPAN TICKET                                                                                                                       NFT (298924791487694261/JAPAN TICKET
                                                                                                                                              STUB #1250)                                                               1.000000000000000                                                                STUB #1250)                                              1.000000000000000
                                                                                                                                              NFT (321373179249545938/HUNGARY                                                                                                                            NFT (321373179249545938/HUNGARY
                                                                                                                                              TICKET STUB #1456)                                                        1.000000000000000                                                                TICKET STUB #1456)                                       1.000000000000000
                                                                                                                                              NFT (334116419572961542/FTX AU - WE                                                                                                                        NFT (334116419572961542/FTX AU - WE
                                                                                                                                              ARE HERE! #23688)                                                         1.000000000000000                                                                ARE HERE! #23688)                                        1.000000000000000
                                                                                                                                              NFT (334207617987696179/THE HILL BY                                                                                                                        NFT (334207617987696179/THE HILL BY
                                                                                                                                              FTX #4455)                                                                1.000000000000000                                                                FTX #4455)                                               1.000000000000000
                                                                                                                                              NFT (349729800653611503/FTX EU - WE                                                                                                                        NFT (349729800653611503/FTX EU - WE
                                                                                                                                              ARE HERE! #86463)                                                         1.000000000000000                                                                ARE HERE! #86463)                                        1.000000000000000
                                                                                                                                              NFT (371983946470080112/BAKU TICKET                                                                                                                        NFT (371983946470080112/BAKU TICKET
                                                                                                                                              STUB #1185)                                                               1.000000000000000                                                                STUB #1185)                                              1.000000000000000
                                                                                                                                              NFT (420209001317508210/FTX CRYPTO                                                                                                                         NFT (420209001317508210/FTX CRYPTO
                                                                                                                                              CUP 2022 KEY #551)                                                        1.000000000000000                                                                CUP 2022 KEY #551)                                       1.000000000000000
                                                                                                                                              NFT (471619623287895799/FTX AU - WE                                                                                                                        NFT (471619623287895799/FTX AU - WE
                                                                                                                                              ARE HERE! #2840)                                                          1.000000000000000                                                                ARE HERE! #2840)                                         1.000000000000000
                                                                                                                                              NFT (489413301600029257/FTX AU - WE                                                                                                                        NFT (489413301600029257/FTX AU - WE
                                                                                                                                              ARE HERE! #2843)                                                          1.000000000000000                                                                ARE HERE! #2843)                                         1.000000000000000
                                                                                                                                              NFT (535917376334097059/FTX EU - WE                                                                                                                        NFT (535917376334097059/FTX EU - WE
                                                                                                                                              ARE HERE! #86734)                                                         1.000000000000000                                                                ARE HERE! #86734)                                        1.000000000000000
                                                                                                                                              NFT (554127787771557830/FTX EU - WE                                                                                                                        NFT (554127787771557830/FTX EU - WE
                                                                                                                                              ARE HERE! #85936)                                                       1.000000000000000                                                                  ARE HERE! #85936)                                      1.000000000000000
                                                                                                                                              OMG-20211231                                                            0.000000000000000                                                                  OMG-20211231                                           0.000000000000000
                                                                                                                                              OMG-PERP                                                                0.000000000000000                                                                  OMG-PERP                                               0.000000000000000
                                                                                                                                              OP-PERP                                                                 0.000000000000000                                                                  OP-PERP                                                0.000000000000000
                                                                                                                                              PSY                                                                 1,000.000000000000000                                                                  PSY                                                1,000.000000000000000
                                                                                                                                              RAY-PERP                                                                0.000000000000000                                                                  RAY-PERP                                               0.000000000000000
                                                                                                                                              REN                                                                     0.000000006139240                                                                  REN                                                    0.000000006139240
                                                                                                                                              RNDR-PERP                                                               0.000000000000000                                                                  RNDR-PERP                                              0.000000000000000
                                                                                                                                              RUNE-PERP                                                               0.000000000000000                                                                  RUNE-PERP                                              0.000000000000000
                                                                                                                                              SAND-PERP                                                               0.000000000000000                                                                  SAND-PERP                                              0.000000000000000
                                                                                                                                              SHIB                                                            2,000,000.000000000000000                                                                  SHIB                                           2,000,000.000000000000000
                                                                                                                                              SHIB-PERP                                                               0.000000000000000                                                                  SHIB-PERP                                              0.000000000000000
                                                                                                                                              SKL-PERP                                                                0.000000000000000                                                                  SKL-PERP                                               0.000000000000000
                                                                                                                                              SLP-PERP                                                                0.000000000000000                                                                  SLP-PERP                                               0.000000000000000
                                                                                                                                              SOL                                                                    74.033372379040230                                                                  SOL                                                   74.033372379040230
                                                                                                                                              SOL-PERP                                                                0.000000000000014                                                                  SOL-PERP                                               0.000000000000014
                                                                                                                                              SRM                                                                    81.194167650000000                                                                  SRM                                                   81.194167650000000
                                                                                                                                              SRM_LOCKED                                                              1.353433850000000                                                                  SRM_LOCKED                                             1.353433850000000
                                                                                                                                              SRM-PERP                                                                0.000000000000000                                                                  SRM-PERP                                               0.000000000000000
                                                                                                                                              STEP                                                                    0.000000009000000                                                                  STEP                                                   0.000000009000000
                                                                                                                                              SUSHI-PERP                                                              0.000000000000000                                                                  SUSHI-PERP                                             0.000000000000000
                                                                                                                                              SXP                                                                     0.000000004199440                                                                  SXP                                                    0.000000004199440
                                                                                                                                              SXP-PERP                                                                0.000000000000000                                                                  SXP-PERP                                               0.000000000000000
                                                                                                                                              TLM-PERP                                                                0.000000000000000                                                                  TLM-PERP                                               0.000000000000000
                                                                                                                                              TONCOIN                                                               100.000000000000000                                                                  TONCOIN                                              100.000000000000000
                                                                                                                                              TRU-PERP                                                                0.000000000000000                                                                  TRU-PERP                                               0.000000000000000
                                                                                                                                              TRX                                                                                                                                                        TRX                                                    0.000000000000000
                                                                                                                                              TRX-PERP                                                                0.000000000000000                                                                  TRX-PERP                                               0.000000000000000
                                                                                                                                              TRYB                                                                    0.000000009880000                                                                  TRYB                                                   0.000000009880000
                                                                                                                                              UNI                                                                     0.000000000081060                                                                  UNI                                                    0.000000000081060
                                                                                                                                              UNI-PERP                                                                0.000000000000000                                                                  UNI-PERP                                               0.000000000000000
                                                                                                                                              USD                                                                     0.036558867871174                                                                  USD                                                    0.036558867871174
                                                                                                                                              USDT                                                                   16.091615555951723                                                                  USDT                                                  16.091615555951723
                                                                                                                                              USTC-PERP                                                               0.000000000000000                                                                  USTC-PERP                                              0.000000000000000
                                                                                                                                              VET-PERP                                                                0.000000000000000                                                                  VET-PERP                                               0.000000000000000
                                                                                                                                              WAVES-PERP                                                              0.000000000000000                                                                  WAVES-PERP                                             0.000000000000000
                                                                                                                                              WBTC                                                                    0.000000005250663                                                                  WBTC                                                   0.000000005250663
                                                                                                                                              XLM-PERP                                                                0.000000000000000                                                                  XLM-PERP                                               0.000000000000000
                                                                                                                                              XMR-PERP                                                                0.000000000000000                                                                  XMR-PERP                                               0.000000000000000
                                                                                                                                              XPLA                                                                  100.000000000000000                                                                  XPLA                                                 100.000000000000000
                                                                                                                                              XRP                                                                                                                                                        XRP                                                    0.000000000000000
                                                                                                                                              XRP-PERP                                                                0.000000000000000                                                                  XRP-PERP                                               0.000000000000000
                                                                                                                                              XTZ-PERP                                                                0.000000000000000                                                                  XTZ-PERP                                               0.000000000000000
                                                                                                                                              YFII-PERP                                                               0.000000000000000                                                                  YFII-PERP                                              0.000000000000000
                                                                                                                                              ZIL-PERP                                                                0.000000000000000                                                                  ZIL-PERP                                               0.000000000000000
42950          Name on file                                                            FTX Trading Ltd.                                       BF_POINT                                                              500.000000000000000 94876*       Name on file          FTX Trading Ltd.              BF_POINT                                             500.000000000000000
                                                                                                                                              BNB                                                                     0.000000009380607                                                                  BNB                                                    0.000000009380607
                                                                                                                                              BTC                                                                     0.000000007500000                                                                  BTC                                                    0.000000007500000
                                                                                                                                              CLV-PERP                                                                0.000000000000000                                                                  CLV-PERP                                               0.000000000000000
                                                                                                                                              ETH                                                                     0.000000009664604                                                                  ETH                                                    0.000000009664604
                                                                                                                                              FTT                                                                   828.169335643340800                                                                  FTT                                                  828.169335643340800
                                                                                                                                              GODS                                                                    0.000000010000000                                                                  GODS                                                   0.000000010000000
                                                                                                                                              USD                                                                    48.678186018072960                                                                  USD                                                   48.678186018072960
                                                                                                                                              USDT                                                                    0.720600005483795                                                                  USDT                                                   0.720600005483795
43421          Name on file                                                            FTX Trading Ltd.                                                                                                                   Undetermined* 43427        Name on file          FTX Trading Ltd.              ADA-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         APE                                                    9.967038140000000
                                                                                                                                                                                                                                                                                                         APE-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         AVAX                                                   3.068643320000000
                                                                                                                                                                                                                                                                                                         AVAX-PERP                                              2.200000000000000
                                                                                                                                                                                                                                                                                                         BTC                                                    0.001508660000000
                                                                                                                                                                                                                                                                                                         BTC-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         BTT-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         BTTPRE-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                                                         CEL-0624                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         CEL-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         CREAM-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                         CRO-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         DOGE                                                   1.681066971162353
                                                                                                                                                                                                                                                                                                         DOGE-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         DOT                                                    7.200000000000000
                                                                                                                                                                                                                                                                                                         DOT-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         ETH                                                    0.046939880000000
                                                                                                                                                                                                                                                                                                         ETH-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         ETHW                                                   0.046939880000000
                                                                                                                                                                                                                                                                                                         FLM-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         FTM-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         GALA                                                 930.000000000000000
                                                                                                                                                                                                                                                                                                         GALA-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         LINK-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         LOOKS-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                         LUNC-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         MANA-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         MATIC                                                108.324008980000000
                                                                                                                                                                                                                                                                                                         MATIC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                         RUNE-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         SAND-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                         SLP-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         SOL                                                    1.488527340000000
                                                                                                                                                                                                                                                                                                         SOL-PERP                                               1.080000000000000
                                                                                                                                                                                                                                                                                                         SRM-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         SRN-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         USD                                                  889.440000000000000
                                                                                                                                                                                                                                                                                                         VET-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                                                         XRP-PERP                                               0.000000000000000
24232          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                                0.000000000000000 66356*       Name on file          FTX Trading Ltd.              ADA-PERP                                               0.000000000000000
                                                                                                                                              ENJ-PERP                                                                0.000000000000000                                                                  ENJ-PERP                                               0.000000000000000
                                                                                                                                              HOT-PERP                                                                0.000000000000000                                                                  HOT-PERP                                               0.000000000000000
                                                                                                                                              LUNA2                                                                   0.167517811300000                                                                  LUNA2                                                  0.167517811300000
                                                                                                                                              LUNA2_LOCKED                                                            0.390874892900000                                                                  LUNA2_LOCKED                                           0.390874892900000
                                                                                                                                              LUNC                                                               36,477.356089953210000                                                                  LUNC                                              36,477.356089953210000
                                                                                                                                              MATIC-PERP                                                              0.000000000000000                                                                  MATIC-PERP                                             0.000000000000000
                                                                                                                                              REEF-PERP                                                               0.000000000000000                                                                  REEF-PERP                                              0.000000000000000
                                                                                                                                              SOL                                                                                                                                                        SOL                                                    0.000000000000000
                                                                                                                                              SXP-PERP                                                                0.000000000000000                                                                  SXP-PERP                                               0.000000000000000
                                                                                                                                              USD                                                                 2,013.722504882205600                                                                  USD                                                2,013.722504882205600
41273          Name on file                                                            FTX Trading Ltd.                                       ATLAS-PERP                                                              0.000000000000000 43055        Name on file          FTX Trading Ltd.              ATLAS-PERP                                             0.000000000000000
                                                                                                                                              ATOM-PERP                                                               0.000000000000000                                                                  ATOM-PERP                                              0.000000000000000
                                                                                                                                              AVAX-PERP                                                               0.000000000000000                                                                  AVAX-PERP                                              0.000000000000000
                                                                                                                                              BTC-PERP                                                                0.000000000000000                                                                  BTC-PERP                                               0.000000000000000
                                                                                                                                              C98-PERP                                                                0.000000000000000                                                                  C98-PERP                                               0.000000000000000
                                                                                                                                              EOS-PERP                                                                0.000000000000000                                                                  EOS-PERP                                               0.000000000000000
                                                                                                                                              FTM-PERP                                                                0.000000000000000                                                                  FTM-PERP                                               0.000000000000000
                                                                                                                                              FTT-PERP                                                                0.000000000000000                                                                  FTT-PERP                                               0.000000000000000
                                                                                                                                              LUNA2                                                                   0.000000026794689                                                                  LUNA2                                                  0.000000026794689
                                                                                                                                              LUNA2_LOCKED                                                            0.000000062520941                                                                  LUNA2_LOCKED                                           0.000000062520941
                                                                                                                                              LUNC                                                                    0.005834600000000                                                                  LUNC                                                   0.005834600000000
                                                                                                                                              USD                                                                     0.017629726637834                                                                  USD                                                    0.017629726637834
                                                                                                                                              USDT                                                                    0.000000002865763                                                                  USDT                                                   0.000000002865763
                                                                                                                                              XRPBEAR                                                                 0.000000005000000                                                                  XRPBEAR                                                0.000000005000000
                                                                                                                                              XRPBULL                                                             1,457.150000005000000                                                                  XRPBULL                                            1,457.150000005000000
                                                                                                                                              XRP-PERP                                                                0.000000000000000                                                                  XRP-PERP                                               0.000000000000000
                                                                                                                                              XTZ-PERP                                                                0.000000000000000                                                                  XTZ-PERP                                               0.000000000000000
19606          Name on file                                                            FTX Trading Ltd.                                       USD                                                                 1,000.000000000000000 74714        Name on file          FTX Trading Ltd.              USD                                                1,000.100000000000000
9580           Name on file                                                            FTX Trading Ltd.                                                                                                                   Undetermined* 59412        Name on file          FTX Trading Ltd.              ATLAS                                                809.169185220000000
                                                                                                                                                                                                                                                                                                         AUDIO                                                  0.996760000000000
                                                                                                                                                                                                                                                                                                         BAT                                                    0.241490000000000
                                                                                                                                                                                                                                                                                                         BTC                                                    0.000137880000000
                                                                                                                                                                                                                                                                                                         CHZ                                                2,619.262340000000000
                                                                                                                                                                                                                                                                                                         DMG                                                  225.397822000000000
                                                                                                                                                                                                                                                                                                         DOGE                                                   0.143120000000000
                                                                                                                                                                                                                                                                                                         FTT                                                  313.784924000000000
                                                                                                                                                                                                                                                                                                         LINK                                                   0.094132000000000
                                                                                                                                                                                                                                                                                                         LUNA2                                                  0.013210985930000
                                                                                                                                                                                                                                                                                                         LUNA2_LOCKED                                           0.030825633830000

94876*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Thirteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
66356*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                Doc 25689-2                                           Filed 09/25/24                         Page 10 of 20
                                                                                                                                Claims to be Disallowed                                                                                                                        Surviving Claims
  Claim                                                                                                                                                                                                                Claim
                                              Name                                                           Debtor                                                     Tickers   Ticker Quantity                                             Name                    Debtor                        Tickers   Ticker Quantity
 Number                                                                                                                                                                                                               Number
                                                                                                                                                                                                                                                                                     LUNC                                 2,876.720000000000000
                                                                                                                                                                                                                                                                                     POLIS                                    0.050887000000000
                                                                                                                                                                                                                                                                                     QI                                   8,610.000000000000000
                                                                                                                                                                                                                                                                                     SAND                                     0.734140000000000
                                                                                                                                                                                                                                                                                     SLP                                      4.931200000000000
                                                                                                                                                                                                                                                                                     SOL                                      0.000186660000000
                                                                                                                                                                                                                                                                                     SRM                                      0.404508080000000
                                                                                                                                                                                                                                                                                     SRM_LOCKED                               0.008322080000000
                                                                                                                                                                                                                                                                                     SXP                                  2,851.594729600000000
                                                                                                                                                                                                                                                                                     SXP-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                     TLM                                      0.881840000000000
                                                                                                                                                                                                                                                                                     TRX                                      0.010934000000000
                                                                                                                                                                                                                                                                                     USD                                      0.723651178917355
                                                                                                                                                                                                                                                                                     USDT                                     0.000000007620000
                                                                                                                                                                                                                                                                                     WRX                                     49.000000000000000
59393          Name on file                                                            FTX Trading Ltd.                                                                                              Undetermined* 59412       Name on file          FTX Trading Ltd.                ATLAS                                  809.169185220000000
                                                                                                                                                                                                                                                                                     AUDIO                                    0.996760000000000
                                                                                                                                                                                                                                                                                     BAT                                      0.241490000000000
                                                                                                                                                                                                                                                                                     BTC                                      0.000137880000000
                                                                                                                                                                                                                                                                                     CHZ                                  2,619.262340000000000
                                                                                                                                                                                                                                                                                     DMG                                    225.397822000000000
                                                                                                                                                                                                                                                                                     DOGE                                     0.143120000000000
                                                                                                                                                                                                                                                                                     FTT                                    313.784924000000000
                                                                                                                                                                                                                                                                                     LINK                                     0.094132000000000
                                                                                                                                                                                                                                                                                     LUNA2                                    0.013210985930000
                                                                                                                                                                                                                                                                                     LUNA2_LOCKED                             0.030825633830000
                                                                                                                                                                                                                                                                                     LUNC                                 2,876.720000000000000
                                                                                                                                                                                                                                                                                     POLIS                                    0.050887000000000
                                                                                                                                                                                                                                                                                     QI                                   8,610.000000000000000
                                                                                                                                                                                                                                                                                     SAND                                     0.734140000000000
                                                                                                                                                                                                                                                                                     SLP                                      4.931200000000000
                                                                                                                                                                                                                                                                                     SOL                                      0.000186660000000
                                                                                                                                                                                                                                                                                     SRM                                      0.404508080000000
                                                                                                                                                                                                                                                                                     SRM_LOCKED                               0.008322080000000
                                                                                                                                                                                                                                                                                     SXP                                  2,851.594729600000000
                                                                                                                                                                                                                                                                                     SXP-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                     TLM                                      0.881840000000000
                                                                                                                                                                                                                                                                                     TRX                                      0.010934000000000
                                                                                                                                                                                                                                                                                     USD                                      0.723651178917355
                                                                                                                                                                                                                                                                                     USDT                                     0.000000007620000
                                                                                                                                                                                                                                                                                     WRX                                     49.000000000000000
90212          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                          74,678.000000000000000   90839*   Name on file          Quoine Pte Ltd                  ATLAS                               74,678.000000000000000
                                                                                                                                              KIN                                         8,476,684.000000000000000                                                                  KIN                              8,476,684.000000000000000
                                                                                                                                              MNGO                                           18,830.000000000000000                                                                  MNGO                                18,830.000000000000000
                                                                                                                                              USDC                                               63.000000000000000                                                                  USD                                     63.197100000000000
                                                                                                                                              USDT                                              606.000000000000000                                                                  USDT                                   606.000000000000000
65129          Name on file                                                            FTX Trading Ltd.                                       FTT                                                 0.000000658053160   65161    Name on file          FTX Trading Ltd.                FTT                                      0.000000658053160
                                                                                                                                              SRM                                                 0.001385250000000                                                                  SRM                                      0.001385250000000
                                                                                                                                              SRM_LOCKED                                          0.009888790000000                                                                  SRM_LOCKED                               0.009888790000000
                                                                                                                                              USDT                                                0.000000009301625                                                                  USDT                                     0.000000009301625
13041          Name on file                                                            FTX Trading Ltd.                                       FTT                                                 0.000000658053160   65161    Name on file          FTX Trading Ltd.                FTT                                      0.000000658053160
                                                                                                                                              SRM                                                 0.001385250000000                                                                  SRM                                      0.001385250000000
                                                                                                                                              SRM_LOCKED                                          0.009888790000000                                                                  SRM_LOCKED                               0.009888790000000
                                                                                                                                              USDT                                                0.000000009301625                                                                  USDT                                     0.000000009301625
65024          Name on file                                                            FTX Trading Ltd.                                       FTT                                                 0.000000658053160   65161    Name on file          FTX Trading Ltd.                FTT                                      0.000000658053160
                                                                                                                                              SRM                                                 0.001385250000000                                                                  SRM                                      0.001385250000000
                                                                                                                                              SRM_LOCKED                                          0.009888790000000                                                                  SRM_LOCKED                               0.009888790000000
                                                                                                                                              USDT                                                0.000000009301625                                                                  USDT                                     0.000000009301625
43581          Name on file                                                            FTX Trading Ltd.                                       FTT                                            11,338.894756338997000   53874    Name on file          FTX Trading Ltd.                FTT                                 11,338.894756338997000
                                                                                                                                              SRM                                                 2.612027160000000                                                                  SRM                                      2.612027160000000
                                                                                                                                              SRM_LOCKED                                        905.328622400000000                                                                  SRM_LOCKED                             905.328622400000000
75793          Name on file                                                            FTX Trading Ltd.                                       ETH                                                 0.346885430000000   75939    Name on file          FTX Trading Ltd.                ETH                                      0.346885430000000
6199           Name on file                                                            FTX Trading Ltd.                                       1INCH-PERP                                          0.000000000000000   56649    Name on file          FTX Trading Ltd.                1INCH-PERP                               0.000000000000000
                                                                                                                                              AAVE-PERP                                           0.000000000000000                                                                  AAVE-PERP                                0.000000000000000
                                                                                                                                              ADA-PERP                                            0.000000000000000                                                                  ADA-PERP                                 0.000000000000000
                                                                                                                                              AGLD-PERP                                           0.000000000000000                                                                  AGLD-PERP                                0.000000000000000
                                                                                                                                              ALGO-PERP                                           0.000000000000000                                                                  ALGO-PERP                                0.000000000000000
                                                                                                                                              ALICE-PERP                                          0.000000000000000                                                                  ALICE-PERP                               0.000000000000000
                                                                                                                                              ALPHA-PERP                                          0.000000000000000                                                                  ALPHA-PERP                               0.000000000000000
                                                                                                                                              APE-PERP                                            0.000000000000001                                                                  APE-PERP                                 0.000000000000001
                                                                                                                                              AR-PERP                                             0.000000000000000                                                                  AR-PERP                                  0.000000000000000
                                                                                                                                              ATLAS                                               0.000000002835040                                                                  ATLAS                                    0.000000002835040
                                                                                                                                              ATLAS-PERP                                          0.000000000000000                                                                  ATLAS-PERP                               0.000000000000000
                                                                                                                                              ATOM-PERP                                           0.000000000000000                                                                  ATOM-PERP                                0.000000000000000
                                                                                                                                              AVAX-PERP                                           0.000000000000004                                                                  AVAX-PERP                                0.000000000000004
                                                                                                                                              AXS-PERP                                            0.000000000000000                                                                  AXS-PERP                                 0.000000000000000
                                                                                                                                              BAND-PERP                                           0.000000000000000                                                                  BAND-PERP                                0.000000000000000
                                                                                                                                              BNB-PERP                                            0.000000000000000                                                                  BNB-PERP                                 0.000000000000000
                                                                                                                                              BOBA-PERP                                           0.000000000000000                                                                  BOBA-PERP                                0.000000000000000
                                                                                                                                              BTC-PERP                                            0.000000000000000                                                                  BTC-PERP                                 0.000000000000000
                                                                                                                                              BTTPRE-PERP                                         0.000000000000000                                                                  BTTPRE-PERP                              0.000000000000000
                                                                                                                                              C98-PERP                                            0.000000000000000                                                                  C98-PERP                                 0.000000000000000
                                                                                                                                              CAKE-PERP                                          -0.000000000000007                                                                  CAKE-PERP                               -0.000000000000007
                                                                                                                                              CEL-PERP                                            0.000000000000000                                                                  CEL-PERP                                 0.000000000000000
                                                                                                                                              CHR-PERP                                            0.000000000000000                                                                  CHR-PERP                                 0.000000000000000
                                                                                                                                              CHZ-PERP                                            0.000000000000000                                                                  CHZ-PERP                                 0.000000000000000
                                                                                                                                              COMP-PERP                                           0.000000000000000                                                                  COMP-PERP                                0.000000000000000
                                                                                                                                              CRO-PERP                                            0.000000000000000                                                                  CRO-PERP                                 0.000000000000000
                                                                                                                                              CRV-PERP                                            0.000000000000000                                                                  CRV-PERP                                 0.000000000000000
                                                                                                                                              DODO-PERP                                           0.000000000000000                                                                  DODO-PERP                                0.000000000000000
                                                                                                                                              DOGE-PERP                                           0.000000000000000                                                                  DOGE-PERP                                0.000000000000000
                                                                                                                                              DOT-PERP                                            0.000000000000000                                                                  DOT-PERP                                 0.000000000000000
                                                                                                                                              DYDX-PERP                                           0.000000000000000                                                                  DYDX-PERP                                0.000000000000000
                                                                                                                                              EGLD-PERP                                           0.000000000000000                                                                  EGLD-PERP                                0.000000000000000
                                                                                                                                              ENJ-PERP                                            0.000000000000000                                                                  ENJ-PERP                                 0.000000000000000
                                                                                                                                              ENS-PERP                                            0.000000000000000                                                                  ENS-PERP                                 0.000000000000000
                                                                                                                                              EOS-PERP                                            0.000000000000000                                                                  EOS-PERP                                 0.000000000000000
                                                                                                                                              ETC-PERP                                            0.000000000000000                                                                  ETC-PERP                                 0.000000000000000
                                                                                                                                              ETH                                                 0.000000010000000                                                                  ETH                                      0.000000010000000
                                                                                                                                              ETH-PERP                                            0.000000000000000                                                                  ETH-PERP                                 0.000000000000000
                                                                                                                                              FLOW-PERP                                           0.000000000000000                                                                  FLOW-PERP                                0.000000000000000
                                                                                                                                              FTM-PERP                                            0.000000000000000                                                                  FTM-PERP                                 0.000000000000000
                                                                                                                                              FTT-PERP                                           -0.000000000000003                                                                  FTT-PERP                                -0.000000000000003
                                                                                                                                              GALA-PERP                                           0.000000000000000                                                                  GALA-PERP                                0.000000000000000
                                                                                                                                              GMT-PERP                                            0.000000000000000                                                                  GMT-PERP                                 0.000000000000000
                                                                                                                                              GRT-PERP                                            0.000000000000000                                                                  GRT-PERP                                 0.000000000000000
                                                                                                                                              HBAR-PERP                                           0.000000000000000                                                                  HBAR-PERP                                0.000000000000000
                                                                                                                                              ICP-PERP                                            0.000000000000000                                                                  ICP-PERP                                 0.000000000000000
                                                                                                                                              IMX-PERP                                            0.000000000000000                                                                  IMX-PERP                                 0.000000000000000
                                                                                                                                              IOTA-PERP                                           0.000000000000000                                                                  IOTA-PERP                                0.000000000000000
                                                                                                                                              KAVA-PERP                                           0.000000000000000                                                                  KAVA-PERP                                0.000000000000000
                                                                                                                                              KNC-PERP                                            0.000000000000000                                                                  KNC-PERP                                 0.000000000000000
                                                                                                                                              LINA-PERP                                           0.000000000000000                                                                  LINA-PERP                                0.000000000000000
                                                                                                                                              LINK-PERP                                           0.000000000000005                                                                  LINK-PERP                                0.000000000000005
                                                                                                                                              LOOKS-PERP                                          0.000000000000000                                                                  LOOKS-PERP                               0.000000000000000
                                                                                                                                              LRC-PERP                                            0.000000000000000                                                                  LRC-PERP                                 0.000000000000000
                                                                                                                                              LTC-PERP                                            0.000000000000000                                                                  LTC-PERP                                 0.000000000000000
                                                                                                                                              LUNA2                                               0.762910813400000                                                                  LUNA2                                    0.762910813400000
                                                                                                                                              LUNA2_LOCKED                                        1.780125231000000                                                                  LUNA2_LOCKED                             1.780125231000000
                                                                                                                                              LUNA2-PERP                                          0.000000000000000                                                                  LUNA2-PERP                               0.000000000000000
                                                                                                                                              LUNC                                          166,125.435837400000000                                                                  LUNC                               166,125.435837400000000
                                                                                                                                              LUNC-PERP                                           0.000000000000002                                                                  LUNC-PERP                                0.000000000000002
                                                                                                                                              MANA-PERP                                           0.000000000000000                                                                  MANA-PERP                                0.000000000000000
                                                                                                                                              MATIC-PERP                                          0.000000000000000                                                                  MATIC-PERP                               0.000000000000000
                                                                                                                                              MINA-PERP                                           0.000000000000000                                                                  MINA-PERP                                0.000000000000000
                                                                                                                                              MKR-PERP                                            0.000000000000000                                                                  MKR-PERP                                 0.000000000000000
                                                                                                                                              NEAR-PERP                                          -0.000000000000002                                                                  NEAR-PERP                               -0.000000000000002
                                                                                                                                              OMG-PERP                                            0.000000000000000                                                                  OMG-PERP                                 0.000000000000000
                                                                                                                                              ONE-PERP                                            0.000000000000000                                                                  ONE-PERP                                 0.000000000000000
                                                                                                                                              ONT-PERP                                            0.000000000000000                                                                  ONT-PERP                                 0.000000000000000
                                                                                                                                              POLIS-PERP                                          0.000000000000000                                                                  POLIS-PERP                               0.000000000000000
                                                                                                                                              QTUM-PERP                                           0.000000000000000                                                                  QTUM-PERP                                0.000000000000000
                                                                                                                                              RAY-PERP                                            0.000000000000000                                                                  RAY-PERP                                 0.000000000000000
                                                                                                                                              REEF-PERP                                           0.000000000000000                                                                  REEF-PERP                                0.000000000000000
                                                                                                                                              REN-PERP                                            0.000000000000000                                                                  REN-PERP                                 0.000000000000000
                                                                                                                                              ROSE-PERP                                           0.000000000000000                                                                  ROSE-PERP                                0.000000000000000
                                                                                                                                              RUNE-PERP                                           0.000000000000007                                                                  RUNE-PERP                                0.000000000000007
                                                                                                                                              SAND-PERP                                           0.000000000000000                                                                  SAND-PERP                                0.000000000000000
                                                                                                                                              SHIB-PERP                                           0.000000000000000                                                                  SHIB-PERP                                0.000000000000000
                                                                                                                                              SKL-PERP                                            0.000000000000000                                                                  SKL-PERP                                 0.000000000000000
                                                                                                                                              SLP-PERP                                            0.000000000000000                                                                  SLP-PERP                                 0.000000000000000
                                                                                                                                              SOL                                                 0.000000010000000                                                                  SOL                                      0.000000010000000
                                                                                                                                              SOL-PERP                                            0.000000000000000                                                                  SOL-PERP                                 0.000000000000000
                                                                                                                                              SRM-PERP                                            0.000000000000000                                                                  SRM-PERP                                 0.000000000000000
                                                                                                                                              STEP-PERP                                           0.000000000000000                                                                  STEP-PERP                                0.000000000000000
                                                                                                                                              SUSHI-PERP                                          0.000000000000000                                                                  SUSHI-PERP                               0.000000000000000
                                                                                                                                              SXP-PERP                                            0.000000000000000                                                                  SXP-PERP                                 0.000000000000000
                                                                                                                                              THETA-PERP                                          0.000000000000000                                                                  THETA-PERP                               0.000000000000000
                                                                                                                                              TLM-PERP                                            0.000000000000000                                                                  TLM-PERP                                 0.000000000000000
                                                                                                                                              TRX-PERP                                            0.000000000000000                                                                  TRX-PERP                                 0.000000000000000
                                                                                                                                              TRYB-PERP                                           0.000000000000000                                                                  TRYB-PERP                                0.000000000000000
                                                                                                                                              UNI-PERP                                            0.000000000000000                                                                  UNI-PERP                                 0.000000000000000
                                                                                                                                              USD                                               129.883533496955660                                                                  USD                                    129.883533496955660
                                                                                                                                              USDT                                              111.386580853475560                                                                  USDT                                   111.386580853475560
                                                                                                                                              USDT-PERP                                           0.000000000000000                                                                  USDT-PERP                                0.000000000000000
                                                                                                                                              VET-PERP                                            0.000000000000000                                                                  VET-PERP                                 0.000000000000000
                                                                                                                                              WAVES-PERP                                          0.000000000000000                                                                  WAVES-PERP                               0.000000000000000
                                                                                                                                              XEM-PERP                                            0.000000000000000                                                                  XEM-PERP                                 0.000000000000000
                                                                                                                                              XRP-PERP                                            0.000000000000000                                                                  XRP-PERP                                 0.000000000000000
                                                                                                                                              XTZ-PERP                                            0.000000000000007                                                                  XTZ-PERP                                 0.000000000000007
                                                                                                                                              YFII-PERP                                           0.000000000000000                                                                  YFII-PERP                                0.000000000000000
                                                                                                                                              YFI-PERP                                            0.000000000000000                                                                  YFI-PERP                                 0.000000000000000
                                                                                                                                              ZEC-PERP                                            0.000000000000000                                                                  ZEC-PERP                                 0.000000000000000
                                                                                                                                              ZIL-PERP                                            0.000000000000000                                                                  ZIL-PERP                                 0.000000000000000
38310          Name on file                                                            FTX Trading Ltd.                                                                                               Undetermined*   48515*   Name on file          FTX Trading Ltd.                                                             Undetermined*
6682           Name on file                                                            FTX Trading Ltd.                                       BAO                                                 2.000000000000000   65856    Name on file          FTX Trading Ltd.                BAO                                      2.000000000000000
                                                                                                                                              BTC                                                 0.005473643000000                                                                  BTC                                      0.005473643000000
                                                                                                                                              DOGE                                            1,750.237546470000000                                                                  DOGE                                 1,750.237546470000000
                                                                                                                                              KIN                                                 2.000000000000000                                                                  KIN                                      2.000000000000000
                                                                                                                                              LUNA2                                               2.580662626000000                                                                  LUNA2                                    2.580662626000000
                                                                                                                                              LUNA2_LOCKED                                        6.021546127000000                                                                  LUNA2_LOCKED                             6.021546127000000
                                                                                                                                              LUNC                                          221,680.491072163630000                                                                  LUNC                               221,680.491072163630000
                                                                                                                                              MATIC                                              21.705656960000000                                                                  MATIC                                   21.705656960000000
                                                                                                                                              RAY                                                69.015255540000000                                                                  RAY                                     69.015255540000000
                                                                                                                                              RSR                                                 1.000000000000000                                                                  RSR                                      1.000000000000000
                                                                                                                                              SHIB                                          856,045.424635670000000                                                                  SHIB                               856,045.424635670000000
                                                                                                                                              SOL                                                 5.028908810000000                                                                  SOL                                      5.028908810000000
                                                                                                                                              UBXT                                                1.000000000000000                                                                  UBXT                                     1.000000000000000


90839*: Surviving Claim is pending modification on the Debtors· Forty-Ninth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
48515*: Surviving Claim is pending modification on the Debtors· Seventy-Fifth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                Doc 25689-2                                       Filed 09/25/24                       Page 11 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                   Surviving Claims
  Claim                                                                                                                                                                                                                              Claim
                                              Name                                                          Debtor                                                      Tickers                   Ticker Quantity                                         Name                  Debtor                        Tickers                Ticker Quantity
 Number                                                                                                                                                                                                                             Number
                                                                                                                                              USD                                                                 0.029343525541724                                                            USD                                                   0.029343525541724
                                                                                                                                              USDT                                                                0.000000010602026                                                            USDT                                                  0.000000010602026
                                                                                                                                              USTC                                                              222.801535231100000                                                            USTC                                                222.801535231100000
15803          Name on file                                                            FTX Trading Ltd.                                       AXS-PERP                                                            0.000000000000000 58612* Name on file          FTX Trading Ltd.              AXS-PERP                                              0.000000000000000
                                                                                                                                              BTC                                                                 0.016696850000000                                                            BTC                                                   0.000000000000000
                                                                                                                                              BTC-PERP                                                            0.000000000000000                                                            BTC-PERP                                              0.000000000000000
                                                                                                                                              DYDX-PERP                                                           0.000000000000000                                                            DYDX-PERP                                             0.000000000000000
                                                                                                                                              ETH                                                                 0.195984410000000                                                            ETH                                                   0.000000000000000
                                                                                                                                              ETH-PERP                                                            0.000000000000000                                                            ETH-PERP                                              0.000000000000000
                                                                                                                                              ETHW                                                                0.555080010449825                                                            ETHW                                                  0.555080010449825
                                                                                                                                              FTM-PERP                                                            0.000000000000000                                                            FTM-PERP                                              0.000000000000000
                                                                                                                                              FTT                                                               150.339834204484330                                                            FTT                                                 150.339834204484330
                                                                                                                                              FTT-PERP                                                            0.000000000000000                                                            FTT-PERP                                              0.000000000000000
                                                                                                                                              LTC                                                                 0.000000001152021                                                            LTC                                                   0.000000001152021
                                                                                                                                              LTC-PERP                                                            0.000000000000000                                                            LTC-PERP                                              0.000000000000000
                                                                                                                                              LUNA2                                                               0.000022961890500                                                            LUNA2                                                 0.000022961890500
                                                                                                                                              LUNA2_LOCKED                                                        0.000053577744500                                                            LUNA2_LOCKED                                          0.000053577744500
                                                                                                                                              LUNC                                                                5.000000000000000                                                            LUNC                                                  5.000000000000000
                                                                                                                                              LUNC-PERP                                                           0.000000000000000                                                            LUNC-PERP                                             0.000000000000000
                                                                                                                                              SHIB-PERP                                                           0.000000000000000                                                            SHIB-PERP                                             0.000000000000000
                                                                                                                                              SOL                                                                13.883197570000000                                                            SOL                                                   0.000000000000000
                                                                                                                                              SOL-PERP                                                            0.000000000000000                                                            SOL-PERP                                              0.000000000000000
                                                                                                                                              SRM-PERP                                                            0.000000000000000                                                            SRM-PERP                                              0.000000000000000
                                                                                                                                              UBXT                                                            5,501.000000000000000                                                            UBXT                                              5,501.000000000000000
                                                                                                                                              UBXT_LOCKED                                                        55.793377460000000                                                            UBXT_LOCKED                                          55.793377460000000
                                                                                                                                              USD                                                               316.902417621424260                                                            USD                                                 316.902417621424260
                                                                                                                                              USDT                                                                0.000000000569298                                                            USDT                                                  0.000000000569298
28104          Name on file                                                            FTX Trading Ltd.                                                                                                               Undetermined* 28110  Name on file          FTX Trading Ltd.              USD                                                 605.480000000000000
9848           Name on file                                                            FTX Trading Ltd.                                       1INCH-PERP                                                          0.000000000000000 18109  Name on file          FTX Trading Ltd.              1INCH-PERP                                            0.000000000000000
                                                                                                                                              AAVE-PERP                                                           0.000000000000000                                                            AAVE-PERP                                             0.000000000000000
                                                                                                                                              ADA-PERP                                                            0.000000000000000                                                            ADA-PERP                                              0.000000000000000
                                                                                                                                              AGLD-PERP                                                           0.000000000000000                                                            AGLD-PERP                                             0.000000000000000
                                                                                                                                              ALGO-20210924                                                       0.000000000000000                                                            ALGO-20210924                                         0.000000000000000
                                                                                                                                              ALGO-PERP                                                           0.000000000000000                                                            ALGO-PERP                                             0.000000000000000
                                                                                                                                              ALICE-PERP                                                         -0.000000000000142                                                            ALICE-PERP                                           -0.000000000000142
                                                                                                                                              ALPHA-PERP                                                          0.000000000000000                                                            ALPHA-PERP                                            0.000000000000000
                                                                                                                                              ANC-PERP                                                            0.000000000000000                                                            ANC-PERP                                              0.000000000000000
                                                                                                                                              APE-PERP                                                           -0.000000000003933                                                            APE-PERP                                             -0.000000000003933
                                                                                                                                              AR-PERP                                                            -0.000000000000003                                                            AR-PERP                                              -0.000000000000003
                                                                                                                                              ATLAS-PERP                                                          0.000000000000000                                                            ATLAS-PERP                                            0.000000000000000
                                                                                                                                              ATOM-PERP                                                           0.000000000000081                                                            ATOM-PERP                                             0.000000000000081
                                                                                                                                              AUDIO-PERP                                                          0.000000000000113                                                            AUDIO-PERP                                            0.000000000000113
                                                                                                                                              AVAX-20210924                                                       0.000000000000000                                                            AVAX-20210924                                         0.000000000000000
                                                                                                                                              AVAX-PERP                                                          -0.000000000001826                                                            AVAX-PERP                                            -0.000000000001826
                                                                                                                                              AXS-PERP                                                           -0.000000000000325                                                            AXS-PERP                                             -0.000000000000325
                                                                                                                                              BADGER-PERP                                                         0.000000000000000                                                            BADGER-PERP                                           0.000000000000000
                                                                                                                                              BAL-PERP                                                            0.000000000000000                                                            BAL-PERP                                              0.000000000000000
                                                                                                                                              BAND-PERP                                                          -0.000000000000014                                                            BAND-PERP                                            -0.000000000000014
                                                                                                                                              BAO-PERP                                                            0.000000000000000                                                            BAO-PERP                                              0.000000000000000
                                                                                                                                              BAT-PERP                                                            0.000000000000000                                                            BAT-PERP                                              0.000000000000000
                                                                                                                                              BCH-PERP                                                            0.000000000000056                                                            BCH-PERP                                              0.000000000000056
                                                                                                                                              BIT                                                                 0.009895000000000                                                            BIT                                                   0.009895000000000
                                                                                                                                              BIT-PERP                                                            0.000000000000000                                                            BIT-PERP                                              0.000000000000000
                                                                                                                                              BLT                                                                 0.001685000000000                                                            BLT                                                   0.001685000000000
                                                                                                                                              BNB                                                                 0.000000009435726                                                            BNB                                                   0.000000009435726
                                                                                                                                              BNB-PERP                                                           -0.000000000000019                                                            BNB-PERP                                             -0.000000000000019
                                                                                                                                              BNT-PERP                                                           -0.000000000000028                                                            BNT-PERP                                             -0.000000000000028
                                                                                                                                              BOBA-PERP                                                           0.000000000000000                                                            BOBA-PERP                                             0.000000000000000
                                                                                                                                              BTC                                                                 0.000000009278019                                                            BTC                                                   0.000000009278019
                                                                                                                                              BTC-PERP                                                           -0.000000000000001                                                            BTC-PERP                                             -0.000000000000001
                                                                                                                                              C98-PERP                                                            0.000000000000000                                                            C98-PERP                                              0.000000000000000
                                                                                                                                              CAKE-PERP                                                           0.000000000000014                                                            CAKE-PERP                                             0.000000000000014
                                                                                                                                              CEL-0624                                                            0.000000000000000                                                            CEL-0624                                              0.000000000000000
                                                                                                                                              CELO-PERP                                                          -0.000000000000014                                                            CELO-PERP                                            -0.000000000000014
                                                                                                                                              CEL-PERP                                                            0.000000000000042                                                            CEL-PERP                                              0.000000000000042
                                                                                                                                              CHR-PERP                                                            0.000000000000000                                                            CHR-PERP                                              0.000000000000000
                                                                                                                                              CHZ-PERP                                                            0.000000000000000                                                            CHZ-PERP                                              0.000000000000000
                                                                                                                                              COMP-PERP                                                          -0.000000000000006                                                            COMP-PERP                                            -0.000000000000006
                                                                                                                                              CREAM-PERP                                                          0.000000000000000                                                            CREAM-PERP                                            0.000000000000000
                                                                                                                                              CRV-PERP                                                            0.000000000000000                                                            CRV-PERP                                              0.000000000000000
                                                                                                                                              CVC-PERP                                                            0.000000000000000                                                            CVC-PERP                                              0.000000000000000
                                                                                                                                              CVX-PERP                                                           -0.000000000000007                                                            CVX-PERP                                             -0.000000000000007
                                                                                                                                              DASH-PERP                                                           0.000000000000003                                                            DASH-PERP                                             0.000000000000003
                                                                                                                                              DENT-PERP                                                           0.000000000000000                                                            DENT-PERP                                             0.000000000000000
                                                                                                                                              DODO-PERP                                                          -0.000000000000056                                                            DODO-PERP                                            -0.000000000000056
                                                                                                                                              DOGE-PERP                                                      -3,313.000000000000000                                                            DOGE-PERP                                        -3,313.000000000000000
                                                                                                                                              DOT-PERP                                                           -0.000000000000254                                                            DOT-PERP                                             -0.000000000000254
                                                                                                                                              DYDX-PERP                                                           0.000000000005115                                                            DYDX-PERP                                             0.000000000005115
                                                                                                                                              EDEN                                                                0.200001000000000                                                            EDEN                                                  0.200001000000000
                                                                                                                                              EDEN-PERP                                                          -0.000000000001250                                                            EDEN-PERP                                            -0.000000000001250
                                                                                                                                              EGLD-PERP                                                           0.000000000000000                                                            EGLD-PERP                                             0.000000000000000
                                                                                                                                              ENJ-PERP                                                            0.000000000000000                                                            ENJ-PERP                                              0.000000000000000
                                                                                                                                              ENS-PERP                                                           -0.000000000000010                                                            ENS-PERP                                             -0.000000000000010
                                                                                                                                              EOS-PERP                                                            0.000000000003659                                                            EOS-PERP                                              0.000000000003659
                                                                                                                                              ETC-PERP                                                            0.000000000000099                                                            ETC-PERP                                              0.000000000000099
                                                                                                                                              ETH                                                                 0.817914515596454                                                            ETH                                                   0.817914515596454
                                                                                                                                              ETH-PERP                                                           -0.000000000000002                                                            ETH-PERP                                             -0.000000000000002
                                                                                                                                              ETHW                                                                0.817570969919552                                                            ETHW                                                  0.817570969919552
                                                                                                                                              FIDA                                                                0.001585000000000                                                            FIDA                                                  0.001585000000000
                                                                                                                                              FIDA-PERP                                                           0.000000000000000                                                            FIDA-PERP                                             0.000000000000000
                                                                                                                                              FIL-PERP                                                            0.000000000000014                                                            FIL-PERP                                              0.000000000000014
                                                                                                                                              FLM-PERP                                                            0.000000000000000                                                            FLM-PERP                                              0.000000000000000
                                                                                                                                              FLOW-PERP                                                          -0.000000000002557                                                            FLOW-PERP                                            -0.000000000002557
                                                                                                                                              FTM-PERP                                                            0.000000000000000                                                            FTM-PERP                                              0.000000000000000
                                                                                                                                              FTT                                                                38.014369329709940                                                            FTT                                                  38.014369329709940
                                                                                                                                              FTT-PERP                                                          -94.100000000000200                                                            FTT-PERP                                            -94.100000000000200
                                                                                                                                              GALA-PERP                                                           0.000000000000000                                                            GALA-PERP                                             0.000000000000000
                                                                                                                                              GAL-PERP                                                            0.000000000000000                                                            GAL-PERP                                              0.000000000000000
                                                                                                                                              GLMR-PERP                                                           0.000000000000000                                                            GLMR-PERP                                             0.000000000000000
                                                                                                                                              GMT-PERP                                                       -2,528.000000000000000                                                            GMT-PERP                                         -2,528.000000000000000
                                                                                                                                              GRT-PERP                                                            0.000000000000000                                                            GRT-PERP                                              0.000000000000000
                                                                                                                                              GST-PERP                                                            0.000000000000000                                                            GST-PERP                                              0.000000000000000
                                                                                                                                              HBAR-PERP                                                           0.000000000000000                                                            HBAR-PERP                                             0.000000000000000
                                                                                                                                              HNT-PERP                                                            0.000000000000028                                                            HNT-PERP                                              0.000000000000028
                                                                                                                                              HOT-PERP                                                            0.000000000000000                                                            HOT-PERP                                              0.000000000000000
                                                                                                                                              ICP-PERP                                                           -0.000000000000014                                                            ICP-PERP                                             -0.000000000000014
                                                                                                                                              ICX-PERP                                                            0.000000000000000                                                            ICX-PERP                                              0.000000000000000
                                                                                                                                              IMX-PERP                                                            0.000000000000000                                                            IMX-PERP                                              0.000000000000000
                                                                                                                                              IOST-PERP                                                           0.000000000000000                                                            IOST-PERP                                             0.000000000000000
                                                                                                                                              IOTA-PERP                                                           0.000000000000000                                                            IOTA-PERP                                             0.000000000000000
                                                                                                                                              JASMY-PERP                                                          0.000000000000000                                                            JASMY-PERP                                            0.000000000000000
                                                                                                                                              KAVA-PERP                                                           0.000000000000000                                                            KAVA-PERP                                             0.000000000000000
                                                                                                                                              KNC-PERP                                                           -0.000000000000227                                                            KNC-PERP                                             -0.000000000000227
                                                                                                                                              KSHIB-PERP                                                          0.000000000000000                                                            KSHIB-PERP                                            0.000000000000000
                                                                                                                                              KSM-PERP                                                            0.000000000000002                                                            KSM-PERP                                              0.000000000000002
                                                                                                                                              LINA-PERP                                                           0.000000000000000                                                            LINA-PERP                                             0.000000000000000
                                                                                                                                              LINK-PERP                                                           0.000000000000031                                                            LINK-PERP                                             0.000000000000031
                                                                                                                                              LOOKS-PERP                                                          0.000000000000000                                                            LOOKS-PERP                                            0.000000000000000
                                                                                                                                              LRC-PERP                                                            0.000000000000000                                                            LRC-PERP                                              0.000000000000000
                                                                                                                                              LTC-PERP                                                            0.000000000000403                                                            LTC-PERP                                              0.000000000000403
                                                                                                                                              LUNA2                                                               0.000000024267687                                                            LUNA2                                                 0.000000024267687
                                                                                                                                              LUNA2_LOCKED                                                        0.000000056624603                                                            LUNA2_LOCKED                                          0.000000056624603
                                                                                                                                              LUNC                                                                0.005284343406829                                                            LUNC                                                  0.005284343406829
                                                                                                                                              LUNC-PERP                                                          -0.000000000000113                                                            LUNC-PERP                                            -0.000000000000113
                                                                                                                                              MANA-PERP                                                           0.000000000000000                                                            MANA-PERP                                             0.000000000000000
                                                                                                                                              MAPS-PERP                                                           0.000000000000000                                                            MAPS-PERP                                             0.000000000000000
                                                                                                                                              MATIC                                                               0.564869703789500                                                            MATIC                                                 0.564869703789500
                                                                                                                                              MATIC-PERP                                                          0.000000000000000                                                            MATIC-PERP                                            0.000000000000000
                                                                                                                                              MINA-PERP                                                           0.000000000000000                                                            MINA-PERP                                             0.000000000000000
                                                                                                                                              MKR-PERP                                                            0.000000000000000                                                            MKR-PERP                                              0.000000000000000
                                                                                                                                              MTL-PERP                                                           -0.000000000003666                                                            MTL-PERP                                             -0.000000000003666
                                                                                                                                              NEAR-PERP                                                          -0.000000000003552                                                            NEAR-PERP                                            -0.000000000003552
                                                                                                                                              NEO-PERP                                                           -0.000000000000009                                                            NEO-PERP                                             -0.000000000000009
                                                                                                                                              NFT (302929847974179615/SILVERSTONE                                                                                                              NFT (302929847974179615/SILVERSTONE
                                                                                                                                              TICKET STUB #595)                                                     1.000000000000000                                                          TICKET STUB #595)                                       1.000000000000000
                                                                                                                                              NFT (373095765108095541/FTX AU - WE                                                                                                              NFT (373095765108095541/FTX AU - WE
                                                                                                                                              ARE HERE! #36128)                                                     1.000000000000000                                                          ARE HERE! #36128)                                       1.000000000000000
                                                                                                                                              NFT (426069357759063574/FTX EU - WE                                                                                                              NFT (426069357759063574/FTX EU - WE
                                                                                                                                              ARE HERE! #69721)                                                     1.000000000000000                                                          ARE HERE! #69721)                                       1.000000000000000
                                                                                                                                              NFT (450727151328569068/FTX EU - WE                                                                                                              NFT (450727151328569068/FTX EU - WE
                                                                                                                                              ARE HERE! #82731)                                                     1.000000000000000                                                          ARE HERE! #82731)                                       1.000000000000000
                                                                                                                                              NFT (476238086937424441/FTX AU - WE                                                                                                              NFT (476238086937424441/FTX AU - WE
                                                                                                                                              ARE HERE! #36082)                                                     1.000000000000000                                                          ARE HERE! #36082)                                       1.000000000000000
                                                                                                                                              NFT (488721907157905614/MONACO                                                                                                                   NFT (488721907157905614/MONACO
                                                                                                                                              TICKET STUB #1013)                                                    1.000000000000000                                                          TICKET STUB #1013)                                      1.000000000000000
                                                                                                                                              NFT (539279769365990045/MONTREAL                                                                                                                 NFT (539279769365990045/MONTREAL
                                                                                                                                              TICKET STUB #1959)                                                     1.000000000000000                                                         TICKET STUB #1959)                                       1.000000000000000
                                                                                                                                              OKB-20211231                                                           0.000000000000000                                                         OKB-20211231                                             0.000000000000000
                                                                                                                                              OKB-PERP                                                               0.000000000000000                                                         OKB-PERP                                                 0.000000000000000
                                                                                                                                              OMG-20211231                                                           0.000000000000227                                                         OMG-20211231                                             0.000000000000227
                                                                                                                                              OMG-PERP                                                               0.000000000004734                                                         OMG-PERP                                                 0.000000000004734
                                                                                                                                              ONE-PERP                                                               0.000000000000000                                                         ONE-PERP                                                 0.000000000000000
                                                                                                                                              ONT-PERP                                                               0.000000000000000                                                         ONT-PERP                                                 0.000000000000000
                                                                                                                                              OP-PERP                                                                0.000000000000000                                                         OP-PERP                                                  0.000000000000000
                                                                                                                                              OXY-PERP                                                               0.000000000000000                                                         OXY-PERP                                                 0.000000000000000
                                                                                                                                              PAXG-PERP                                                              0.000000000000000                                                         PAXG-PERP                                                0.000000000000000
                                                                                                                                              PEOPLE-PERP                                                            0.000000000000000                                                         PEOPLE-PERP                                              0.000000000000000
                                                                                                                                              PERP-PERP                                                              0.000000000000191                                                         PERP-PERP                                                0.000000000000191
                                                                                                                                              POLIS-PERP                                                            -0.000000000003637                                                         POLIS-PERP                                              -0.000000000003637
                                                                                                                                              QTUM-PERP                                                              0.000000000000113                                                         QTUM-PERP                                                0.000000000000113
                                                                                                                                              RAY-PERP                                                               0.000000000000000                                                         RAY-PERP                                                 0.000000000000000
                                                                                                                                              REEF-20211231                                                          0.000000000000000                                                         REEF-20211231                                            0.000000000000000
                                                                                                                                              REEF-PERP                                                              0.000000000000000                                                         REEF-PERP                                                0.000000000000000
                                                                                                                                              REN-PERP                                                               0.000000000000000                                                         REN-PERP                                                 0.000000000000000
                                                                                                                                              RNDR-PERP                                                              0.000000000000000                                                         RNDR-PERP                                                0.000000000000000
                                                                                                                                              RON-PERP                                                               0.000000000000000                                                         RON-PERP                                                 0.000000000000000
                                                                                                                                              ROOK-PERP                                                              0.000000000000000                                                         ROOK-PERP                                                0.000000000000000
                                                                                                                                              ROSE-PERP                                                              0.000000000000000                                                         ROSE-PERP                                                0.000000000000000
                                                                                                                                              RSR-PERP                                                               0.000000000000000                                                         RSR-PERP                                                 0.000000000000000
                                                                                                                                              RUNE                                                                   0.002500004850000                                                         RUNE                                                     0.002500004850000
                                                                                                                                              RUNE-PERP                                                              0.000000000000227                                                         RUNE-PERP                                                0.000000000000227
                                                                                                                                              SAND-PERP                                                              0.000000000000000                                                         SAND-PERP                                                0.000000000000000
                                                                                                                                              SC-PERP                                                                0.000000000000000                                                         SC-PERP                                                  0.000000000000000
                                                                                                                                              SCRT-PERP                                                              0.000000000000000                                                         SCRT-PERP                                                0.000000000000000
                                                                                                                                              SHIB-PERP                                                              0.000000000000000                                                         SHIB-PERP                                                0.000000000000000
                                                                                                                                              SKL-PERP                                                               0.000000000000000                                                         SKL-PERP                                                 0.000000000000000
                                                                                                                                              SLP-PERP                                                               0.000000000000000                                                         SLP-PERP                                                 0.000000000000000
                                                                                                                                              SNX-PERP                                                               0.000000000000014                                                         SNX-PERP                                                 0.000000000000014

58612*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                 Doc 25689-2                                              Filed 09/25/24                       Page 12 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                           Surviving Claims
  Claim                                                                                                                                                                                                                               Claim
                                              Name                                                           Debtor                                                     Tickers                    Ticker Quantity                                                Name                  Debtor                        Tickers   Ticker Quantity
 Number                                                                                                                                                                                                                              Number
                                                                                                                                              SOL-PERP                                                          -118.810000000000000                                                                   SOL-PERP                              -118.810000000000000
                                                                                                                                              SOS-PERP                                                             0.000000000000000                                                                   SOS-PERP                                 0.000000000000000
                                                                                                                                              SPELL-PERP                                                           0.000000000000000                                                                   SPELL-PERP                               0.000000000000000
                                                                                                                                              SRM                                                                  9.591841350000000                                                                   SRM                                      9.591841350000000
                                                                                                                                              SRM_LOCKED                                                         114.639044210000000                                                                   SRM_LOCKED                             114.639044210000000
                                                                                                                                              SRM-PERP                                                             0.000000000000000                                                                   SRM-PERP                                 0.000000000000000
                                                                                                                                              SRN-PERP                                                             0.000000000000000                                                                   SRN-PERP                                 0.000000000000000
                                                                                                                                              STEP-PERP                                                            0.000000000000000                                                                   STEP-PERP                                0.000000000000000
                                                                                                                                              STMX-PERP                                                            0.000000000000000                                                                   STMX-PERP                                0.000000000000000
                                                                                                                                              STORJ-PERP                                                          -0.000000000000426                                                                   STORJ-PERP                              -0.000000000000426
                                                                                                                                              STX-PERP                                                             0.000000000000000                                                                   STX-PERP                                 0.000000000000000
                                                                                                                                              SUSHI-PERP                                                           0.000000000000000                                                                   SUSHI-PERP                               0.000000000000000
                                                                                                                                              SXP-PERP                                                            -0.000000000000142                                                                   SXP-PERP                                -0.000000000000142
                                                                                                                                              THETA-PERP                                                           0.000000000000198                                                                   THETA-PERP                               0.000000000000198
                                                                                                                                              TLM-PERP                                                             0.000000000000000                                                                   TLM-PERP                                 0.000000000000000
                                                                                                                                              TOMO-PERP                                                           -0.000000000000227                                                                   TOMO-PERP                               -0.000000000000227
                                                                                                                                              TRU-PERP                                                             0.000000000000000                                                                   TRU-PERP                                 0.000000000000000
                                                                                                                                              TRX                                                                  0.000001000000000                                                                   TRX                                      0.000001000000000
                                                                                                                                              TRX-PERP                                                             0.000000000000000                                                                   TRX-PERP                                 0.000000000000000
                                                                                                                                              UNI-20211231                                                         0.000000000000028                                                                   UNI-20211231                             0.000000000000028
                                                                                                                                              UNI-PERP                                                             0.000000000000087                                                                   UNI-PERP                                 0.000000000000087
                                                                                                                                              USD                                                              5,005.340335462563000                                                                   USD                                  5,005.340335462563000
                                                                                                                                              USDT                                                                 0.000000017707398                                                                   USDT                                     0.000000017707398
                                                                                                                                              USDT-PERP                                                            0.000000000000000                                                                   USDT-PERP                                0.000000000000000
                                                                                                                                              USTC-PERP                                                            0.000000000000000                                                                   USTC-PERP                                0.000000000000000
                                                                                                                                              VET-PERP                                                             0.000000000000000                                                                   VET-PERP                                 0.000000000000000
                                                                                                                                              WAVES-PERP                                                           0.000000000000000                                                                   WAVES-PERP                               0.000000000000000
                                                                                                                                              XEM-PERP                                                             0.000000000000000                                                                   XEM-PERP                                 0.000000000000000
                                                                                                                                              XLM-PERP                                                             0.000000000000000                                                                   XLM-PERP                                 0.000000000000000
                                                                                                                                              XMR-PERP                                                             0.000000000000006                                                                   XMR-PERP                                 0.000000000000006
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                   XRP-PERP                                 0.000000000000000
                                                                                                                                              XTZ-PERP                                                            -0.000000000001307                                                                   XTZ-PERP                                -0.000000000001307
                                                                                                                                              YFI                                                                 -0.000000010000000                                                                   YFI                                     -0.000000010000000
                                                                                                                                              YFII-PERP                                                            0.000000000000000                                                                   YFII-PERP                                0.000000000000000
                                                                                                                                              YFI-PERP                                                             0.000000000000000                                                                   YFI-PERP                                 0.000000000000000
                                                                                                                                              ZEC-PERP                                                             0.000000000000000                                                                   ZEC-PERP                                 0.000000000000000
                                                                                                                                              ZIL-PERP                                                             0.000000000000000                                                                   ZIL-PERP                                 0.000000000000000
                                                                                                                                              ZRX-PERP                                                             0.000000000000000                                                                   ZRX-PERP                                 0.000000000000000
24354          Name on file                                                            FTX Trading Ltd.                                       APE                                                                  1.399971910000000 58616  Name on file                 FTX Trading Ltd.              APE                                      1.399971910000000
                                                                                                                                              BNB                                                                  0.030798543736100                                                                   BNB                                      0.030798543736100
                                                                                                                                              COIN                                                                 0.010029743670000                                                                   COIN                                     0.010029743670000
                                                                                                                                              ETH                                                                  0.001014876475090                                                                   ETH                                      0.001014876475090
                                                                                                                                              ETHW                                                                 0.001010062195750                                                                   ETHW                                     0.001010062195750
                                                                                                                                              FTM                                                                  1.023752446003590                                                                   FTM                                      1.023752446003590
                                                                                                                                              GMT                                                                  4.000350720000000                                                                   GMT                                      4.000350720000000
                                                                                                                                              LUNA2                                                                0.000000375000000                                                                   LUNA2                                    0.000000375000000
                                                                                                                                              LUNA2_LOCKED                                                         0.000000874000000                                                                   LUNA2_LOCKED                             0.000000874000000
                                                                                                                                              LUNC                                                                 0.028843649568380                                                                   LUNC                                     0.028843649568380
                                                                                                                                              OKB                                                                  0.211151285547920                                                                   OKB                                      0.211151285547920
                                                                                                                                              SAND                                                                 0.999810000000000                                                                   SAND                                     0.999810000000000
                                                                                                                                              SOL                                                                                                                                                      SOL                                      0.000000000000000
                                                                                                                                              TRX                                                                    32.779411875322140                                                                TRX                                     32.779411875322140
                                                                                                                                              USD                                                                    31.615682167329364                                                                USD                                     31.615682167329364
                                                                                                                                              USDT                                                                                                                                                     USDT                                     0.000000000000000
12487          Name on file                                                            FTX Trading Ltd.                                       KIN                                                                  3.000000000000000      77954    Name on file          FTX Trading Ltd.              KIN                                      3.000000000000000
                                                                                                                                              LUNA2                                                                0.005381276232000                                                                   LUNA2                                    0.005381276232000
                                                                                                                                              LUNA2_LOCKED                                                         0.012556311210000                                                                   LUNA2_LOCKED                             0.012556311210000
                                                                                                                                              TRX                                                                  0.000001000000000                                                                   TRX                                      0.000001000000000
                                                                                                                                              USD                                                                216.553191720145800                                                                   USD                                    216.553191720145800
                                                                                                                                              USDT                                                               579.947610948343800                                                                   USDT                                   579.947610948343800
                                                                                                                                              USTC                                                                 0.761745656980390                                                                   USTC                                     0.761745656980390
12601          Name on file                                                            FTX Trading Ltd.                                       APE                                                                  0.023400000000000      73114    Name on file          FTX Trading Ltd.              APE                                      0.023400000000000
                                                                                                                                              APT                                                                  0.004600000000000                                                                   APT                                      0.004600000000000
                                                                                                                                              BAT                                                                  5.000000000000000                                                                   BAT                                      5.000000000000000
                                                                                                                                              BEARSHIT                                                     2,700,000.000000000000000                                                                   BEARSHIT                         2,700,000.000000000000000
                                                                                                                                              BNB                                                                  0.010000000000000                                                                   BNB                                      0.010000000000000
                                                                                                                                              DFL                                                                  3.000000000000000                                                                   DFL                                      3.000000000000000
                                                                                                                                              FTT                                                             85,191.651140000000000                                                                   FTT                                 85,191.651140000000000
                                                                                                                                              GALFAN                                                               0.300000000000000                                                                   GALFAN                                   0.300000000000000
                                                                                                                                              LUNA2                                                                0.004031360513000                                                                   LUNA2                                    0.004031360513000
                                                                                                                                              LUNA2_LOCKED                                                         0.009406507864000                                                                   LUNA2_LOCKED                             0.009406507864000
                                                                                                                                              LUNC                                                                 0.397748000000000                                                                   LUNC                                     0.397748000000000
                                                                                                                                              MATH                                                            24,746.149780000000000                                                                   MATH                                24,746.149780000000000
                                                                                                                                              QI                                                                   8.000000000000000                                                                   QI                                       8.000000000000000
                                                                                                                                              SNY                                                                 21.000000000000000                                                                   SNY                                     21.000000000000000
                                                                                                                                              SRM                                                                  0.903119000000000                                                                   SRM                                      0.903119000000000
                                                                                                                                              SXP                                                                  0.106480425639096                                                                   SXP                                      0.106480425639096
                                                                                                                                              TRX                                                                  0.000118000000000                                                                   TRX                                      0.000118000000000
                                                                                                                                              USD                                                                 61.533972695828350                                                                   USD                                     61.533972695828350
                                                                                                                                              USDT                                                               240.362741552585020                                                                   USDT                                   240.362741552585020
                                                                                                                                              USTC                                                                 0.570400000000000                                                                   USTC                                     0.570400000000000
15793          Name on file                                                            FTX Trading Ltd.                                       AXS                                                                  0.000000005152124      53374    Name on file          FTX Trading Ltd.              AXS                                      0.000000005152124
                                                                                                                                              BCH-PERP                                                             0.000000000000000                                                                   BCH-PERP                                 0.000000000000000
                                                                                                                                              BOBA-PERP                                                            0.000000000000000                                                                   BOBA-PERP                                0.000000000000000
                                                                                                                                              BTC-0325                                                             0.000000000000000                                                                   BTC-0325                                 0.000000000000000
                                                                                                                                              DYDX-PERP                                                            0.000000000000000                                                                   DYDX-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                  0.000000007191100                                                                   ETH                                      0.000000007191100
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                   ETH-PERP                                 0.000000000000000
                                                                                                                                              FIL-20201225                                                         0.000000000000000                                                                   FIL-20201225                             0.000000000000000
                                                                                                                                              FIL-20210625                                                         0.000000000000000                                                                   FIL-20210625                             0.000000000000000
                                                                                                                                              FIL-PERP                                                             0.000000000000000                                                                   FIL-PERP                                 0.000000000000000
                                                                                                                                              FLOW-PERP                                                            0.000000000000000                                                                   FLOW-PERP                                0.000000000000000
                                                                                                                                              FTT                                                                151.010574726416250                                                                   FTT                                    151.010574726416250
                                                                                                                                              FTT-PERP                                                             0.000000000000056                                                                   FTT-PERP                                 0.000000000000056
                                                                                                                                              HT-PERP                                                             -0.000000000000909                                                                   HT-PERP                                 -0.000000000000909
                                                                                                                                              LUNA2                                                                0.091748366630000                                                                   LUNA2                                    0.091748366630000
                                                                                                                                              LUNA2_LOCKED                                                         0.214079522100000                                                                   LUNA2_LOCKED                             0.214079522100000
                                                                                                                                              OKB-20211231                                                         0.000000000000000                                                                   OKB-20211231                             0.000000000000000
                                                                                                                                              OKB-PERP                                                             0.000000000000000                                                                   OKB-PERP                                 0.000000000000000
                                                                                                                                              OMG                                                                  0.000000007907390                                                                   OMG                                      0.000000007907390
                                                                                                                                              OMG-20211231                                                         0.000000000007275                                                                   OMG-20211231                             0.000000000007275
                                                                                                                                              OMG-PERP                                                             0.000000000000000                                                                   OMG-PERP                                 0.000000000000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                   SOL-PERP                                 0.000000000000000
                                                                                                                                              TONCOIN-PERP                                                         0.000000000000000                                                                   TONCOIN-PERP                             0.000000000000000
                                                                                                                                              TRUMP                                                                0.000000000000000                                                                   TRUMP                                    0.000000000000000
                                                                                                                                              USD                                                                 15.761266558753150                                                                   USD                                     15.761266558753150
                                                                                                                                              USDT                                                                 0.000000002525268                                                                   USDT                                     0.000000002525268
                                                                                                                                              XRP                                                                  0.000000003984686                                                                   XRP                                      0.000000003984686
14204          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                                            4,750.000000000000000      54300*   Name on file          FTX Trading Ltd.              ATLAS                                4,750.000000000000000
                                                                                                                                              ATLAS-PERP                                                           0.000000000000000                                                                   ATLAS-PERP                               0.000000000000000
                                                                                                                                              BIT-PERP                                                             0.000000000000000                                                                   BIT-PERP                                 0.000000000000000
                                                                                                                                              BTC                                                                  0.000000005500000                                                                   BTC                                      0.000000005500000
                                                                                                                                              BTC-20210625                                                         0.000000000000000                                                                   BTC-20210625                             0.000000000000000
                                                                                                                                              CAKE-PERP                                                            0.000000000000000                                                                   CAKE-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                  0.000000010000000                                                                   ETH                                      1.812157600000000
                                                                                                                                              ETHBULL                                                              0.000000003000000                                                                   ETHBULL                                  0.000000003000000
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                   ETH-PERP                                 0.000000000000000
                                                                                                                                              FTT                                                                150.870640475884070                                                                   ETHW                                     1.811876240000000
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                   FTT                                    150.870640475884070
                                                                                                                                              IMX                                                                 11.000000000000000                                                                   FTT-PERP                                 0.000000000000000
                                                                                                                                              LUNA2                                                                0.869363626400000                                                                   IMX                                     11.000000000000000
                                                                                                                                              LUNA2_LOCKED                                                         2.028515128400000                                                                   LUNA2                                    0.869363626400000
                                                                                                                                              LUNC                                                           189,305.760000000000000                                                                   LUNA2_LOCKED                             2.028515128400000
                                                                                                                                              LUNC-PERP                                                            0.000000000000000                                                                   LUNC                               189,305.760000000000000
                                                                                                                                              OMG-20211231                                                         0.000000000000000                                                                   LUNC-PERP                                0.000000000000000
                                                                                                                                              OMG-PERP                                                             0.000000000000000                                                                   OMG-20211231                             0.000000000000000
                                                                                                                                              POLIS                                                               54.400000000000000                                                                   OMG-PERP                                 0.000000000000000
                                                                                                                                              SRM                                                                 49.000000000000000                                                                   POLIS                                   54.400000000000000
                                                                                                                                              SRM-PERP                                                             0.000000000000000                                                                   SOL                                     17.147394330000000
                                                                                                                                              TRX                                                                  0.000224000000000                                                                   SRM                                     49.000000000000000
                                                                                                                                              USD                                                              5,964.069122812280000                                                                   SRM-PERP                                 0.000000000000000
                                                                                                                                              USDT                                                                 1.247978773279351                                                                   TRX                                      0.000224000000000
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                   USD                                  5,964.069122812280000
                                                                                                                                                                                                                                                                                                       USDT                                     1.247978773279351
                                                                                                                                                                                                                                                                                                       XRP-PERP                                 0.000000000000000
54287          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                                           4,750.000000000000000 54300*         Name on file          FTX Trading Ltd.              ATLAS                                4,750.000000000000000
                                                                                                                                              ATLAS-PERP                                                          0.000000000000000                                                                    ATLAS-PERP                               0.000000000000000
                                                                                                                                              BIT-PERP                                                            0.000000000000000                                                                    BIT-PERP                                 0.000000000000000
                                                                                                                                              BTC                                                                 0.000000005500000                                                                    BTC                                      0.000000005500000
                                                                                                                                              BTC-20210625                                                        0.000000000000000                                                                    BTC-20210625                             0.000000000000000
                                                                                                                                              CAKE-PERP                                                           0.000000000000000                                                                    CAKE-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                 0.000000010000000                                                                    ETH                                      1.812157600000000
                                                                                                                                              ETHBULL                                                             0.000000003000000                                                                    ETHBULL                                  0.000000003000000
                                                                                                                                              ETH-PERP                                                            0.000000000000000                                                                    ETH-PERP                                 0.000000000000000
                                                                                                                                              FTT                                                               150.870640475884070                                                                    ETHW                                     1.811876240000000
                                                                                                                                              FTT-PERP                                                            0.000000000000000                                                                    FTT                                    150.870640475884070
                                                                                                                                              IMX                                                                11.000000000000000                                                                    FTT-PERP                                 0.000000000000000
                                                                                                                                              LUNA2                                                               0.869363626400000                                                                    IMX                                     11.000000000000000
                                                                                                                                              LUNA2_LOCKED                                                        2.028515128400000                                                                    LUNA2                                    0.869363626400000
                                                                                                                                              LUNC                                                          189,305.760000000000000                                                                    LUNA2_LOCKED                             2.028515128400000
                                                                                                                                              LUNC-PERP                                                           0.000000000000000                                                                    LUNC                               189,305.760000000000000
                                                                                                                                              OMG-20211231                                                        0.000000000000000                                                                    LUNC-PERP                                0.000000000000000
                                                                                                                                              OMG-PERP                                                            0.000000000000000                                                                    OMG-20211231                             0.000000000000000
                                                                                                                                              POLIS                                                              54.400000000000000                                                                    OMG-PERP                                 0.000000000000000
                                                                                                                                              SRM                                                                49.000000000000000                                                                    POLIS                                   54.400000000000000
                                                                                                                                              SRM-PERP                                                            0.000000000000000                                                                    SOL                                     17.147394330000000
                                                                                                                                              TRX                                                                 0.000224000000000                                                                    SRM                                     49.000000000000000
                                                                                                                                              USD                                                             5,964.069122812280000                                                                    SRM-PERP                                 0.000000000000000
                                                                                                                                              USDT                                                                1.247978773279351                                                                    TRX                                      0.000224000000000
                                                                                                                                              XRP-PERP                                                            0.000000000000000                                                                    USD                                  5,964.069122812280000
                                                                                                                                                                                                                                                                                                       USDT                                     1.247978773279351
                                                                                                                                                                                                                                                                                                       XRP-PERP                                 0.000000000000000
50849          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                                               7.840534448572129 50850*         Name on file          FTX Trading Ltd.              ATLAS                                    7.840534448572129
                                                                                                                                              FTT                                                               208.737149605068800                                                                    FTT                                    208.737149605068800
                                                                                                                                              MNGO                                                                0.000000008984840                                                                    MNGO                                     0.000000008984840
                                                                                                                                              PRISM                                                         230,124.446074817880000                                                                    PRISM                              230,124.446074817880000
                                                                                                                                              RAY                                                                 0.000000002828522                                                                    RAY                                      0.000000002828522
                                                                                                                                              SOL                                                                 0.000000005475000                                                                    SOL                                      0.000000005475000
                                                                                                                                              SRM                                                               392.021274080000000                                                                    SRM                                    392.021274080000000
                                                                                                                                              SRM_LOCKED                                                         14.835789580000000                                                                    SRM_LOCKED                              14.835789580000000
                                                                                                                                              USD                                                                 0.605122997566267                                                                    USD                                      0.605122997566267
                                                                                                                                              USDT                                                                4.919133348076174                                                                    USDT                                     4.919133348076174
                                                                                                                                              XRP                                                                 0.961541003911460                                                                    XRP                                      0.961541003911460
6770           Name on file                                                            FTX Trading Ltd.                                       BTC                                                                 0.061746440000000 37862*         Name on file          FTX Trading Ltd.              BTC                                      0.061746440000000
                                                                                                                                              ETH                                                                 0.409452740000000                                                                    ETH                                      0.409452740000000
                                                                                                                                              ETHW                                                                0.409280690000000                                                                    ETHW                                     0.409280690000000
                                                                                                                                              FTT                                                                27.970701230000000                                                                    FTT                                     27.970701230000000
                                                                                                                                              USDT                                                            1,251.377076970000000                                                                    USDT                                 1,251.377076970000000


54300*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
50850*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
37862*: Surviving Claim is pending modification on the Debtors· Seventy-Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                                                 Case 22-11068-JTD                                                                                 Doc 25689-2                                             Filed 09/25/24                           Page 13 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                                    Surviving Claims
 Claim                                                                                                                                                                                                                                  Claim
                                              Name                                                           Debtor                                                     Tickers                    Ticker Quantity                                               Name                  Debtor                                   Tickers              Ticker Quantity
Number                                                                                                                                                                                                                                 Number
26543  Name on file                                                                    FTX Trading Ltd.                                       ETH                                                                    4.980000000000000 44297* Name on file              FTX Trading Ltd.                        AKRO                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                BAO                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                BF_POINT                                           100.000000000000000
                                                                                                                                                                                                                                                                                                                CHZ                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                DENT                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                ETH                                                  4.980009700000000
                                                                                                                                                                                                                                                                                                                ETHW                                                 0.000421240000000
                                                                                                                                                                                                                                                                                                                FTT                                                  0.000232330000000
                                                                                                                                                                                                                                                                                                                RSR                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                TRX                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                UBXT                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                USD                                                  0.000000009406066
                                                                                                                                                                                                                                                                                                                USDT                                                 0.000010452243668
26523          Name on file                                                            FTX Trading Ltd.                                                                                                                 Undetermined* 44297*      Name on file          FTX Trading Ltd.                        AKRO                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                BAO                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                BF_POINT                                           100.000000000000000
                                                                                                                                                                                                                                                                                                                CHZ                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                DENT                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                ETH                                                  4.980009700000000
                                                                                                                                                                                                                                                                                                                ETHW                                                 0.000421240000000
                                                                                                                                                                                                                                                                                                                FTT                                                  0.000232330000000
                                                                                                                                                                                                                                                                                                                RSR                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                TRX                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                UBXT                                                 1.000000000000000
                                                                                                                                                                                                                                                                                                                USD                                                  0.000000009406066
                                                                                                                                                                                                                                                                                                                USDT                                                 0.000010452243668
1503           Name on file                                                            FTX Trading Ltd.                                       USD                                                                256.210000000000000 35066*       Name on file          FTX Trading Ltd.                        ADABULL                                              0.000000002338566
                                                                                                                                                                                                                                                                                                                ALGOBULL                                             0.000000009066123
                                                                                                                                                                                                                                                                                                                ALTBULL                                              0.000000001863968
                                                                                                                                                                                                                                                                                                                BNBBULL                                              0.000000007931070
                                                                                                                                                                                                                                                                                                                BTC                                                  0.000000004410660
                                                                                                                                                                                                                                                                                                                BULL                                                 0.000000003840410
                                                                                                                                                                                                                                                                                                                BULLSHIT                                             0.000000004018136
                                                                                                                                                                                                                                                                                                                DEFIBULL                                             0.000000002180000
                                                                                                                                                                                                                                                                                                                DOGEBULL                                             0.000000009384259
                                                                                                                                                                                                                                                                                                                EOSBULL                                              0.000000005351900
                                                                                                                                                                                                                                                                                                                ETHBULL                                              0.000000007461172
                                                                                                                                                                                                                                                                                                                HTBULL                                               0.000000009000000
                                                                                                                                                                                                                                                                                                                LTCBULL                                              0.000000004871000
                                                                                                                                                                                                                                                                                                                MATICBULL                                            0.000000009486138
                                                                                                                                                                                                                                                                                                                MIDBULL                                              0.000000001350000
                                                                                                                                                                                                                                                                                                                SHIB                                                 0.000000002198805
                                                                                                                                                                                                                                                                                                                SUSHIBULL                                            0.000000007974745
                                                                                                                                                                                                                                                                                                                THETABULL                                            0.000000002829062
                                                                                                                                                                                                                                                                                                                TRX                                                  0.000008000000000
                                                                                                                                                                                                                                                                                                                USD                                                  0.000000010186487
                                                                                                                                                                                                                                                                                                                USDT                                                 0.000000008996749
                                                                                                                                                                                                                                                                                                                VETBULL                                              0.000000002295202
                                                                                                                                                                                                                                                                                                                XRP                                              1,388.670227682964400
                                                                                                                                                                                                                                                                                                                XRPBEAR                                              0.000000004919125
                                                                                                                                                                                                                                                                                                                XRPBULL                                     79,814,657.000000000000000
67432          Name on file                                                            FTX Trading Ltd.                                       AURY                                                                 0.311296980000000 67482        Name on file          FTX Trading Ltd.                        AURY                                                 0.311296980000000
                                                                                                                                              BTC                                                                  0.299976371501811                                                                            BTC                                                  0.299976371501811
                                                                                                                                              ETH                                                                  5.044547880000000                                                                            ETH                                                  5.044547880000000
                                                                                                                                              ETHW                                                                 5.044547883087521                                                                            ETHW                                                 5.044547883087521
                                                                                                                                              FTT                                                                202.829725570000000                                                                            FTT                                                202.829725570000000
                                                                                                                                              KNC                                                                  0.087164580000000                                                                            KNC                                                  0.087164580000000
                                                                                                                                              LINK                                                                 0.000000010000000                                                                            LINK                                                 0.000000010000000
                                                                                                                                              LUNA2_LOCKED                                                       105.098650500000000                                                                            LUNA2_LOCKED                                       105.098650500000000
                                                                                                                                              LUNC                                                                70.000000000000000                                                                            LUNC                                                70.000000000000000
                                                                                                                                              RUNE                                                               100.000500000000000                                                                            RUNE                                               100.000500000000000
                                                                                                                                              SOL                                                                 37.000055000000000                                                                            SOL                                                 37.000055000000000
                                                                                                                                              SRM                                                                  7.583733770000000                                                                            SRM                                                  7.583733770000000
                                                                                                                                              SRM_LOCKED                                                          51.696266230000000                                                                            SRM_LOCKED                                          51.696266230000000
                                                                                                                                              SUSHI                                                                0.000000010000000                                                                            SUSHI                                                0.000000010000000
                                                                                                                                              TRX                                                                  0.687460000000000                                                                            TRX                                                  0.687460000000000
                                                                                                                                              USD                                                            -10,845.514749283204000                                                                            USD                                            -10,845.514749283204000
                                                                                                                                              USDT                                                               479.427755521756300                                                                            USDT                                               479.427755521756300
                                                                                                                                              USTC                                                             3,300.000000000000000                                                                            USTC                                             3,300.000000000000000
                                                                                                                                              XPLA                                                               400.002000000000000                                                                            XPLA                                               400.002000000000000
31159          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined* 31173        Name on file          FTX Trading Ltd.                        BCH                                                  0.000000000000000
                                                                                                                                                                                                                                                                                                                TRX                                                  0.000000000000000
                                                                                                                                                                                                                                                                                                                XRP                                                  0.000000000000000
20879          Name on file                                                            FTX Trading Ltd.                                                                                                                 Undetermined* 20903       Name on file          FTX Trading Ltd.                        ALCX                                                 0.000000005000000
                                                                                                                                                                                                                                                                                                                AMPL                                                 0.000000000704093
                                                                                                                                                                                                                                                                                                                APE-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                ASD-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                BTC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                CEL-0930                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                CEL-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                ENS-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                ETC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                ETH-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                FLM-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                FTT                                                750.062423074266900
                                                                                                                                                                                                                                                                                                                GST-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                LUNA2                                                0.000000033477977
                                                                                                                                                                                                                                                                                                                LUNA2_LOCKED                                         0.000000078115279
                                                                                                                                                                                                                                                                                                                LUNA2-PERP                                           0.000000000000000
                                                                                                                                                                                                                                                                                                                LUNC                                                 0.007289900000000
                                                                                                                                                                                                                                                                                                                LUNC-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                                                                MASK                                                 0.002500000000000
                                                                                                                                                                                                                                                                                                                MOB-PERP                                             0.100000000000364
                                                                                                                                                                                                                                                                                                                SRM                                                  4.278691910000000
                                                                                                                                                                                                                                                                                                                SRM_LOCKED                                          76.841308090000000
                                                                                                                                                                                                                                                                                                                THETA-0624                                           0.000000000000454
                                                                                                                                                                                                                                                                                                                THETA-PERP                                           0.000000000000000
                                                                                                                                                                                                                                                                                                                TRU-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                USD                                              3,847.535141677042700
                                                                                                                                                                                                                                                                                                                USDT                                                 0.008593224127395
                                                                                                                                                                                                                                                                                                                XMR-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                                                                YFII-PERP                                            0.000000000000000
8652           Name on file                                                            FTX Trading Ltd.                                                                                                                                  95017*   Name on file          FTX Trading Ltd.                        298503447802866586/FTX EU - WE ARE
                                                                                                                                              ETH                                                                    5.543199600724654                                                                          HERE! #26050                                           1.000000000000000
                                                                                                                                                                                                                                                                                                                345889161800655162/FTX EU - WE ARE
                                                                                                                                              ETHW                                                                   0.000001285200000                                                                          HERE! #25548                                           1.000000000000000
                                                                                                                                                                                                                                                                                                                350083217683518224/FTX AU - WE ARE
                                                                                                                                              IP3                                                                    0.000000001212654                                                                          HERE! #37065                                           1.000000000000000
                                                                                                                                                                                                                                                                                                                493910328058947371/THE HILL BY FTX
                                                                                                                                              JPY                                                                877.333275000000000                                                                            #9345                                                  1.000000000000000
                                                                                                                                                                                                                                                                                                                504069812640308488/FTX AU - WE ARE
                                                                                                                                              OMG                                                                    1.411071316284136                                                                          HERE! #37097                                           1.000000000000000
                                                                                                                                                                                                                                                                                                                556779226374953795/FTX CRYPTO CUP
                                                                                                                                              TRX                                                                    0.000571076500000                                                                          2022 KEY #3861                                         1.000000000000000
                                                                                                                                                                                                                                                                                                                574815723765729178/FTX EU - WE ARE
                                                                                                                                              USD                                                                    0.000000011305020                                                                          HERE! #26182                                         1.000000000000000
                                                                                                                                              USDT                                                                   0.010009731924396                                                                          ETH                                                  5.543199600724654
                                                                                                                                              USTC-PERP                                                              0.000000000000000                                                                          ETHW                                                 0.000001285200000
                                                                                                                                                                                                                                                                                                                IP3                                                  0.000000001212654
                                                                                                                                                                                                                                                                                                                JPY                                                877.333275000000000
                                                                                                                                                                                                                                                                                                                OMG                                                  1.411071316284136
                                                                                                                                                                                                                                                                                                                TRX                                                  0.000571076500000
                                                                                                                                                                                                                                                                                                                USD                                                  0.000000011305020
                                                                                                                                                                                                                                                                                                                USDT                                                 0.010009731924396
                                                                                                                                                                                                                                                                                                                USTC-PERP                                            0.000000000000000
93835          Name on file                                                            FTX Trading Ltd.                                       298503447802866586/FTX EU - WE ARE                                                         95017*   Name on file          FTX Trading Ltd.                        298503447802866586/FTX EU - WE ARE
                                                                                                                                              HERE! #26050                                                           1.000000000000000                                                                          HERE! #26050                                           1.000000000000000
                                                                                                                                              345889161800655162/FTX EU - WE ARE                                                                                                                                345889161800655162/FTX EU - WE ARE
                                                                                                                                              HERE! #25548                                                           1.000000000000000                                                                          HERE! #25548                                           1.000000000000000
                                                                                                                                              350083217683518224/FTX AU - WE ARE                                                                                                                                350083217683518224/FTX AU - WE ARE
                                                                                                                                              HERE! #37065                                                           1.000000000000000                                                                          HERE! #37065                                           1.000000000000000
                                                                                                                                              493910328058947371/THE HILL BY FTX                                                                                                                                493910328058947371/THE HILL BY FTX
                                                                                                                                              #9345                                                                  1.000000000000000                                                                          #9345                                                  1.000000000000000
                                                                                                                                              504069812640308488/FTX AU - WE ARE                                                                                                                                504069812640308488/FTX AU - WE ARE
                                                                                                                                              HERE! #37097                                                           1.000000000000000                                                                          HERE! #37097                                           1.000000000000000
                                                                                                                                              556779226374953795/FTX CRYPTO CUP                                                                                                                                 556779226374953795/FTX CRYPTO CUP
                                                                                                                                              2022 KEY #3861                                                         1.000000000000000                                                                          2022 KEY #3861                                         1.000000000000000
                                                                                                                                              574815723765729178/FTX EU - WE ARE                                                                                                                                574815723765729178/FTX EU - WE ARE
                                                                                                                                              HERE! #26182                                                         1.000000000000000                                                                            HERE! #26182                                         1.000000000000000
                                                                                                                                              ETH                                                                  5.543199600724654                                                                            ETH                                                  5.543199600724654
                                                                                                                                              ETHW                                                                 0.000001285200000                                                                            ETHW                                                 0.000001285200000
                                                                                                                                              IP3                                                                  0.000000001212654                                                                            IP3                                                  0.000000001212654
                                                                                                                                              JPY                                                                877.333275000000000                                                                            JPY                                                877.333275000000000
                                                                                                                                              OMG                                                                  1.411071316284136                                                                            OMG                                                  1.411071316284136
                                                                                                                                              TRX                                                                  0.000571076500000                                                                            TRX                                                  0.000571076500000
                                                                                                                                              USD                                                                  0.000000011305020                                                                            USD                                                  0.000000011305020
                                                                                                                                              USDT                                                                 0.010009731924396                                                                            USDT                                                 0.010009731924396
                                                                                                                                              USTC-PERP                                                            0.000000000000000                                                                            USTC-PERP                                            0.000000000000000
81437          Name on file                                                            FTX Trading Ltd.                                       ATLAS-PERP                                                           0.000000000000000     90600    Name on file          FTX Trading Ltd.                        ATLAS-PERP                                           0.000000000000000
                                                                                                                                              FTT                                                                  0.003219561155624                                                                            FTT                                                  0.003219561155624
                                                                                                                                              SRM                                                                  0.005899110000000                                                                            SRM                                                  0.005899110000000
                                                                                                                                              SRM_LOCKED                                                           0.035522520000000                                                                            SRM_LOCKED                                           0.035522520000000
                                                                                                                                              SRM-PERP                                                             0.000000000000000                                                                            SRM-PERP                                             0.000000000000000
                                                                                                                                              TRX                                                                  0.000028000000000                                                                            TRX                                                  0.000028000000000
                                                                                                                                              USD                                                                  0.000000009880467                                                                            USD                                                  0.000000009880467
                                                                                                                                              USDT                                                             3,219.507573047205400                                                                            USDT                                             3,219.507573047205400
15305          Name on file                                                            FTX EU Ltd.                                            ETH                                                                  0.098000000000000     86102    Name on file          FTX Trading Ltd.                        ETH                                                  0.098000000000000
                                                                                                                                              LUNA2                                                                0.030985004660000                                                                            LUNA2                                                0.030985004660000
                                                                                                                                              LUNA2_LOCKED                                                         0.072298344210000                                                                            LUNA2_LOCKED                                         0.072298344210000
                                                                                                                                              USD                                                                  0.782058351339618                                                                            USD                                                  0.782058351339618
54368          Name on file                                                            FTX Trading Ltd.                                       SOL                                                                 25.055448740000000     54380    Name on file          FTX Trading Ltd.                        SOL                                                 25.055448740000000
                                                                                                                                              SRM                                                                266.281408180000000                                                                            SRM                                                266.281408180000000
                                                                                                                                              SRM_LOCKED                                                           5.086977820000000                                                                            SRM_LOCKED                                           5.086977820000000
38144          Name on file                                                            FTX Trading Ltd.                                       SAND-PERP                                                            0.000000000000000     38937*   Name on file          West Realm Shires Services Inc.         SAND-PERP                                            0.000000000000000
                                                                                                                                              USD                                                                 13.310016624046554                                                                            USD                                                 13.310016624046554
                                                                                                                                              XPLA                                                               557.899300000000000                                                                            XPLA                                               557.899300000000000
                                                                                                                                              XRP                                                                  0.000000004960978                                                                            XRP                                                  0.000000004960978
60562          Name on file                                                            FTX EU Ltd.                                            FTT                                                                 61.600000000000000     92081*   Name on file          FTX EU Ltd.                             FTT                                                 61.600000000000000
                                                                                                                                              USDT                                                               833.833727110000000                                                                            USDT                                               833.833727110000000
55007          Name on file                                                            FTX EU Ltd.                                            FTT                                                                 61.600000000000000     92081*   Name on file          FTX EU Ltd.                             FTT                                                 61.600000000000000
                                                                                                                                              USDT                                                               833.833727110000000                                                                            USDT                                               833.833727110000000
58459          Name on file                                                            West Realm Shires Services Inc.                                                                                                                   95122*   Name on file          FTX Trading Ltd.                        366706117739917089/FTX EU - WE ARE
                                                                                                                                              BAO                                                                    1.000000000000000                                                                          HERE! #242390                                          1.000000000000000
                                                                                                                                                                                                                                                                                                                384779096146840512/FTX EU - WE ARE
                                                                                                                                              BNB                                                                    0.010216840000000                                                                          HERE! #242294                                          1.000000000000000
                                                                                                                                                                                                                                                                                                                438261323124014169/FTX EU - WE ARE
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                          HERE! #242339                                          1.000000000000000
                                                                                                                                              ETHW                                                                   0.000754690000000                                                                          BAO                                                    1.000000000000000

44297*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Ninth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
35066*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
95017*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
38937*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
92081*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
95122*: Surviving Claim is pending modification on the Debtors· Seventy-Sixth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                   Doc 25689-2                                             Filed 09/25/24                       Page 14 of 20
                                                                                                                                Claims to be Disallowed                                                                                                                                           Surviving Claims
  Claim                                                                                                                                                                                                                                     Claim
                                              Name                                                           Debtor                                                      Tickers                     Ticker Quantity                                               Name                  Debtor                         Tickers               Ticker Quantity
 Number                                                                                                                                                                                                                                    Number
                                                                                                                                              FTT                                                                  13.361973123576695                                                                   BNB                                                  0.010216840000000
                                                                                                                                              SHIB                                                        190,035,080.395026200000000                                                                   ETH-PERP                                             0.000000000000000
                                                                                                                                              USD                                                                   0.000000013023180                                                                   ETHW                                                 0.000754690000000
                                                                                                                                              USDT                                                                  4.333657500000227                                                                   FTT                                                 13.361973123576695
                                                                                                                                                                                                                                                                                                        SHIB                                       190,035,080.395026200000000
                                                                                                                                                                                                                                                                                                        USD                                                  0.000000013023180
                                                                                                                                                                                                                                                                                                        USDT                                                 4.333657500000227
14066          Name on file                                                            FTX Trading Ltd.                                       BICO                                                                   0.134790780000000 77063        Name on file          FTX Trading Ltd.              BICO                                                 0.134790780000000
                                                                                                                                              DOGE                                                                   5.000000000000000                                                                  DOGE                                                 5.000000000000000
                                                                                                                                              DOGE-PERP                                                              0.000000000000000                                                                  DOGE-PERP                                            0.000000000000000
                                                                                                                                              FTT                                                                2,004.550620000000000                                                                  FTT                                              2,004.550620000000000
                                                                                                                                              FTT-PERP                                                               0.000000000000000                                                                  FTT-PERP                                             0.000000000000000
                                                                                                                                              GST-PERP                                                              -0.000000000000728                                                                  GST-PERP                                            -0.000000000000728
                                                                                                                                              LUNA2                                                                  1.095998820000000                                                                  LUNA2                                                1.095998820000000
                                                                                                                                              LUNA2_LOCKED                                                           2.557330579000000                                                                  LUNA2_LOCKED                                         2.557330579000000
                                                                                                                                              MEDIA                                                                  0.008600000000000                                                                  MEDIA                                                0.008600000000000
                                                                                                                                              RAY                                                                    0.419700000000000                                                                  RAY                                                  0.419700000000000
                                                                                                                                              SHIB-PERP                                                              0.000000000000000                                                                  SHIB-PERP                                            0.000000000000000
                                                                                                                                              TRX                                                                    0.900031000000000                                                                  TRX                                                  0.900031000000000
                                                                                                                                              USD                                                                    5.884670770488052                                                                  USD                                                  5.884670770488052
                                                                                                                                              USDT                                                                   0.000000007930703                                                                  USDT                                                 0.000000007930703
                                                                                                                                              USTC-PERP                                                              0.000000000000000                                                                  USTC-PERP                                            0.000000000000000
91868          Name on file                                                            FTX Trading Ltd.                                       292727385621779066/AUSTRIA TICKET                                                        94798*       Name on file          FTX Trading Ltd.              292727385621779066/AUSTRIA TICKET
                                                                                                                                              STUB #1549                                                             1.000000000000000                                                                  STUB #1549                                              1.000000000000000
                                                                                                                                              445902182910217506/FTX AU - WE ARE                                                                                                                        445902182910217506/FTX AU - WE ARE
                                                                                                                                              HERE! #20392                                                           1.000000000000000                                                                  HERE! #20392                                          1.000000000000000
                                                                                                                                              AXS-PERP                                                               0.000000000000000                                                                  AXS-PERP                                              0.000000000000000
                                                                                                                                              BNB-PERP                                                               0.000000000000000                                                                  BNB-PERP                                              0.000000000000000
                                                                                                                                              BTC-PERP                                                               0.000000000000000                                                                  BTC-PERP                                              0.000000000000000
                                                                                                                                              CRO-PERP                                                               0.000000000000000                                                                  CRO-PERP                                              0.000000000000000
                                                                                                                                              EGLD-PERP                                                             -0.000000000000028                                                                  EGLD-PERP                                            -0.000000000000028
                                                                                                                                              ETH                                                                    0.001207580000000                                                                  ETH                                                   0.001207580000000
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                  ETH-PERP                                              0.000000000000000
                                                                                                                                              ETHW                                                                   0.000452864400725                                                                  ETHW                                                  0.000452864400725
                                                                                                                                              FLOW-PERP                                                              0.000000000000227                                                                  FLOW-PERP                                             0.000000000000227
                                                                                                                                              FTT                                                                    0.002118720000000                                                                  FTT                                                   0.002118720000000
                                                                                                                                              HKD                                                                    0.017448155185945                                                                  HKD                                                   0.017448155185945
                                                                                                                                              HT                                                                     0.067740000000000                                                                  HT                                                    0.067740000000000
                                                                                                                                              LUNA2                                                                  0.002776094941000                                                                  LUNA2                                                 0.002776094941000
                                                                                                                                              LUNA2_LOCKED                                                           0.006477554863000                                                                  LUNA2_LOCKED                                          0.006477554863000
                                                                                                                                              LUNC                                                                   2.000000000000000                                                                  LUNC                                                  2.000000000000000
                                                                                                                                              LUNC-PERP                                                              0.000000000000000                                                                  LUNC-PERP                                             0.000000000000000
                                                                                                                                              OKB-PERP                                                               0.000000000000000                                                                  OKB-PERP                                              0.000000000000000
                                                                                                                                              OMG-PERP                                                               0.000000000000000                                                                  OMG-PERP                                              0.000000000000000
                                                                                                                                              OXY                                                                    0.379110000000000                                                                  OXY                                                   0.379110000000000
                                                                                                                                              RAY                                                                    0.048527000000000                                                                  RAY                                                   0.048527000000000
                                                                                                                                              RAY-PERP                                                               0.000000000000000                                                                  RAY-PERP                                              0.000000000000000
                                                                                                                                              SLP-PERP                                                               0.000000000000000                                                                  SLP-PERP                                              0.000000000000000
                                                                                                                                              SOL                                                                    0.008373060000000                                                                  SOL                                                   0.008373060000000
                                                                                                                                              SRM                                                                    1.700250500000000                                                                  SRM                                                   1.700250500000000
                                                                                                                                              SRM_LOCKED                                                            13.433869410000000                                                                  SRM_LOCKED                                           13.433869410000000
                                                                                                                                              TOMO                                                                   0.023192000000000                                                                  TOMO                                                  0.023192000000000
                                                                                                                                              TRX                                                               29,057.796741850000000                                                                  TRX                                              29,057.796741850000000
                                                                                                                                              USD                                                                3,991.064045495620000                                                                  USD                                               3,991.064045495620000
                                                                                                                                              USDT                                                                   0.082220626617882                                                                  USDT                                                  0.082220626617882
                                                                                                                                              USTC                                                                   0.391669509512226                                                                  USTC                                                  0.391669509512226
14011          Name on file                                                            FTX Trading Ltd.                                                                                                                                    94798*   Name on file          FTX Trading Ltd.              292727385621779066/AUSTRIA TICKET
                                                                                                                                              AXS-PERP                                                                 0.000000000000000                                                                STUB #1549                                              1.000000000000000
                                                                                                                                                                                                                                                                                                        445902182910217506/FTX AU - WE ARE
                                                                                                                                              BNB-PERP                                                               0.000000000000000                                                                  HERE! #20392                                          1.000000000000000
                                                                                                                                              BTC-PERP                                                               0.000000000000000                                                                  AXS-PERP                                              0.000000000000000
                                                                                                                                              CRO-PERP                                                               0.000000000000000                                                                  BNB-PERP                                              0.000000000000000
                                                                                                                                              EGLD-PERP                                                             -0.000000000000028                                                                  BTC-PERP                                              0.000000000000000
                                                                                                                                              ETH                                                                    0.001207580000000                                                                  CRO-PERP                                              0.000000000000000
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                  EGLD-PERP                                            -0.000000000000028
                                                                                                                                              ETHW                                                                   0.000452864400725                                                                  ETH                                                   0.001207580000000
                                                                                                                                              FLOW-PERP                                                              0.000000000000227                                                                  ETH-PERP                                              0.000000000000000
                                                                                                                                              FTT                                                                    0.002118720000000                                                                  ETHW                                                  0.000452864400725
                                                                                                                                              HKD                                                                    0.000000077592972                                                                  FLOW-PERP                                             0.000000000000227
                                                                                                                                              HT                                                                     0.067740000000000                                                                  FTT                                                   0.002118720000000
                                                                                                                                              LUNA2                                                                  0.002776094941000                                                                  HKD                                                   0.017448155185945
                                                                                                                                              LUNA2_LOCKED                                                           0.006477554863000                                                                  HT                                                    0.067740000000000
                                                                                                                                              LUNC                                                                   2.000000000000000                                                                  LUNA2                                                 0.002776094941000
                                                                                                                                              LUNC-PERP                                                              0.000000000000000                                                                  LUNA2_LOCKED                                          0.006477554863000
                                                                                                                                              OKB-PERP                                                               0.000000000000000                                                                  LUNC                                                  2.000000000000000
                                                                                                                                              OMG-PERP                                                               0.000000000000000                                                                  LUNC-PERP                                             0.000000000000000
                                                                                                                                              OXY                                                                    0.379110000000000                                                                  OKB-PERP                                              0.000000000000000
                                                                                                                                              RAY                                                                    0.048527000000000                                                                  OMG-PERP                                              0.000000000000000
                                                                                                                                              RAY-PERP                                                               0.000000000000000                                                                  OXY                                                   0.379110000000000
                                                                                                                                              SLP-PERP                                                               0.000000000000000                                                                  RAY                                                   0.048527000000000
                                                                                                                                              SOL                                                                    0.008373060000000                                                                  RAY-PERP                                              0.000000000000000
                                                                                                                                              SRM                                                                    1.700250500000000                                                                  SLP-PERP                                              0.000000000000000
                                                                                                                                              SRM_LOCKED                                                            13.433869410000000                                                                  SOL                                                   0.008373060000000
                                                                                                                                              TOMO                                                                   0.023192000000000                                                                  SRM                                                   1.700250500000000
                                                                                                                                              TRX                                                               29,057.796741850000000                                                                  SRM_LOCKED                                           13.433869410000000
                                                                                                                                              USD                                                                3,991.064045495620000                                                                  TOMO                                                  0.023192000000000
                                                                                                                                              USDT                                                                   0.082220626617882                                                                  TRX                                              29,057.796741850000000
                                                                                                                                              USTC                                                                   0.391669509512226                                                                  USD                                               3,991.064045495620000
                                                                                                                                                                                                                                                                                                        USDT                                                  0.082220626617882
                                                                                                                                                                                                                                                                                                        USTC                                                  0.391669509512226
17998          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                    0.717377074000000 60646        Name on file          FTX Trading Ltd.              ETH                                                   0.717377074000000
                                                                                                                                              FTT                                                                  185.875381400000000                                                                  FTT                                                 185.875381400000000
                                                                                                                                              SHIB-PERP                                                      4,700,000.000000000000000                                                                  SHIB-PERP                                     4,700,000.000000000000000
                                                                                                                                              USD                                                                  815.543244264068800                                                                  USD                                                 815.543244264068800
                                                                                                                                              USDT                                                                   1.182480526940829                                                                  USDT                                                  1.182480526940829
67890          Name on file                                                            FTX Trading Ltd.                                       APE-PERP                                                               0.000000000000000 67943        Name on file          FTX Trading Ltd.              APE-PERP                                              0.000000000000000
                                                                                                                                              AVAX-PERP                                                             -0.000000000000028                                                                  AVAX-PERP                                            -0.000000000000028
                                                                                                                                              BNB-PERP                                                               0.000000000000000                                                                  BNB-PERP                                              0.000000000000000
                                                                                                                                              BTC                                                                    0.000000001000000                                                                  BTC                                                   0.000000001000000
                                                                                                                                              BTC-PERP                                                               0.000000000000000                                                                  BTC-PERP                                              0.000000000000000
                                                                                                                                              BULL                                                                   0.000000005300000                                                                  BULL                                                  0.000000005300000
                                                                                                                                              COMP-PERP                                                              0.000000000000000                                                                  COMP-PERP                                             0.000000000000000
                                                                                                                                              DRGN-20210924                                                          0.000000000000000                                                                  DRGN-20210924                                         0.000000000000000
                                                                                                                                              DRGN-PERP                                                              0.000000000000000                                                                  DRGN-PERP                                             0.000000000000000
                                                                                                                                              ETC-PERP                                                               0.000000000000000                                                                  ETC-PERP                                              0.000000000000000
                                                                                                                                              ETH                                                                    0.000000007100000                                                                  ETH                                                   0.000000007100000
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                  ETH-PERP                                              0.000000000000000
                                                                                                                                              FTT                                                                    6.500000000000000                                                                  FTT                                                   6.500000000000000
                                                                                                                                              FTT-PERP                                                              -0.000000000000007                                                                  FTT-PERP                                             -0.000000000000007
                                                                                                                                              FXS-PERP                                                               0.000000000000000                                                                  FXS-PERP                                              0.000000000000000
                                                                                                                                              GALA-PERP                                                              0.000000000000000                                                                  GALA-PERP                                             0.000000000000000
                                                                                                                                              GMT-PERP                                                               0.000000000000000                                                                  GMT-PERP                                              0.000000000000000
                                                                                                                                              HOT-PERP                                                               0.000000000000000                                                                  HOT-PERP                                              0.000000000000000
                                                                                                                                              ICP-PERP                                                               0.000000000000000                                                                  ICP-PERP                                              0.000000000000000
                                                                                                                                              KNC-PERP                                                               0.000000000000000                                                                  KNC-PERP                                              0.000000000000000
                                                                                                                                              LINK-PERP                                                              0.000000000000000                                                                  LINK-PERP                                             0.000000000000000
                                                                                                                                              LUNA2                                                                  0.000000022961890                                                                  LUNA2                                                 0.000000022961890
                                                                                                                                              LUNA2_LOCKED                                                           0.000000053577744                                                                  LUNA2_LOCKED                                          0.000000053577744
                                                                                                                                              LUNC                                                                   0.005000000000000                                                                  LUNC                                                  0.005000000000000
                                                                                                                                              LUNC-PERP                                                              0.000000000000000                                                                  LUNC-PERP                                             0.000000000000000
                                                                                                                                              NEAR-PERP                                                              0.000000000000000                                                                  NEAR-PERP                                             0.000000000000000
                                                                                                                                              NFT (410606601318824350/FTX EU - WE                                                                                                                       NFT (410606601318824350/FTX EU - WE
                                                                                                                                              ARE HERE! #266073)                                                       1.000000000000000                                                                ARE HERE! #266073)                                      1.000000000000000
                                                                                                                                              NFT (454815155852936751/FTX EU - WE                                                                                                                       NFT (454815155852936751/FTX EU - WE
                                                                                                                                              ARE HERE! #266045)                                                       1.000000000000000                                                                ARE HERE! #266045)                                      1.000000000000000
                                                                                                                                              NFT (503529581944261914/FTX EU - WE                                                                                                                       NFT (503529581944261914/FTX EU - WE
                                                                                                                                              ARE HERE! #266037)                                                     1.000000000000000                                                                  ARE HERE! #266037)                                    1.000000000000000
                                                                                                                                              PAXG-PERP                                                              0.000000000000000                                                                  PAXG-PERP                                             0.000000000000000
                                                                                                                                              SHIT-20210625                                                          0.000000000000000                                                                  SHIT-20210625                                         0.000000000000000
                                                                                                                                              SHIT-PERP                                                              0.000000000000000                                                                  SHIT-PERP                                             0.000000000000000
                                                                                                                                              TRX-PERP                                                               0.000000000000000                                                                  TRX-PERP                                              0.000000000000000
                                                                                                                                              USD                                                                    0.004267509824455                                                                  USD                                                   0.004267509824455
                                                                                                                                              USDT                                                                 246.853762876267950                                                                  USDT                                                246.853762876267950
                                                                                                                                              XEM-PERP                                                               0.000000000000000                                                                  XEM-PERP                                              0.000000000000000
                                                                                                                                              XMR-PERP                                                               0.000000000000000                                                                  XMR-PERP                                              0.000000000000000
49636          Name on file                                                            FTX Trading Ltd.                                       ETHW                                                                  39.560087470000000 95057*       Name on file          FTX Trading Ltd.              ETHW                                                 39.560087470000000
                                                                                                                                              LUNA2                                                                  0.433340654900000                                                                  LUNA2                                                 0.433340654900000
                                                                                                                                              LUNA2_LOCKED                                                           1.011128195000000                                                                  LUNA2_LOCKED                                          1.011128195000000
                                                                                                                                              LUNC                                                              94,360.839944800000000                                                                  LUNC                                             94,360.839944800000000
                                                                                                                                              TONCOIN                                                              646.389308260000000                                                                  TONCOIN                                             646.389308260000000
                                                                                                                                              USD                                                                    0.000000007539396                                                                  USD                                                   0.000000007539396
20894          Name on file                                                            FTX Trading Ltd.                                                                                                                  Undetermined* 44899*       Name on file          FTX Trading Ltd.              ASD-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                        ETH-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                        FTT-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                        GMT                                                   0.000000000800000
                                                                                                                                                                                                                                                                                                        GMT-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                        GST-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                                                        SOL                                                  87.897875627414010
                                                                                                                                                                                                                                                                                                        SOL-PERP                                              0.000000000000113
                                                                                                                                                                                                                                                                                                        USD                                                   0.029443720869279
11496          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                    0.000000007181088 24935        Name on file          FTX Trading Ltd.              ETH                                                   0.000000007181088
                                                                                                                                              LUNA2                                                                  0.000000034617346                                                                  LUNA2                                                 0.000000034617346
                                                                                                                                              LUNA2_LOCKED                                                           0.000000080773807                                                                  LUNA2_LOCKED                                          0.000000080773807
                                                                                                                                              LUNC                                                                   0.007538000000000                                                                  LUNC                                                  0.007538000000000
                                                                                                                                              TRX                                                                    0.000910000000000                                                                  TRX                                                   0.000910000000000
                                                                                                                                              USD                                                                2,657.044896508481000                                                                  USD                                               2,657.044896508481000
                                                                                                                                              USDT                                                                  50.278582438958850                                                                  USDT                                                 50.278582438958850
14267          Name on file                                                            FTX Trading Ltd.                                       BTC                                                                    0.006148751336500 85467        Name on file          FTX Trading Ltd.              BTC                                                   0.006148751336500
                                                                                                                                              BTC-PERP                                                               0.000000000000000                                                                  BTC-PERP                                              0.000000000000000
                                                                                                                                              DOGE                                                                 913.352702616617100                                                                  DOGE                                                913.352702616617100
                                                                                                                                              ETH                                                                    0.035154023388380                                                                  ETH                                                   0.035154023388380
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                  ETH-PERP                                              0.000000000000000
                                                                                                                                              ETHW                                                                   0.000000007907070                                                                  ETHW                                                  0.000000007907070
                                                                                                                                              FTT                                                                    0.026875046842577                                                                  FTT                                                   0.026875046842577
                                                                                                                                              KIN                                                                    1.000000000000000                                                                  KIN                                                   1.000000000000000
                                                                                                                                              LUNA2                                                                  0.000000011657246                                                                  LUNA2                                                 0.000000011657246
                                                                                                                                              LUNA2_LOCKED                                                           0.000000027200242                                                                  LUNA2_LOCKED                                          0.000000027200242
                                                                                                                                              MATIC                                                                  0.000000002000000                                                                  MATIC                                                 0.000000002000000
                                                                                                                                              SOL                                                                    0.000000006078811                                                                  SOL                                                   0.000000006078811
                                                                                                                                              SOL-PERP                                                               0.000000000000000                                                                  SOL-PERP                                              0.000000000000000
                                                                                                                                              USD                                                                    0.000000002388369                                                                  USD                                                   0.000000002388369
                                                                                                                                              USDT                                                                  20.832571332517980                                                                  USDT                                                 20.832571332517980
53647          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                                                633.172140900000000 85606        Name on file          FTX Trading Ltd.              ATLAS                                               633.172140900000000
                                                                                                                                              ETH                                                                    0.000768280000000                                                                  ETH                                                   0.000768280000000
                                                                                                                                              ETH-PERP                                                               0.000000000000000                                                                  ETH-PERP                                              0.000000000000000
                                                                                                                                              FTT                                                                   25.098381790000000                                                                  FTT                                                  25.098381790000000
                                                                                                                                              LUNA2                                                                  0.000000045758455                                                                  LUNA2                                                 0.000000045758455
                                                                                                                                              LUNA2_LOCKED                                                           0.000000106769729                                                                  LUNA2_LOCKED                                          0.000000106769729

94798*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fifteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
95057*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
44899*: Surviving Claim is pending modification on the Debtors· Seventy-Sixth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                Doc 25689-2                                          Filed 09/25/24                       Page 15 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                      Surviving Claims
  Claim                                                                                                                                                                                                                               Claim
                                              Name                                                          Debtor                                                      Tickers                   Ticker Quantity                                            Name                  Debtor                        Tickers   Ticker Quantity
 Number                                                                                                                                                                                                                              Number
                                                                                                                                              LUNC                                                               0.009964000000000                                                                LUNC                                    0.009964000000000
                                                                                                                                              PEOPLE-PERP                                                        0.000000000000000                                                                PEOPLE-PERP                             0.000000000000000
                                                                                                                                              SNX-PERP                                                           0.000000000000000                                                                SNX-PERP                                0.000000000000000
                                                                                                                                              SOL-PERP                                                           0.000000000000000                                                                SOL-PERP                                0.000000000000000
                                                                                                                                              TRX-PERP                                                           0.000000000000000                                                                TRX-PERP                                0.000000000000000
                                                                                                                                              USD                                                            3,553.713544726662000                                                                USD                                 3,553.713544726662000
8552           Name on file                                                            FTX Trading Ltd.                                       ETH                                                                0.000400009992952   56335    Name on file          FTX Trading Ltd.              ETH                                     0.000400009992952
                                                                                                                                              ETHW                                                               0.000400000000000                                                                ETHW                                    0.000400000000000
                                                                                                                                              FIDA-PERP                                                          0.000000000000000                                                                FIDA-PERP                               0.000000000000000
                                                                                                                                              FTT                                                               25.083394829917548                                                                FTT                                    25.083394829917548
                                                                                                                                              ICP-PERP                                                           0.000000000000000                                                                ICP-PERP                                0.000000000000000
                                                                                                                                              RAY-PERP                                                           0.000000000000000                                                                RAY-PERP                                0.000000000000000
                                                                                                                                              SOL                                                                0.000000010000000                                                                SOL                                     0.000000010000000
                                                                                                                                              SRM                                                                0.526552460000000                                                                SRM                                     0.526552460000000
                                                                                                                                              SRM_LOCKED                                                         9.505383690000000                                                                SRM_LOCKED                              9.505383690000000
                                                                                                                                              USD                                                                6.184030363270744                                                                USD                                     6.184030363270744
                                                                                                                                              USDT                                                               0.000000009060846                                                                USDT                                    0.000000009060846
18297          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                           0.000000000000000   69356    Name on file          FTX Trading Ltd.              ADA-PERP                                0.000000000000000
                                                                                                                                              BEAR                                                             990.310000000000000                                                                BEAR                                  990.310000000000000
                                                                                                                                              BULL                                                               0.000994110000000                                                                BULL                                    0.000994110000000
                                                                                                                                              CRV-PERP                                                           0.000000000000000                                                                CRV-PERP                                0.000000000000000
                                                                                                                                              DEFIBEAR                                                         998.100000000000000                                                                DEFIBEAR                              998.100000000000000
                                                                                                                                              DOGE                                                           2,973.010646590000000                                                                DOGE                                2,973.010646590000000
                                                                                                                                              ETHBULL                                                            0.199962000000000                                                                ETHBULL                                 0.199962000000000
                                                                                                                                              ETH-PERP                                                           0.000000000000000                                                                ETH-PERP                                0.000000000000000
                                                                                                                                              LUNA2                                                              2.295752774000000                                                                LUNA2                                   2.295752774000000
                                                                                                                                              LUNA2_LOCKED                                                       5.356756473000000                                                                LUNA2_LOCKED                            5.356756473000000
                                                                                                                                              LUNC                                                         499,905.000000000000000                                                                LUNC                              499,905.000000000000000
                                                                                                                                              LUNC-PERP                                                          0.000000000000000                                                                LUNC-PERP                               0.000000000000000
                                                                                                                                              MATIC-PERP                                                         0.000000000000000                                                                MATIC-PERP                              0.000000000000000
                                                                                                                                              TRX                                                                0.000284000000000                                                                TRX                                     0.000284000000000
                                                                                                                                              USD                                                               49.609224186626650                                                                USD                                    49.609224186626650
                                                                                                                                              USDT                                                             200.045292044000000                                                                USDT                                  200.045292044000000
                                                                                                                                              XRP                                                                0.998668094985164                                                                XRP                                     0.998668094985164
                                                                                                                                              XRP-PERP                                                           0.000000000000000                                                                XRP-PERP                                0.000000000000000
54258          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                           0.000000000000000   69356    Name on file          FTX Trading Ltd.              ADA-PERP                                0.000000000000000
                                                                                                                                              BEAR                                                             990.310000000000000                                                                BEAR                                  990.310000000000000
                                                                                                                                              BULL                                                               0.000994110000000                                                                BULL                                    0.000994110000000
                                                                                                                                              CRV-PERP                                                           0.000000000000000                                                                CRV-PERP                                0.000000000000000
                                                                                                                                              DEFIBEAR                                                         998.100000000000000                                                                DEFIBEAR                              998.100000000000000
                                                                                                                                              DOGE                                                           2,973.010646590000000                                                                DOGE                                2,973.010646590000000
                                                                                                                                              ETHBULL                                                            0.199962000000000                                                                ETHBULL                                 0.199962000000000
                                                                                                                                              ETH-PERP                                                           0.000000000000000                                                                ETH-PERP                                0.000000000000000
                                                                                                                                              LUNA2                                                              2.295752774000000                                                                LUNA2                                   2.295752774000000
                                                                                                                                              LUNA2_LOCKED                                                       5.356756473000000                                                                LUNA2_LOCKED                            5.356756473000000
                                                                                                                                              LUNC                                                         499,905.000000000000000                                                                LUNC                              499,905.000000000000000
                                                                                                                                              LUNC-PERP                                                          0.000000000000000                                                                LUNC-PERP                               0.000000000000000
                                                                                                                                              MATIC-PERP                                                         0.000000000000000                                                                MATIC-PERP                              0.000000000000000
                                                                                                                                              TRX                                                                0.000284000000000                                                                TRX                                     0.000284000000000
                                                                                                                                              USD                                                               49.609224186626650                                                                USD                                    49.609224186626650
                                                                                                                                              USDT                                                             200.045292044000000                                                                USDT                                  200.045292044000000
                                                                                                                                              XRP                                                                0.998668094985164                                                                XRP                                     0.998668094985164
                                                                                                                                              XRP-PERP                                                           0.000000000000000                                                                XRP-PERP                                0.000000000000000
33509          Name on file                                                            FTX Trading Ltd.                                                                                                              Undetermined*   33524*   Name on file          FTX Trading Ltd.              BTC                                     0.000083190000000
                                                                                                                                                                                                                                                                                                  SRM                                    47.886275800000000
                                                                                                                                                                                                                                                                                                  USD                                   109.460000000000000
46117          Name on file                                                            FTX Trading Ltd.                                       AKRO                                                                1.000000000000000 89995*    Name on file          FTX Trading Ltd.              AKRO                                    1.000000000000000
                                                                                                                                              TONCOIN                                                           165.322953410000000                                                               USDT                                  293.586900000000000
                                                                                                                                              TONCOIN-PERP                                                        0.000000000000000
                                                                                                                                              USD                                                                 0.912876073440000
                                                                                                                                              USDT                                                               54.000000000000000
45341          Name on file                                                            FTX Trading Ltd.                                       AKRO                                                                1.000000000000000 89995*    Name on file          FTX Trading Ltd.              AKRO                                     1.000000000000000
                                                                                                                                              TONCOIN                                                           165.322953410000000                                                               USDT                                   293.586900000000000
                                                                                                                                              TONCOIN-PERP                                                        0.000000000000000
                                                                                                                                              USD                                                                 0.912876073440000
                                                                                                                                              USDT                                                                0.540000000000000
9711           Name on file                                                            FTX Trading Ltd.                                       FTT                                                                                   25295     Name on file          FTX Trading Ltd.              FTT                                    305.751587860000000
                                                                                                                                                                                                                                                                                                  USDT                                     0.011309417200040
67109          Name on file                                                            FTX EU Ltd.                                            AVAX                                                                0.000000008640963 94981*    Name on file          FTX EU Ltd.                   AVAX                                     0.000000008640963
                                                                                                                                              AXS                                                                53.900000000000000                                                               AXS                                     53.900000000000000
                                                                                                                                              BTC                                                                 0.129900000000000                                                               BTC                                      0.129900000000000
                                                                                                                                              ETH                                                                 1.570000006611157                                                               ETH                                      1.570000006611157
                                                                                                                                              ETHW                                                                1.570000000000000                                                               ETHW                                     1.570000000000000
                                                                                                                                              SAND                                                              749.000000000000000                                                               SAND                                   749.000000000000000
                                                                                                                                              SOL                                                                23.610000000000000                                                               SOL                                     23.610000000000000
                                                                                                                                              USD                                                                 0.210821330192863                                                               USD                                      0.210821330192863
                                                                                                                                              USDT                                                                0.000000007395308                                                               USDT                                     0.000000007395308
94839          Name on file                                                            FTX EU Ltd.                                            AVAX                                                                0.000000008640963 94981*    Name on file          FTX EU Ltd.                   AVAX                                     0.000000008640963
                                                                                                                                              AXS                                                                53.900000000000000                                                               AXS                                     53.900000000000000
                                                                                                                                              BTC                                                                 0.129900000000000                                                               BTC                                      0.129900000000000
                                                                                                                                              ETH                                                                 1.570000006611157                                                               ETH                                      1.570000006611157
                                                                                                                                              ETHW                                                                1.570000000000000                                                               ETHW                                     1.570000000000000
                                                                                                                                              SAND                                                              749.000000000000000                                                               SAND                                   749.000000000000000
                                                                                                                                              SOL                                                                23.610000000000000                                                               SOL                                     23.610000000000000
                                                                                                                                              USDT                                                                0.000000007395308                                                               USD                                      0.210821330192863
                                                                                                                                                                                                                                                                                                  USDT                                     0.000000007395308
17406          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                 0.000000005000000 64974*    Name on file          FTX Trading Ltd.              ETH                                      0.000000005000000
                                                                                                                                              FTT                                                               540.133063514766000                                                               FTT                                    540.133063514766000
                                                                                                                                              SOL                                                                 0.002090375000000                                                               SOL                                      0.002090375000000
                                                                                                                                              SRM                                                                10.364273020000000                                                               SRM                                     10.364273020000000
                                                                                                                                              SRM_LOCKED                                                        137.068977720000000                                                               SRM_LOCKED                             137.068977720000000
                                                                                                                                              TRX                                                                 0.000190000000000                                                               TRX                                      0.000190000000000
                                                                                                                                              USD                                                                 0.000010932743526                                                               USD                                      0.000010932743526
                                                                                                                                              USDT                                                                0.366748043185074                                                               USDT                                     0.366748043185074
40826          Name on file                                                            FTX EU Ltd.                                            AAVE-PERP                                                           0.000000000000000 87568     Name on file          FTX Trading Ltd.              AAVE-PERP                                0.000000000000000
                                                                                                                                              ADA-PERP                                                            0.000000000000000                                                               ADA-PERP                                 0.000000000000000
                                                                                                                                              ALCX-PERP                                                           0.000000000000000                                                               ALCX-PERP                                0.000000000000000
                                                                                                                                              ALGO-PERP                                                           0.000000000000000                                                               ALGO-PERP                                0.000000000000000
                                                                                                                                              ALT-PERP                                                            0.000000000000000                                                               ALT-PERP                                 0.000000000000000
                                                                                                                                              APE-PERP                                                            0.000000000000000                                                               APE-PERP                                 0.000000000000000
                                                                                                                                              AR-PERP                                                            -0.000000000000014                                                               AR-PERP                                 -0.000000000000014
                                                                                                                                              ATOM-PERP                                                           0.000000000000000                                                               ATOM-PERP                                0.000000000000000
                                                                                                                                              AXS-PERP                                                            0.000000000000000                                                               AXS-PERP                                 0.000000000000000
                                                                                                                                              BAL-PERP                                                            0.000000000000000                                                               BAL-PERP                                 0.000000000000000
                                                                                                                                              BAND-PERP                                                           0.000000000000000                                                               BAND-PERP                                0.000000000000000
                                                                                                                                              BAT-PERP                                                            0.000000000000000                                                               BAT-PERP                                 0.000000000000000
                                                                                                                                              BCH-PERP                                                            0.000000000000000                                                               BCH-PERP                                 0.000000000000000
                                                                                                                                              BIT-PERP                                                            0.000000000000000                                                               BIT-PERP                                 0.000000000000000
                                                                                                                                              BNB-PERP                                                            0.000000000000000                                                               BNB-PERP                                 0.000000000000000
                                                                                                                                              BSV-PERP                                                            0.000000000000003                                                               BSV-PERP                                 0.000000000000003
                                                                                                                                              BTC-PERP                                                            0.000000000000000                                                               BTC-PERP                                 0.000000000000000
                                                                                                                                              C98-PERP                                                            0.000000000000000                                                               C98-PERP                                 0.000000000000000
                                                                                                                                              CAKE-PERP                                                           0.000000000000042                                                               CAKE-PERP                                0.000000000000042
                                                                                                                                              CELO-PERP                                                           0.000000000000000                                                               CELO-PERP                                0.000000000000000
                                                                                                                                              CEL-PERP                                                            0.000000000000000                                                               CEL-PERP                                 0.000000000000000
                                                                                                                                              CHZ-PERP                                                            0.000000000000000                                                               CHZ-PERP                                 0.000000000000000
                                                                                                                                              COMP-PERP                                                           0.000000000000000                                                               COMP-PERP                                0.000000000000000
                                                                                                                                              CREAM-PERP                                                          0.000000000000000                                                               CREAM-PERP                               0.000000000000000
                                                                                                                                              CRV-PERP                                                            0.000000000000000                                                               CRV-PERP                                 0.000000000000000
                                                                                                                                              CVX-PERP                                                            0.000000000000028                                                               CVX-PERP                                 0.000000000000028
                                                                                                                                              DASH-PERP                                                           0.000000000000000                                                               DASH-PERP                                0.000000000000000
                                                                                                                                              DEFI-PERP                                                           0.000000000000000                                                               DEFI-PERP                                0.000000000000000
                                                                                                                                              DOGE-PERP                                                           0.000000000000000                                                               DOGE-PERP                                0.000000000000000
                                                                                                                                              DRGN-PERP                                                           0.000000000000000                                                               DRGN-PERP                                0.000000000000000
                                                                                                                                              DYDX-PERP                                                           0.000000000000113                                                               DYDX-PERP                                0.000000000000113
                                                                                                                                              EGLD-PERP                                                           0.000000000000000                                                               EGLD-PERP                                0.000000000000000
                                                                                                                                              ENJ-PERP                                                            0.000000000000000                                                               ENJ-PERP                                 0.000000000000000
                                                                                                                                              ENS-PERP                                                            0.000000000000000                                                               ENS-PERP                                 0.000000000000000
                                                                                                                                              EOS-PERP                                                            0.000000000000000                                                               EOS-PERP                                 0.000000000000000
                                                                                                                                              ETC-PERP                                                           -0.000000000000014                                                               ETC-PERP                                -0.000000000000014
                                                                                                                                              ETH-PERP                                                            0.000000000000000                                                               ETH-PERP                                 0.000000000000000
                                                                                                                                              EXCH-PERP                                                           0.000000000000000                                                               EXCH-PERP                                0.000000000000000
                                                                                                                                              FLM-PERP                                                            0.000000000001818                                                               FLM-PERP                                 0.000000000001818
                                                                                                                                              FTM-PERP                                                            0.000000000000000                                                               FTM-PERP                                 0.000000000000000
                                                                                                                                              FTT-PERP                                                           -0.000000000000007                                                               FTT-PERP                                -0.000000000000007
                                                                                                                                              FXS-PERP                                                            0.000000000000056                                                               FXS-PERP                                 0.000000000000056
                                                                                                                                              GMT-PERP                                                            0.000000000000000                                                               GMT-PERP                                 0.000000000000000
                                                                                                                                              GRT-PERP                                                            0.000000000000000                                                               GRT-PERP                                 0.000000000000000
                                                                                                                                              HNT-PERP                                                            0.000000000000000                                                               HNT-PERP                                 0.000000000000000
                                                                                                                                              HOLY-PERP                                                           0.000000000000000                                                               HOLY-PERP                                0.000000000000000
                                                                                                                                              HT-PERP                                                            -0.000000000000056                                                               HT-PERP                                 -0.000000000000056
                                                                                                                                              ICP-PERP                                                            0.000000000000000                                                               ICP-PERP                                 0.000000000000000
                                                                                                                                              IMX-PERP                                                            0.000000000000000                                                               IMX-PERP                                 0.000000000000000
                                                                                                                                              KAVA-PERP                                                           0.000000000000000                                                               KAVA-PERP                                0.000000000000000
                                                                                                                                              KNC-PERP                                                            0.000000000000000                                                               KNC-PERP                                 0.000000000000000
                                                                                                                                              LEO-PERP                                                            0.000000000000000                                                               LEO-PERP                                 0.000000000000000
                                                                                                                                              LINK-PERP                                                           0.000000000000000                                                               LINK-PERP                                0.000000000000000
                                                                                                                                              LOOKS-PERP                                                          0.000000000000000                                                               LOOKS-PERP                               0.000000000000000
                                                                                                                                              LTC-PERP                                                           -0.000000000000003                                                               LTC-PERP                                -0.000000000000003
                                                                                                                                              LUNC-PERP                                                           0.000000000000000                                                               LUNC-PERP                                0.000000000000000
                                                                                                                                              MATIC-PERP                                                          0.000000000000000                                                               MATIC-PERP                               0.000000000000000
                                                                                                                                              MEDIA-PERP                                                          0.000000000000000                                                               MEDIA-PERP                               0.000000000000000
                                                                                                                                              MID-PERP                                                            0.000000000000000                                                               MID-PERP                                 0.000000000000000
                                                                                                                                              MKR-PERP                                                            0.000000000000000                                                               MKR-PERP                                 0.000000000000000
                                                                                                                                              NEAR-PERP                                                           0.000000000000000                                                               NEAR-PERP                                0.000000000000000
                                                                                                                                              NEO-PERP                                                            0.000000000000000                                                               NEO-PERP                                 0.000000000000000
                                                                                                                                              OKB-PERP                                                           -0.000000000000024                                                               OKB-PERP                                -0.000000000000024
                                                                                                                                              PRIV-PERP                                                          -0.155000000000000                                                               PRIV-PERP                               -0.155000000000000
                                                                                                                                              PUNDIX-PERP                                                         0.000000000000000                                                               PUNDIX-PERP                              0.000000000000000
                                                                                                                                              QTUM-PERP                                                           0.000000000000000                                                               QTUM-PERP                                0.000000000000000
                                                                                                                                              RAY-PERP                                                            0.000000000000000                                                               RAY-PERP                                 0.000000000000000
                                                                                                                                              RNDR-PERP                                                          -0.000000000000454                                                               RNDR-PERP                               -0.000000000000454
                                                                                                                                              RUNE-PERP                                                           0.000000000000000                                                               RUNE-PERP                                0.000000000000000
                                                                                                                                              SAND-PERP                                                           0.000000000000000                                                               SAND-PERP                                0.000000000000000
                                                                                                                                              SCRT-PERP                                                           0.000000000000000                                                               SCRT-PERP                                0.000000000000000
                                                                                                                                              SHIT-PERP                                                           0.000000000000000                                                               SHIT-PERP                                0.000000000000000
                                                                                                                                              SNX-PERP                                                            0.000000000000000                                                               SNX-PERP                                 0.000000000000000
                                                                                                                                              SOL-PERP                                                            0.000000000000000                                                               SOL-PERP                                 0.000000000000000
                                                                                                                                              SRM-PERP                                                            0.000000000000000                                                               SRM-PERP                                 0.000000000000000
                                                                                                                                              STORJ-PERP                                                          0.000000000000000                                                               STORJ-PERP                               0.000000000000000
                                                                                                                                              SUSHI-PERP                                                          0.000000000000000                                                               SUSHI-PERP                               0.000000000000000
                                                                                                                                              SXP-PERP                                                            0.000000000000000                                                               SXP-PERP                                 0.000000000000000
                                                                                                                                              THETA-PERP                                                          0.000000000000000                                                               THETA-PERP                               0.000000000000000
                                                                                                                                              TONCOIN-PERP                                                        0.000000000000000                                                               TONCOIN-PERP                             0.000000000000000
                                                                                                                                              TRX-PERP                                                            0.000000000000000                                                               TRX-PERP                                 0.000000000000000
                                                                                                                                              UNI-PERP                                                            0.000000000000000                                                               UNI-PERP                                 0.000000000000000
                                                                                                                                              UNISWAP-PERP                                                        0.000000000000000                                                               UNISWAP-PERP                             0.000000000000000
                                                                                                                                              USD                                                            35,098.943205502730000                                                               USD                                 35,098.943205502730000


33524*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
89995*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
94981*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
64974*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                  Case 22-11068-JTD                                                                    Doc 25689-2                                           Filed 09/25/24                       Page 16 of 20
                                                                                                                                 Claims to be Disallowed                                                                                                                          Surviving Claims
  Claim                                                                                                                                                                                                                     Claim
                                              Name                                                            Debtor                                                         Tickers   Ticker Quantity                                             Name                  Debtor                          Tickers              Ticker Quantity
 Number                                                                                                                                                                                                                    Number
                                                                                                                                                VET-PERP                                               0.000000000000000                                                                VET-PERP                                              0.000000000000000
                                                                                                                                                XMR-PERP                                               0.000000000000000                                                                XMR-PERP                                              0.000000000000000
                                                                                                                                                XRP-PERP                                               0.000000000000000                                                                XRP-PERP                                              0.000000000000000
                                                                                                                                                YFII-PERP                                              0.000000000000000                                                                YFII-PERP                                             0.000000000000000
                                                                                                                                                YFI-PERP                                               0.000000000000000                                                                YFI-PERP                                              0.000000000000000
22357          Name on file                                                             FTX EU Ltd.                                             1INCH-PERP                                             0.000000000000000   22374*   Name on file          FTX EU Ltd.                   1INCH-PERP                                            0.000000000000000
                                                                                                                                                AAVE-PERP                                              0.000000000000000                                                                AAVE-PERP                                             0.000000000000000
                                                                                                                                                ADA-PERP                                               0.000000000000000                                                                ADA-PERP                                              0.000000000000000
                                                                                                                                                ALGO-PERP                                              0.000000000000000                                                                ALGO-PERP                                             0.000000000000000
                                                                                                                                                ALPHA-PERP                                             0.000000000000000                                                                ALPHA-PERP                                            0.000000000000000
                                                                                                                                                ALT-PERP                                               0.000000000000000                                                                ALT-PERP                                              0.000000000000000
                                                                                                                                                AMPL-PERP                                              0.000000000000000                                                                AMPL-PERP                                             0.000000000000000
                                                                                                                                                AR-PERP                                                0.000000000000156                                                                AR-PERP                                               0.000000000000156
                                                                                                                                                ATLAS-PERP                                             0.000000000000000                                                                ATLAS-PERP                                            0.000000000000000
                                                                                                                                                ATOM-PERP                                             -0.000000000000056                                                                ATOM-PERP                                            -0.000000000000056
                                                                                                                                                AUDIO                                                  0.672250000000000                                                                AUDIO                                                 0.672250000000000
                                                                                                                                                AUDIO-PERP                                             0.000000000000000                                                                AUDIO-PERP                                            0.000000000000000
                                                                                                                                                AVAX-PERP                                              0.000000000000007                                                                AVAX-PERP                                             0.000000000000007
                                                                                                                                                AXS-PERP                                               0.000000000000000                                                                AXS-PERP                                              0.000000000000000
                                                                                                                                                BADGER-PERP                                           -0.000000000000042                                                                BADGER-PERP                                          -0.000000000000042
                                                                                                                                                BAL-PERP                                               0.000000000000000                                                                BAL-PERP                                              0.000000000000000
                                                                                                                                                BAND-PERP                                              0.000000000000227                                                                BAND-PERP                                             0.000000000000227
                                                                                                                                                BAO-PERP                                               0.000000000000000                                                                BAO-PERP                                              0.000000000000000
                                                                                                                                                BCH-PERP                                               0.000000000000000                                                                BCH-PERP                                              0.000000000000000
                                                                                                                                                BNB-PERP                                               0.000000000000000                                                                BNB-PERP                                              0.000000000000000
                                                                                                                                                BTC                                                    1.380489199292624                                                                BTC                                                   1.380489199292624
                                                                                                                                                BTC-PERP                                               0.000000000000001                                                                BTC-PERP                                              0.000000000000001
                                                                                                                                                CAKE-PERP                                              0.000000000000000                                                                CAKE-PERP                                             0.000000000000000
                                                                                                                                                CHR-PERP                                               0.000000000000000                                                                CHR-PERP                                              0.000000000000000
                                                                                                                                                COMP-PERP                                              0.000000000000000                                                                COMP-PERP                                             0.000000000000000
                                                                                                                                                CREAM                                                  0.000000008000000                                                                CREAM                                                 0.000000008000000
                                                                                                                                                CREAM-PERP                                             0.000000000000017                                                                CREAM-PERP                                            0.000000000000017
                                                                                                                                                CRO-PERP                                               0.000000000000000                                                                CRO-PERP                                              0.000000000000000
                                                                                                                                                DASH-PERP                                              0.000000000000000                                                                DASH-PERP                                             0.000000000000000
                                                                                                                                                DENT-PERP                                              0.000000000000000                                                                DENT-PERP                                             0.000000000000000
                                                                                                                                                DOGE-PERP                                              0.000000000000000                                                                DOGE-PERP                                             0.000000000000000
                                                                                                                                                DOT-PERP                                               0.000000000000000                                                                DOT-PERP                                              0.000000000000000
                                                                                                                                                EGLD-PERP                                              0.000000000000000                                                                EGLD-PERP                                             0.000000000000000
                                                                                                                                                ENJ-PERP                                               0.000000000000000                                                                ENJ-PERP                                              0.000000000000000
                                                                                                                                                ENS-PERP                                               0.000000000000000                                                                ENS-PERP                                              0.000000000000000
                                                                                                                                                EOS-PERP                                               0.000000000000000                                                                EOS-PERP                                              0.000000000000000
                                                                                                                                                ETC-PERP                                               0.000000000000000                                                                ETC-PERP                                              0.000000000000000
                                                                                                                                                ETH                                                    0.437813260605109                                                                ETH                                                   0.437813260605109
                                                                                                                                                ETH-PERP                                               0.000000000000000                                                                ETH-PERP                                              0.000000000000000
                                                                                                                                                FLM-PERP                                              -0.000000000010004                                                                FLM-PERP                                             -0.000000000010004
                                                                                                                                                FLOW-PERP                                              0.000000000000000                                                                FLOW-PERP                                             0.000000000000000
                                                                                                                                                FTM-PERP                                               0.000000000000000                                                                FTM-PERP                                              0.000000000000000
                                                                                                                                                FTT                                                    0.000000005176948                                                                FTT                                                   0.000000005176948
                                                                                                                                                FTT-PERP                                               0.000000000000000                                                                FTT-PERP                                              0.000000000000000
                                                                                                                                                GALA-PERP                                              0.000000000000000                                                                GALA-PERP                                             0.000000000000000
                                                                                                                                                GAL-PERP                                               0.000000000000454                                                                GAL-PERP                                              0.000000000000454
                                                                                                                                                GRT-PERP                                               0.000000000000000                                                                GRT-PERP                                              0.000000000000000
                                                                                                                                                HNT-PERP                                               0.000000000000000                                                                HNT-PERP                                              0.000000000000000
                                                                                                                                                HOT-PERP                                               0.000000000000000                                                                HOT-PERP                                              0.000000000000000
                                                                                                                                                ICP-PERP                                               0.000000000000000                                                                ICP-PERP                                              0.000000000000000
                                                                                                                                                IOTA-PERP                                              0.000000000000000                                                                IOTA-PERP                                             0.000000000000000
                                                                                                                                                JASMY-PERP                                             0.000000000000000                                                                JASMY-PERP                                            0.000000000000000
                                                                                                                                                KAVA-PERP                                             -0.000000000002273                                                                KAVA-PERP                                            -0.000000000002273
                                                                                                                                                KNC-PERP                                               0.000000000000227                                                                KNC-PERP                                              0.000000000000227
                                                                                                                                                KSM-PERP                                               0.000000000000000                                                                KSM-PERP                                              0.000000000000000
                                                                                                                                                LINK                                                   0.000000007633751                                                                LINK                                                  0.000000007633751
                                                                                                                                                LINK-PERP                                              0.000000000000454                                                                LINK-PERP                                             0.000000000000454
                                                                                                                                                LRC-PERP                                               0.000000000000000                                                                LRC-PERP                                              0.000000000000000
                                                                                                                                                LTC-PERP                                              -0.000000000000014                                                                LTC-PERP                                             -0.000000000000014
                                                                                                                                                LUNA2-PERP                                             0.000000000000000                                                                LUNA2-PERP                                            0.000000000000000
                                                                                                                                                LUNC-PERP                                             -0.000000003725290                                                                LUNC-PERP                                            -0.000000003725290
                                                                                                                                                MANA-PERP                                              0.000000000000000                                                                MANA-PERP                                             0.000000000000000
                                                                                                                                                MATIC-PERP                                             0.000000000000000                                                                MATIC-PERP                                            0.000000000000000
                                                                                                                                                MKR-PERP                                               0.000000000000000                                                                MKR-PERP                                              0.000000000000000
                                                                                                                                                MTA-PERP                                               0.000000000000000                                                                MTA-PERP                                              0.000000000000000
                                                                                                                                                NEAR-PERP                                              0.000000000000000                                                                NEAR-PERP                                             0.000000000000000
                                                                                                                                                NEO-PERP                                               0.000000000000000                                                                NEO-PERP                                              0.000000000000000
                                                                                                                                                OMG-PERP                                               0.000000000000000                                                                OMG-PERP                                              0.000000000000000
                                                                                                                                                ONE-PERP                                               0.000000000000000                                                                ONE-PERP                                              0.000000000000000
                                                                                                                                                ONT-PERP                                               0.000000000000000                                                                ONT-PERP                                              0.000000000000000
                                                                                                                                                OXY-PERP                                               0.000000000000000                                                                OXY-PERP                                              0.000000000000000
                                                                                                                                                PROM-PERP                                              0.000000000000000                                                                PROM-PERP                                             0.000000000000000
                                                                                                                                                QTUM-PERP                                             -0.000000000000113                                                                QTUM-PERP                                            -0.000000000000113
                                                                                                                                                RAMP-PERP                                              0.000000000000000                                                                RAMP-PERP                                             0.000000000000000
                                                                                                                                                RAY-PERP                                               0.000000000000000                                                                RAY-PERP                                              0.000000000000000
                                                                                                                                                REEF-PERP                                              0.000000000000000                                                                REEF-PERP                                             0.000000000000000
                                                                                                                                                REN                                                    0.903280000000000                                                                REN                                                   0.903280000000000
                                                                                                                                                REN-PERP                                               0.000000000000000                                                                REN-PERP                                              0.000000000000000
                                                                                                                                                ROOK-PERP                                              0.000000000000000                                                                ROOK-PERP                                             0.000000000000000
                                                                                                                                                RSR-PERP                                               0.000000000000000                                                                RSR-PERP                                              0.000000000000000
                                                                                                                                                RUNE-PERP                                              0.000000000000000                                                                RUNE-PERP                                             0.000000000000000
                                                                                                                                                SAND-PERP                                              0.000000000000000                                                                SAND-PERP                                             0.000000000000000
                                                                                                                                                SC-PERP                                                0.000000000000000                                                                SC-PERP                                               0.000000000000000
                                                                                                                                                SHIT-PERP                                             -0.000000000000003                                                                SHIT-PERP                                            -0.000000000000003
                                                                                                                                                SNX-PERP                                              -0.000000000000227                                                                SNX-PERP                                             -0.000000000000227
                                                                                                                                                SOL-PERP                                              -0.000000000000071                                                                SOL-PERP                                             -0.000000000000071
                                                                                                                                                SRM-PERP                                               0.000000000000000                                                                SRM-PERP                                              0.000000000000000
                                                                                                                                                STMX-PERP                                              0.000000000000000                                                                STMX-PERP                                             0.000000000000000
                                                                                                                                                SUSHI-PERP                                             0.000000000000000                                                                SUSHI-PERP                                            0.000000000000000
                                                                                                                                                SXP-PERP                                               0.000000000000682                                                                SXP-PERP                                              0.000000000000682
                                                                                                                                                THETA-PERP                                             0.000000000000000                                                                THETA-PERP                                            0.000000000000000
                                                                                                                                                TLM-PERP                                               0.000000000000000                                                                TLM-PERP                                              0.000000000000000
                                                                                                                                                TOMO-PERP                                              0.000000000000000                                                                TOMO-PERP                                             0.000000000000000
                                                                                                                                                TRU-PERP                                               0.000000000000000                                                                TRU-PERP                                              0.000000000000000
                                                                                                                                                TRX-PERP                                               0.000000000000000                                                                TRX-PERP                                              0.000000000000000
                                                                                                                                                UNI-PERP                                              -0.000000000000056                                                                UNI-PERP                                             -0.000000000000056
                                                                                                                                                USD                                               -2,135.438523980236000                                                                USD                                              -2,135.438523980236000
                                                                                                                                                USDT                                                   0.153093850524969                                                                USDT                                                  0.153093850524969
                                                                                                                                                VET-PERP                                               0.000000000000000                                                                VET-PERP                                              0.000000000000000
                                                                                                                                                WAVES-PERP                                             0.000000000000000                                                                WAVES-PERP                                            0.000000000000000
                                                                                                                                                XAUT-PERP                                              0.000000000000000                                                                XAUT-PERP                                             0.000000000000000
                                                                                                                                                XMR-PERP                                               0.000000000000000                                                                XMR-PERP                                              0.000000000000000
                                                                                                                                                XRP-PERP                                               0.000000000000000                                                                XRP-PERP                                              0.000000000000000
                                                                                                                                                XTZ-PERP                                              -0.000000000000056                                                                XTZ-PERP                                             -0.000000000000056
                                                                                                                                                YFI-PERP                                               0.000000000000000                                                                YFI-PERP                                              0.000000000000000
                                                                                                                                                ZIL-PERP                                               0.000000000000000                                                                ZIL-PERP                                              0.000000000000000
                                                                                                                                                ZRX-PERP                                               0.000000000000000                                                                ZRX-PERP                                              0.000000000000000
7439           Name on file                                                             FTX Trading Ltd.                                        ETH                                                    1.205825510000000   31643    Name on file          FTX Trading Ltd.              ETH                                                   1.205825510000000
                                                                                                                                                ETHW                                                   1.205825510000000                                                                ETHW                                                  1.205825510000000
                                                                                                                                                SXP                                                2,548.553235200000000                                                                SXP                                               2,548.553235200000000
                                                                                                                                                USD                                                    0.000000019379359
                                                                                                                                                USDT                                                   0.000000010195837
51244          Name on file                                                             FTX Trading Ltd.                                        BAT                                                   47.000000000000000   62474    Name on file          FTX Trading Ltd.              BAT                                                  47.000000000000000
                                                                                                                                                DOT                                                   40.000000000000000                                                                DOT                                                  40.000000000000000
                                                                                                                                                LUNA2                                                  1.317870127000000                                                                LUNA2                                                 1.317870127000000
                                                                                                                                                LUNA2_LOCKED                                           3.075030296000000                                                                LUNA2_LOCKED                                          3.075030296000000
                                                                                                                                                MANA                                                 304.000000000000000                                                                MANA                                                304.000000000000000
                                                                                                                                                MTA                                                  145.000000000000000                                                                MTA                                                 145.000000000000000
                                                                                                                                                NEAR                                                 142.871400000000000                                                                NEAR                                                142.871400000000000
                                                                                                                                                TRX                                                   -0.002013875441604                                                                TRX                                                  -0.002013875441604
                                                                                                                                                USD                                                   99.868860781979760                                                                USD                                                  99.868860781979760
                                                                                                                                                USDT                                                 113.742566397482050                                                                USDT                                                113.742566397482050
                                                                                                                                                XRP                                                  634.000000000000000                                                                XRP                                                 634.000000000000000
80410          Name on file                                                             FTX Trading Ltd.                                                                                                   Undetermined*   82904    Name on file          FTX Trading Ltd.              USDT                                                  1.442160000000000
8332           Name on file                                                             FTX EU Ltd.                                             USD                                                    0.160845349065080   8391*    Name on file          FTX EU Ltd.                   BTC                                                   0.000027030000000
                                                                                                                                                                                                                                                                                        POC Other Crypto Assertions: GALFAN                  55.194660000000000
                                                                                                                                                                                                                                                                                        POC Other Crypto Assertions: INTER                  510.998000000000000
                                                                                                                                                                                                                                                                                        USD                                                   0.160845349065080
68508          Name on file                                                             FTX Trading Ltd.                                        1INCH                                                    0.000000000000000 78354    Name on file          FTX Trading Ltd.              1INCH                                                 0.000000000000000
                                                                                                                                                1INCH-PERP                                               0.000000000000000                                                              1INCH-PERP                                            0.000000000000000
                                                                                                                                                AAVE-PERP                                                0.000000000000000                                                              AAVE-PERP                                             0.000000000000000
                                                                                                                                                ADA-PERP                                                 0.000000000000000                                                              ADA-PERP                                              0.000000000000000
                                                                                                                                                ALGO-PERP                                                0.000000000000000                                                              ALGO-PERP                                             0.000000000000000
                                                                                                                                                ALICE-PERP                                               0.000000000000000                                                              ALICE-PERP                                            0.000000000000000
                                                                                                                                                ALPHA-PERP                                               0.000000000000000                                                              ALPHA-PERP                                            0.000000000000000
                                                                                                                                                AMPL-PERP                                                0.000000000000000                                                              AMPL-PERP                                             0.000000000000000
                                                                                                                                                ANC-PERP                                                 0.000000000000000                                                              ANC-PERP                                              0.000000000000000
                                                                                                                                                APE-PERP                                                 0.000000000000000                                                              APE-PERP                                              0.000000000000000
                                                                                                                                                AR-PERP                                                  0.000000000000000                                                              AR-PERP                                               0.000000000000000
                                                                                                                                                ATOM-PERP                                                0.000000000000000                                                              ATOM-PERP                                             0.000000000000000
                                                                                                                                                AVAX-PERP                                                0.000000000000000                                                              AVAX-PERP                                             0.000000000000000
                                                                                                                                                AXS-PERP                                                 0.000000000000000                                                              AXS-PERP                                              0.000000000000000
                                                                                                                                                BAL-PERP                                                 0.000000000000000                                                              BAL-PERP                                              0.000000000000000
                                                                                                                                                BAND-PERP                                                0.000000000000000                                                              BAND-PERP                                             0.000000000000000
                                                                                                                                                BAT-PERP                                                 0.000000000000000                                                              BAT-PERP                                              0.000000000000000
                                                                                                                                                BCH-PERP                                                 0.000000000000000                                                              BCH-PERP                                              0.000000000000000
                                                                                                                                                BNB-PERP                                                 0.000000000000000                                                              BNB-PERP                                              0.000000000000000
                                                                                                                                                BRZ-PERP                                                 0.000000000000000                                                              BRZ-PERP                                              0.000000000000000
                                                                                                                                                BTC                                                      0.002011300000000                                                              BTC                                                   0.002011300000000
                                                                                                                                                C98-PERP                                                 0.000000000000000                                                              C98-PERP                                              0.000000000000000
                                                                                                                                                CELO-PERP                                                0.000000000000000                                                              CELO-PERP                                             0.000000000000000
                                                                                                                                                CHZ-PERP                                                 0.000000000000000                                                              CHZ-PERP                                              0.000000000000000
                                                                                                                                                COMP                                                     0.000000000000000                                                              COMP                                                  0.000000008000000
                                                                                                                                                COMP-PERP                                                0.000000000000000                                                              COMP-PERP                                             0.000000000000000
                                                                                                                                                CREAM-PERP                                               0.000000000000000                                                              CREAM-PERP                                            0.000000000000000
                                                                                                                                                CRV-PERP                                                 0.000000000000000                                                              CRV-PERP                                              0.000000000000000
                                                                                                                                                CVX-PERP                                                 0.000000000000000                                                              CVX-PERP                                              0.000000000000000
                                                                                                                                                DOGE-PERP                                                0.000000000000000                                                              DOGE-PERP                                             0.000000000000000
                                                                                                                                                DOT-PERP                                                 0.000000000000000                                                              DOT-PERP                                              0.000000000000000
                                                                                                                                                DYDX-PERP                                                0.000000000000000                                                              DYDX-PERP                                             0.000000000000000
                                                                                                                                                EOS-PERP                                                 0.000000000000000                                                              EOS-PERP                                              0.000000000000000
                                                                                                                                                ETC-PERP                                                 0.000000000000000                                                              ETC-PERP                                              0.000000000000000
                                                                                                                                                FTM-PERP                                                 0.000000000000000                                                              FTM-PERP                                              0.000000000000000
                                                                                                                                                HT-PERP                                                  0.000000000000000                                                              HT-PERP                                               0.000000000000000
                                                                                                                                                ICX-PERP                                                 0.000000000000000                                                              ICX-PERP                                              0.000000000000000
                                                                                                                                                JASMY-PERP                                               0.000000000000000                                                              JASMY-PERP                                            0.000000000000000
                                                                                                                                                LINA-PERP                                                0.000000000000000                                                              LINA-PERP                                             0.000000000000000
                                                                                                                                                LOOKS-PERP                                               0.000000000000000                                                              LOOKS-PERP                                            0.000000000000000
                                                                                                                                                LUNA2                                                    0.024632255990000                                                              LUNA2                                                 0.024632255990000
                                                                                                                                                LUNA2_LOCKED                                             0.057475263970000                                                              LUNA2_LOCKED                                          0.057475263970000
                                                                                                                                                MTL-PERP                                                 0.000000000000000                                                              MTL-PERP                                              0.000000000000000
                                                                                                                                                NEO-PERP                                                 0.000000000000000                                                              NEO-PERP                                              0.000000000000000
                                                                                                                                                OMG-PERP                                                 0.000000000000000                                                              OMG-PERP                                              0.000000000000000


22374*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
8391*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                 Doc 25689-2                                           Filed 09/25/24                       Page 17 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                        Surviving Claims
  Claim                                                                                                                                                                                                                                 Claim
                                              Name                                                           Debtor                                                     Tickers                    Ticker Quantity                                             Name                  Debtor                        Tickers   Ticker Quantity
 Number                                                                                                                                                                                                                                Number
                                                                                                                                              ONT-PERP                                                             0.000000000000000                                                                ONT-PERP                                 0.000000000000000
                                                                                                                                              PEOPLE-PERP                                                          0.000000000000000                                                                PEOPLE-PERP                              0.000000000000000
                                                                                                                                              RAY-PERP                                                             0.000000000000000                                                                RAY-PERP                                 0.000000000000000
                                                                                                                                              RUNE-PERP                                                            0.000000000000000                                                                RUNE-PERP                                0.000000000000000
                                                                                                                                              SC-PERP                                                              0.000000000000000                                                                SC-PERP                                  0.000000000000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                SOL-PERP                                 0.000000000000000
                                                                                                                                              SRM-PERP                                                             0.000000000000000                                                                SRM-PERP                                 0.000000000000000
                                                                                                                                              TRX                                                                  0.000008000000000                                                                TRX                                      0.000008000000000
                                                                                                                                              USD                                                                  0.000000000000000                                                                USD                                      0.000000000000000
                                                                                                                                              USDT                                                               900.000000000000000                                                                USDT                                   900.000000000000000
                                                                                                                                              USTC                                                                 3.486814890000000                                                                USTC                                     3.486814890000000
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                XRP-PERP                                 0.000000000000000
                                                                                                                                              YFII-PERP                                                            0.000000000000000                                                                YFII-PERP                                0.000000000000000
                                                                                                                                              ZIL-PERP                                                             0.000000000000000                                                                ZIL-PERP                                 0.000000000000000
12266          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined*   28360    Name on file          FTX Trading Ltd.                                                           Undetermined*
93003          Name on file                                                            FTX EU Ltd.                                            1INCH                                                                2.203827230000000   93005*   Name on file          FTX EU Ltd.                   1INCH                                    2.203827230000000
                                                                                                                                              AKRO                                                                 2.000000000000000                                                                AKRO                                     2.000000000000000
                                                                                                                                              APE                                                                  0.825806830000000                                                                APE                                      0.825806830000000
                                                                                                                                              BAO                                                                  1.000000000000000                                                                BAO                                      1.000000000000000
                                                                                                                                              BRZ                                                                 48.565620990000000                                                                BRZ                                     48.565620990000000
                                                                                                                                              BTC                                                                  0.002025120000000                                                                BTC                                      0.002025120000000
                                                                                                                                              DOGE                                                               145.494597200000000                                                                DOGE                                   145.494597200000000
                                                                                                                                              FTM                                                                  4.563594780000000                                                                FTM                                      4.563594780000000
                                                                                                                                              FTT                                                                  0.960330860000000                                                                FTT                                      0.960330860000000
                                                                                                                                              HNT                                                                  1.643484990000000                                                                HNT                                      1.643484990000000
                                                                                                                                              KIN                                                                  4.000000000000000                                                                KIN                                      4.000000000000000
                                                                                                                                              KSHIB                                                              155.809837200000000                                                                KSHIB                                  155.809837200000000
                                                                                                                                              LINK                                                                 0.071017850000000                                                                LINK                                     0.071017850000000
                                                                                                                                              MTA                                                                 14.156659360000000                                                                MTA                                     14.156659360000000
                                                                                                                                              SHIB                                                           165,724.657971210000000                                                                SHIB                               165,724.657971210000000
                                                                                                                                              SOL                                                                  0.104489140000000                                                                SOL                                      0.104489140000000
                                                                                                                                              SOS                                                          1,432,683.734694790000000                                                                SOS                              1,432,683.734694790000000
                                                                                                                                              SPELL                                                                0.002956390000000                                                                SPELL                                    0.002956390000000
                                                                                                                                              TRX                                                                  1.000000000000000                                                                TRX                                      1.000000000000000
                                                                                                                                              USD                                                                  0.000000075734232                                                                USD                                      0.000000075734232
8068           Name on file                                                            FTX Trading Ltd.                                       BTC-PERP                                                             0.000000000000000   83174    Name on file          FTX Trading Ltd.              BTC-PERP                                 0.000000000000000
                                                                                                                                              ETH                                                                  0.000000007021380                                                                ETH                                      0.000000007021380
                                                                                                                                              ETH-PERP                                                             0.157000000000000                                                                ETH-PERP                                 0.157000000000000
                                                                                                                                              FTT                                                                  1.417730895820000                                                                FTT                                      1.417730895820000
                                                                                                                                              MANA-PERP                                                            0.000000000000000                                                                MANA-PERP                                0.000000000000000
                                                                                                                                              USD                                                               -112.258118572427200                                                                USD                                    152.190000000000000
                                                                                                                                              USDT                                                                 0.000000009633480                                                                USDT                                     0.000000009633480
68012          Name on file                                                            FTX Trading Ltd.                                       ATLAS                                                                5.660400003046540   88362    Name on file          FTX Trading Ltd.              ATLAS                                    5.660400003046540
                                                                                                                                              ATLAS-PERP                                                           0.000000000000000                                                                ATLAS-PERP                               0.000000000000000
                                                                                                                                              FTT                                                                  0.079404000000000                                                                FTT                                      0.079404000000000
                                                                                                                                              LUNA2                                                                0.000000023037205                                                                LUNA2                                    0.000000023037205
                                                                                                                                              LUNA2_LOCKED                                                         0.000000053753479                                                                LUNA2_LOCKED                             0.000000053753479
                                                                                                                                              LUNC                                                                 0.005016400000000                                                                LUNC                                     0.005016400000000
                                                                                                                                              MANA                                                                 0.000000005197102                                                                MANA                                     0.000000005197102
                                                                                                                                              POLIS                                                                0.000000008588793                                                                POLIS                                    0.000000008588793
                                                                                                                                              SOL                                                                  0.000000000374778                                                                SOL                                      0.000000000374778
                                                                                                                                              TRX                                                                262.616988518470000                                                                TRX                                    262.616988518470000
                                                                                                                                              USD                                                                  0.071799491504555                                                                USD                                      0.071799491504555
                                                                                                                                              USDT                                                                 0.000000004255401                                                                USDT                                     0.000000004255401
                                                                                                                                              WAVES                                                                0.000000008753822                                                                WAVES                                    0.000000008753822
85398          Name on file                                                            FTX Trading Ltd.                                       XRP                                                                  0.000000000000000   85411    Name on file          FTX Trading Ltd.              XRP                                      0.000000000000000
69684          Name on file                                                            FTX Trading Ltd.                                       BTC                                                                  0.123413774212678   70546    Name on file          FTX Trading Ltd.              BTC                                      0.123413774212678
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                BTC-PERP                                 0.000000000000000
                                                                                                                                              ETH                                                                  0.001033580000000                                                                ETH                                      0.001033580000000
                                                                                                                                              ETHW                                                                 0.001020280000000                                                                ETHW                                     0.001020280000000
                                                                                                                                              FTT                                                                 25.095231000000000                                                                FTT                                     25.095231000000000
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                FTT-PERP                                 0.000000000000000
                                                                                                                                              GMT                                                                457.329143270000000                                                                GMT                                    457.329143270000000
                                                                                                                                              LUNA2                                                                5.582097348000000                                                                LUNA2                                    5.582097348000000
                                                                                                                                              LUNA2_LOCKED                                                        13.024893810000000                                                                LUNA2_LOCKED                            13.024893810000000
                                                                                                                                              MATIC                                                               55.000000000000000                                                                MATIC                                   55.000000000000000
                                                                                                                                              SOL                                                                 18.632486020000000                                                                SOL                                     18.632486020000000
                                                                                                                                              TRX                                                                  0.000835000000000                                                                TRX                                      0.000835000000000
                                                                                                                                              USD                                                              1,209.372823949704300                                                                USD                                  1,209.372823949704300
                                                                                                                                              USDT                                                                10.000000012811725                                                                USDT                                    10.000000012811725
                                                                                                                                              WFLOW                                                                0.073709520000000                                                                WFLOW                                    0.073709520000000
66182          Name on file                                                            FTX Trading Ltd.                                       USEC                                                               801.981526600000000   36468    Name on file          FTX Trading Ltd.              ANC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    APE-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    AVAX-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    AXS-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    ETH-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    FIL-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    FTM-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    FTT-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    GAL-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    GMT-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    KNC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    LUNC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    NEAR-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    PROM-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    PSG                                      0.098420000000000
                                                                                                                                                                                                                                                                                                    SOL-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    TRX-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                                                    USD                                      0.008527390407917
                                                                                                                                                                                                                                                                                                    USDC                                 1,603.963000000000000
                                                                                                                                                                                                                                                                                                    USDT                                     0.000000003578465
                                                                                                                                                                                                                                                                                                    USDT-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    USTC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                    WAVES-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                                                    XRP-PERP                                 0.000000000000000
93682          Name on file                                                            FTX EU Ltd.                                            ALGO                                                              115.000000000000000    93996*   Name on file          FTX EU Ltd.                   ALGO                                   115.000000000000000
                                                                                                                                              ATLAS                                                             360.000000000000000                                                                 ATLAS                                  360.000000000000000
                                                                                                                                              BTC-PERP                                                            0.000000000000000                                                                 BTC-PERP                                 0.000000000000000
                                                                                                                                              CRO                                                               100.000000000000000                                                                 CRO                                    100.000000000000000
                                                                                                                                              ETH-PERP                                                            0.000000000000000                                                                 ETH-PERP                                 0.000000000000000
                                                                                                                                              FTT                                                                 1.000000000000000                                                                 FTT                                      1.000000000000000
                                                                                                                                              HNT                                                                 2.000000000000000                                                                 HNT                                      2.000000000000000
                                                                                                                                              LRC                                                                19.000000000000000                                                                 LRC                                     19.000000000000000
                                                                                                                                              RNDR                                                               12.000000000000000                                                                 RNDR                                    12.000000000000000
                                                                                                                                              SAND                                                               13.000000000000000                                                                 SAND                                    13.000000000000000
                                                                                                                                              SHIB                                                          800,000.000000000000000                                                                 SHIB                               800,000.000000000000000
                                                                                                                                              SOL-PERP                                                            0.000000000000000                                                                 SOL-PERP                                 0.000000000000000
                                                                                                                                              STEP-PERP                                                           0.000000000000000                                                                 STEP-PERP                                0.000000000000000
                                                                                                                                              USD                                                               124.308849306900000                                                                 USD                                    124.308849306900000
12443          Name on file                                                            FTX EU Ltd.                                            BTC                                                                 0.070725720000000    12457*   Name on file          FTX EU Ltd.                   BTC                                      0.070725720000000
                                                                                                                                              ETH                                                                 1.415423192826932                                                                 ETH                                      1.415423192826932
                                                                                                                                              EUR                                                                 0.000000001000000                                                                 EUR                                      0.000000001000000
                                                                                                                                              MATIC                                                             559.195235940000000                                                                 MATIC                                  559.195235940000000
                                                                                                                                              SOL                                                                 5.089512910000000                                                                 SOL                                      5.089512910000000
                                                                                                                                              USD                                                               104.843934071412490                                                                 USD                                    104.843934071412490
42870          Name on file                                                            FTX Trading Ltd.                                       TRX                                                                 0.000002000000000    58775    Name on file          FTX Trading Ltd.                                                           Undetermined*
                                                                                                                                              USD                                                                11.545918188883740
                                                                                                                                              USDT                                                                0.000000002961771
                                                                                                                                              XPLA                                                            3,959.120000000000000
                                                                                                                                              XRP-PERP                                                            0.000000000000000
42873          Name on file                                                            FTX Trading Ltd.                                       TRX                                                                 0.000002000000000    58775    Name on file          FTX Trading Ltd.                                                          Undetermined*
                                                                                                                                              USD                                                                11.545918188883740
                                                                                                                                              USDT                                                                0.000000002961771
                                                                                                                                              XPLA                                                            3,959.120000000000000
                                                                                                                                              XRP-PERP                                                            0.000000000000000
55397          Name on file                                                            FTX Trading Ltd.                                                                                                               Undetermined*    58775    Name on file          FTX Trading Ltd.                                                          Undetermined*
14434          Name on file                                                            FTX Trading Ltd.                                       BNB                                                                 0.000000011189030    67919*   Name on file          FTX Trading Ltd.              BNB                                     0.000000011189030
                                                                                                                                              BNB-PERP                                                            0.000000000000000                                                                 BNB-PERP                                0.000000000000000
                                                                                                                                              BTC                                                                 0.014084267357973                                                                 BTC                                     0.014084267357973
                                                                                                                                              BTC-PERP                                                            0.000000000000000                                                                 BTC-PERP                                0.000000000000000
                                                                                                                                              BULL                                                                0.000000002000000                                                                 BULL                                    0.000000002000000
                                                                                                                                              CAKE-PERP                                                           0.000000000000000                                                                 CAKE-PERP                               0.000000000000000
                                                                                                                                              DOGE                                                                                                                                                  DOGE                                    0.000000000000000
                                                                                                                                              DOGEBULL                                                            0.000000010400000                                                                 DOGEBULL                                0.000000010400000
                                                                                                                                              DOGE-PERP                                                           0.000000000000000                                                                 DOGE-PERP                               0.000000000000000
                                                                                                                                              ETH                                                                 0.003495272859180                                                                 ETH                                     0.003495272859180
                                                                                                                                              ETHW                                                                1.173495272859180                                                                 ETHW                                    1.173495272859180
                                                                                                                                              FTT                                                                 0.100000000000000                                                                 FTT                                     0.100000000000000
                                                                                                                                              GALA                                                            9,508.098000000000000                                                                 GALA                                9,508.098000000000000
                                                                                                                                              LUNA2                                                               0.000000008000000                                                                 LUNA2                                   0.000000008000000
                                                                                                                                              LUNA2_LOCKED                                                        2.695847579000000                                                                 LUNA2_LOCKED                            2.695847579000000
                                                                                                                                              LUNC                                                          251,582.779742000000000                                                                 LUNC                              251,582.779742000000000
                                                                                                                                              SOL                                                                 0.002488000000000                                                                 SOL                                     0.002488000000000
                                                                                                                                              SOL-PERP                                                            0.000000000000000                                                                 SOL-PERP                                0.000000000000000
                                                                                                                                              SXP                                                                 0.000000007620190                                                                 SXP                                     0.000000007620190
                                                                                                                                              TRX-PERP                                                            0.000000000000000                                                                 TRX-PERP                                0.000000000000000
                                                                                                                                              USD                                                             2,161.514220903040000                                                                 USD                                 2,161.514220903040000
                                                                                                                                              USDT                                                                0.000000023103844                                                                 USDT                                    0.000000023103844
                                                                                                                                              XRP                                                                 0.000000003963530                                                                 XRP                                     0.000000003963530
                                                                                                                                              XRP-PERP                                                            0.000000000000000                                                                 XRP-PERP                                0.000000000000000
68328          Name on file                                                            FTX EU Ltd.                                            APT                                                                12.613911470000000 85964*      Name on file          FTX EU Ltd.                   APT                                    12.613911470000000
                                                                                                                                              ATOM-PERP                                                           0.000000000000000                                                                 ATOM-PERP                               0.000000000000000
                                                                                                                                              AVAX-PERP                                                           0.000000000000000                                                                 AVAX-PERP                               0.000000000000000
                                                                                                                                              BNB-PERP                                                            0.000000000000000                                                                 BNB-PERP                                0.000000000000000
                                                                                                                                              BTC-PERP                                                            0.000000000000000                                                                 BTC-PERP                                0.000000000000000
                                                                                                                                              DENT                                                                1.000000000000000                                                                 DENT                                    1.000000000000000
                                                                                                                                              DOGE-PERP                                                           0.000000000000000                                                                 DOGE-PERP                               0.000000000000000
                                                                                                                                              ETH-PERP                                                            0.000000000000000                                                                 ETH-PERP                                0.000000000000000
                                                                                                                                              FTT-PERP                                                            0.000000000000000                                                                 FTT-PERP                                0.000000000000000
                                                                                                                                              KIN                                                                 2.000000000000000                                                                 KIN                                     2.000000000000000
                                                                                                                                              LINK-PERP                                                           0.000000000000000                                                                 LINK-PERP                               0.000000000000000
                                                                                                                                              SHIB-PERP                                                           0.000000000000000                                                                 SHIB-PERP                               0.000000000000000
                                                                                                                                              SOL                                                                 6.749251840000000                                                                 SOL                                     6.749251840000000
                                                                                                                                              SOL-PERP                                                            0.000000000000000                                                                 SOL-PERP                                0.000000000000000
                                                                                                                                              SUSHI-PERP                                                          0.000000000000000                                                                 SUSHI-PERP                              0.000000000000000
                                                                                                                                              USD                                                                55.209505283484425                                                                 USD                                    55.209505283484425
                                                                                                                                              USDT                                                                0.000000013732476                                                                 USDT                                    0.000000013732476
                                                                                                                                              XRP                                                                 0.000002620000000                                                                 XRP                                     0.000002620000000
                                                                                                                                              XRP-PERP                                                            0.000000000000000                                                                 XRP-PERP                                0.000000000000000
52857          Name on file                                                            FTX Trading Ltd.                                       BNB                                                                 0.008000000000000 57015       Name on file          FTX Trading Ltd.              ADA-PERP                                0.000000000000000
                                                                                                                                              DOGE                                                                0.680000000000000                                                                 BNB                                     0.008000000000000
                                                                                                                                              ETH                                                                 0.403823678905930                                                                 BTTPRE-PERP                             0.000000000000000
                                                                                                                                              ETHW                                                                0.000614890598060                                                                 DOGE                                    0.680000000000000
                                                                                                                                              LTC                                                                 0.001506210000000                                                                 DOT-PERP                                0.000000000000000
                                                                                                                                              LUNA2                                                               0.104410196000000                                                                 ETH                                     0.403823678905930
                                                                                                                                              LUNC                                                           22,735.540000000000000                                                                 ETHW                                    0.000614890598060
                                                                                                                                              MATIC                                                             318.071387813251430                                                                 FTM-PERP                                0.000000000000000



93005*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
93996*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
12457*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
67919*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
85964*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                                 Doc 25689-2                                              Filed 09/25/24                           Page 18 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                                                     Surviving Claims
  Claim                                                                                                                                                                                                                                    Claim
                                              Name                                                           Debtor                                                     Tickers                    Ticker Quantity                                                Name                    Debtor                                Tickers   Ticker Quantity
 Number                                                                                                                                                                                                                                   Number
                                                                                                                                              NFT (465226464180078001/FTX EU - WE
                                                                                                                                              ARE HERE! #59419)                                                       1.000000000000000                                                                          HUM-PERP                                0.000000000000000
                                                                                                                                              SOL                                                                     5.242707500000000                                                                          LTC                                     0.001506210000000
                                                                                                                                              TRX                                                                    20.000002000000000                                                                          LUNA2                                   0.104410196000000
                                                                                                                                              USD                                                                     7.940000000000000                                                                          LUNA2_LOCKED                            0.243623790600000
                                                                                                                                              USDT                                                                   10.922600690879929                                                                          LUNC                               22,735.540000000000000
                                                                                                                                                                                                                                                                                                                 LUNC-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                                                                 MATIC                                 318.071387813251400
                                                                                                                                                                                                                                                                                                                 MATIC-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                                                                 MTA-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 SAND                                    1.000000000000000
                                                                                                                                                                                                                                                                                                                 SHIB-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                                                                 SKL-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 SOL                                     5.242707500000000
                                                                                                                                                                                                                                                                                                                 SPELL-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                                                                 TOMO-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                                                                 TRX                                    20.000002000000000
                                                                                                                                                                                                                                                                                                                 TRX-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 USD                                     7.947832339605386
                                                                                                                                                                                                                                                                                                                 USDT                                   10.922600690879928
                                                                                                                                                                                                                                                                                                                 XRP-1230                                0.000000000000000
29777          Name on file                                                            FTX Trading Ltd.                                       BTC                                                                  0.010242470000000 94326         Name on file          FTX Trading Ltd.                        BTC                                     0.010242477000000
                                                                                                                                              DOT                                                                  0.099068800000000                                                                             DOT                                     0.099068800000000
                                                                                                                                              ETH                                                                  0.279984480000000                                                                             ETH                                     1.100554350000000
                                                                                                                                              ETHW                                                                 0.279984480000000                                                                             ETHW                                    1.100209800000000
                                                                                                                                              FTT                                                                  0.090672600000000                                                                             FTT                                     0.090672600000000
                                                                                                                                              SOL                                                                  0.004722980000000                                                                             SOL                                     0.004722980000000
                                                                                                                                              SUSHI                                                                0.495053000000000                                                                             SUSHI                                   0.495053000000000
                                                                                                                                              UNI                                                                  0.048739000000000                                                                             UNI                                     0.048739000000000
                                                                                                                                              USDT                                                               333.860000000000000                                                                             USD                                     0.034758060000000
                                                                                                                                                                                                                                                                                                                 USDT                                  333.860838548165700
55671          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined*      55700    Name on file          FTX Trading Ltd.                                                                    Undetermined*
22848          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined*      55700    Name on file          FTX Trading Ltd.                                                                    Undetermined*
66578          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                             0.000000000000000      66627    Name on file          FTX Trading Ltd.                        ADA-PERP                                0.000000000000000
                                                                                                                                              BAT-PERP                                                             0.000000000000000                                                                             BAT-PERP                                0.000000000000000
                                                                                                                                              BCH                                                                  0.000000009420550                                                                             BCH                                     0.000000009420550
                                                                                                                                              BIT-PERP                                                             0.000000000000000                                                                             BIT-PERP                                0.000000000000000
                                                                                                                                              BNB-PERP                                                             0.000000000000000                                                                             BNB-PERP                                0.000000000000000
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                             BTC-PERP                                0.000000000000000
                                                                                                                                              BTTPRE-PERP                                                          0.000000000000000                                                                             BTTPRE-PERP                             0.000000000000000
                                                                                                                                              COMP-PERP                                                            0.000000000000000                                                                             COMP-PERP                               0.000000000000000
                                                                                                                                              DOGE-PERP                                                            0.000000000000000                                                                             DOGE-PERP                               0.000000000000000
                                                                                                                                              DOT                                                                  0.000000004304290                                                                             DOT                                     0.000000004304290
                                                                                                                                              DOT-PERP                                                             0.000000000000000                                                                             DOT-PERP                                0.000000000000000
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                             ETH-PERP                                0.000000000000000
                                                                                                                                              FIL-20201225                                                         0.000000000000000                                                                             FIL-20201225                            0.000000000000000
                                                                                                                                              FIL-PERP                                                            -0.000000000000002                                                                             FIL-PERP                               -0.000000000000002
                                                                                                                                              FLOW-PERP                                                            0.000000000000000                                                                             FLOW-PERP                               0.000000000000000
                                                                                                                                              FTT                                                                 67.961714001026320                                                                             FTT                                    67.961714001026320
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                             FTT-PERP                                0.000000000000000
                                                                                                                                              GRT-PERP                                                             0.000000000000000                                                                             GRT-PERP                                0.000000000000000
                                                                                                                                              HT                                                                  31.569865307466840                                                                             HT                                     31.569865307466840
                                                                                                                                              HT-PERP                                                              0.000000000000000                                                                             HT-PERP                                 0.000000000000000
                                                                                                                                              ICP-PERP                                                             0.000000000000000                                                                             ICP-PERP                                0.000000000000000
                                                                                                                                              LINK                                                                20.392071921436240                                                                             LINK                                   20.392071921436240
                                                                                                                                              LINK-PERP                                                            0.000000000000000                                                                             LINK-PERP                               0.000000000000000
                                                                                                                                              LUNA2                                                                0.000000024963662                                                                             LUNA2                                   0.000000024963662
                                                                                                                                              LUNA2_LOCKED                                                         0.000000058248545                                                                             LUNA2_LOCKED                            0.000000058248545
                                                                                                                                              LUNC                                                                 0.000000005100000                                                                             LUNC                                    0.000000005100000
                                                                                                                                              OKB-PERP                                                             0.000000000000000                                                                             OKB-PERP                                0.000000000000000
                                                                                                                                              OMG-PERP                                                             0.000000000000000                                                                             OMG-PERP                                0.000000000000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                             SOL-PERP                                0.000000000000000
                                                                                                                                              SUSHI-PERP                                                           0.000000000000000                                                                             SUSHI-PERP                              0.000000000000000
                                                                                                                                              USD                                                                  0.000000009240913                                                                             USD                                     0.000000009240913
                                                                                                                                              USDT                                                               376.320518557616540                                                                             USDT                                  376.320518557616540
                                                                                                                                              XRP-PERP                                                             0.000000000000000                                                                             XRP-PERP                                0.000000000000000
                                                                                                                                              YFI-PERP                                                             0.000000000000000                                                                             YFI-PERP                                0.000000000000000
27186          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined*      27212    Name on file          FTX Trading Ltd.                        USD                                   109.150000000000000
                                                                                                                                                                                                                                                                                                                 USDT                                  339.520000000000000
50315          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                 0.272000010000000 50320*         Name on file          FTX Trading Ltd.                        ETH                                     0.272000010000000
                                                                                                                                              ETHW                                                                0.272000000000000                                                                              ETHW                                    0.272000000000000
                                                                                                                                              FIDA                                                                0.526645000000000                                                                              FIDA                                    0.526645000000000
                                                                                                                                              TRX                                                                 0.000008000000000                                                                              TRX                                     0.000008000000000
                                                                                                                                              USD                                                                 0.000004787400820                                                                              USD                                     0.000004787400820
                                                                                                                                              USDT                                                                0.803398005911616                                                                              USDT                                    0.803398005911616
70529          Name on file                                                            FTX Trading Ltd.                                       AVAX                                                               15.304719450000000 76684          Name on file          FTX Trading Ltd.                        AVAX                                   15.304719450000000
                                                                                                                                              DOGE                                                              122.928130800000000                                                                              DOGE                                  122.928130800000000
                                                                                                                                              FTT                                                                15.035417190000000                                                                              FTT                                    15.035417190000000
                                                                                                                                              GMT                                                                 1.004410890000000                                                                              GMT                                     1.004410890000000
                                                                                                                                              GST                                                               103.899571150000000                                                                              GST                                   103.899571150000000
                                                                                                                                              LUNA2                                                               1.099144799000000                                                                              LUNA2                                   1.099144799000000
                                                                                                                                              LUNA2_LOCKED                                                        2.473782310000000                                                                              LUNA2_LOCKED                            2.473782310000000
                                                                                                                                              SHIB                                                          103,088.734548100000000                                                                              SHIB                              103,088.734548100000000
                                                                                                                                              SOL                                                                 3.191383010000000                                                                              SOL                                     3.191383010000000
                                                                                                                                              TRX                                                               142.343353690000000                                                                              TRX                                   142.343353690000000
                                                                                                                                              USD                                                               509.386617856530560                                                                              USD                                   509.386617856530560
                                                                                                                                              USDT                                                                1.238429729572500                                                                              USDT                                    1.238429729572500
                                                                                                                                              USTC                                                              155.633313420000000                                                                              USTC                                  155.633313420000000
32876          Name on file                                                            FTX Trading Ltd.                                       USD                                                                 1.580000000000000 61218          Name on file          FTX Trading Ltd.                        BNB-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 ETC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 ETH                                     0.000002539361021
                                                                                                                                                                                                                                                                                                                 ETHW                                    0.000791540308315
                                                                                                                                                                                                                                                                                                                 FTT                                   300.075051030000000
                                                                                                                                                                                                                                                                                                                 FTT-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                                                                 LUNA2                                  12.249149820000000
                                                                                                                                                                                                                                                                                                                 LUNA2_LOCKED                           28.581349570000000
                                                                                                                                                                                                                                                                                                                 LUNC                                    0.000000018697040
                                                                                                                                                                                                                                                                                                                 USD                                     1.576958582863120
                                                                                                                                                                                                                                                                                                                 USDT                                2,389.568697422544000
13844          Name on file                                                            FTX Trading Ltd.                                       ALPHA-PERP                                                           0.000000000000000      81852*   Name on file          Quoine Pte Ltd                          ALPHA-PERP                              0.000000000000000
                                                                                                                                              APE-PERP                                                             0.000000000000000                                                                             APE-PERP                                0.000000000000000
                                                                                                                                              BILI                                                                 0.000000010641615                                                                             BILI                                    0.000000010641615
                                                                                                                                              BTC                                                                  0.000039811254180                                                                             BTC                                     0.000039811254180
                                                                                                                                              BTC-PERP                                                            -0.245100000000000                                                                             BTC-PERP                               -0.245100000000000
                                                                                                                                              DOGE                                                                 0.000000007079125                                                                             DOGE                                    0.000000007079125
                                                                                                                                              DOGE-PERP                                                            0.000000000000000                                                                             DOGE-PERP                               0.000000000000000
                                                                                                                                              DOT-PERP                                                             0.000000000000000                                                                             DOT-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                  0.009426107520361                                                                             ETH                                     0.009426107520361
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                             ETH-PERP                                0.000000000000000
                                                                                                                                              ETHW                                                                 0.000000015411652                                                                             ETHW                                    0.000000015411652
                                                                                                                                              EUR                                                                  0.000473772139569                                                                             EUR                                     0.000473772139569
                                                                                                                                              FIL-PERP                                                             0.000000000000000                                                                             FIL-PERP                                0.000000000000000
                                                                                                                                              FTT                                                                  0.006387745615810                                                                             FTT                                     0.006387745615810
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                             FTT-PERP                                0.000000000000000
                                                                                                                                              GLD-0930                                                             0.000000000000000                                                                             GLD-0930                                0.000000000000000
                                                                                                                                              HT                                                                   0.400000000000000                                                                             HT                                      0.400000000000000
                                                                                                                                              LINK                                                                 0.000000009182346                                                                             LINK                                    0.000000009182346
                                                                                                                                              LUNA2                                                                0.422936484800000                                                                             LUNA2                                   0.422936484800000
                                                                                                                                              LUNA2_LOCKED                                                         0.986851797800000                                                                             LUNA2_LOCKED                            0.986851797800000
                                                                                                                                              LUNC                                                            92,095.310000000000000                                                                             LUNC                               92,095.310000000000000
                                                                                                                                              RSR-PERP                                                             0.000000000000000                                                                             RSR-PERP                                0.000000000000000
                                                                                                                                              SLV-0325                                                             0.000000000000000                                                                             SLV-0325                                0.000000000000000
                                                                                                                                              TRX                                                                 56.000000000000000                                                                             TRX                                    56.000000000000000
                                                                                                                                              USD                                                              7,708.581615879107000                                                                             USD                                 7,708.581615879107000
                                                                                                                                              USDT                                                                46.330000019645944                                                                             USDT                                   46.330000019645944
19699          Name on file                                                            FTX Trading Ltd.                                       FTT                                                              1,356.336028990000000      89193    Name on file          FTX Trading Ltd.                        FTT                                 1,356.336028990000000
                                                                                                                                              SRM                                                                  5.990092520000000                                                                             SRM                                     5.990092520000000
                                                                                                                                              SRM_LOCKED                                                          90.729907480000000                                                                             SRM_LOCKED                             90.729907480000000
                                                                                                                                              USD                                                                  1.377800000000000                                                                             USD                                     1.377800000000000
                                                                                                                                              USDT                                                                 0.000000009224131                                                                             USDT                                    0.000000009224131
19691          Name on file                                                            FTX Trading Ltd.                                       FTT                                                              1,356.336028990000000      89193    Name on file          FTX Trading Ltd.                        FTT                                 1,356.336028990000000
                                                                                                                                              SRM                                                                  5.990092520000000                                                                             SRM                                     5.990092520000000
                                                                                                                                              SRM_LOCKED                                                          90.729907480000000                                                                             SRM_LOCKED                             90.729907480000000
                                                                                                                                              USD                                                                  1.377800000000000                                                                             USD                                     1.377800000000000
                                                                                                                                              USDT                                                                 0.000000009224131                                                                             USDT                                    0.000000009224131
38798          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                                             0.000000000000000      54672    Name on file          FTX Trading Ltd.                        ADA-PERP                                0.000000000000000
                                                                                                                                              ANC-PERP                                                             0.000000000000000                                                                             ANC-PERP                                0.000000000000000
                                                                                                                                              BTC-PERP                                                             0.000000000000000                                                                             BTC-PERP                                0.000000000000000
                                                                                                                                              ETH                                                                  0.208700010000000                                                                             ETH                                     0.208700010000000
                                                                                                                                              ETH-PERP                                                             0.000000000000000                                                                             ETH-PERP                                0.000000000000000
                                                                                                                                              ETHW                                                                 0.000700008570050                                                                             ETHW                                    0.000700008570050
                                                                                                                                              GMT-PERP                                                             0.000000000000000                                                                             GMT-PERP                                0.000000000000000
                                                                                                                                              LUNA2                                                                0.000000009100000                                                                             LUNA2                                   0.000000009100000
                                                                                                                                              LUNA2_LOCKED                                                         1.202677931000000                                                                             LUNA2_LOCKED                            1.202677931000000
                                                                                                                                              NEAR-PERP                                                            0.000000000000000                                                                             NEAR-PERP                               0.000000000000000
                                                                                                                                              PROM-PERP                                                            0.000000000000000                                                                             PROM-PERP                               0.000000000000000
                                                                                                                                              SHIB-PERP                                                            0.000000000000000                                                                             SHIB-PERP                               0.000000000000000
                                                                                                                                              SOL-PERP                                                             0.000000000000000                                                                             SOL-PERP                                0.000000000000000
                                                                                                                                              STX-PERP                                                             0.000000000000000                                                                             STX-PERP                                0.000000000000000
                                                                                                                                              TONCOIN                                                              0.060000000000000                                                                             TONCOIN                                 0.060000000000000
                                                                                                                                              TONCOIN-PERP                                                         0.000000000000000                                                                             TONCOIN-PERP                            0.000000000000000
                                                                                                                                              USD                                                                 -0.877927842953064                                                                             USD                                    -0.877927842953064
                                                                                                                                              USDT                                                                 0.000000005000000                                                                             USDT                                    0.000000005000000
                                                                                                                                              USTC                                                                 0.000000008405400                                                                             USTC                                    0.000000008405400
                                                                                                                                              USTC-PERP                                                            0.000000000000000                                                                             USTC-PERP                               0.000000000000000
40614          Name on file                                                            FTX Trading Ltd.                                       CRO                                                                299.940000000000000      61239    Name on file          FTX Trading Ltd.                        CRO                                   299.940000000000000
                                                                                                                                              FIL-PERP                                                            22.700000000000000                                                                             FIL-PERP                               22.700000000000000
                                                                                                                                              FTT                                                                583.862033400000000                                                                             FTT                                   583.862033400000000
                                                                                                                                              HT                                                                  20.800000000000000                                                                             HT                                     20.800000000000000
                                                                                                                                              INDI                                                             8,000.000000000000000                                                                             INDI                                8,000.000000000000000
                                                                                                                                              OKB-PERP                                                             0.000000000000000                                                                             OKB-PERP                                0.000000000000000
                                                                                                                                              SRM                                                                 10.703534490000000                                                                             SRM                                    10.703534490000000
                                                                                                                                              SRM_LOCKED                                                         120.537744010000000                                                                             SRM_LOCKED                            120.537744010000000
                                                                                                                                              TRX                                                                  0.000013000000000                                                                             TRX                                     0.000013000000000
                                                                                                                                              USD                                                              1,181.506062078197000                                                                             USD                                 1,181.506062078197000
                                                                                                                                              USDT                                                               368.013498850392240                                                                             USDT                                  368.013498850392240
                                                                                                                                              XPLA                                                             1,000.000000000000000                                                                             XPLA                                1,000.000000000000000
26910          Name on file                                                            FTX Trading Ltd.                                                                                                                Undetermined*      26914    Name on file          West Realm Shires Services Inc.                                                     Undetermined*
65340          Name on file                                                            FTX Trading Ltd.                                       ETH                                                                  0.000000010244800      83543    Name on file          FTX Trading Ltd.                        ETH                                     0.000000010244800
                                                                                                                                              ETHW                                                                 0.000070779358252                                                                             ETHW                                    0.000070779358252
                                                                                                                                              FTT                                                                225.042347172764780                                                                             FTT                                   225.042347172764780
                                                                                                                                              FTT-PERP                                                             0.000000000000000                                                                             FTT-PERP                                0.000000000000000
                                                                                                                                              RAY                                                                 80.612327800000000                                                                             RAY                                    80.612327800000000
                                                                                                                                              SOL                                                                  0.007621540000000                                                                             SOL                                     0.007621540000000
                                                                                                                                              SRM                                                                537.193020250000000                                                                             SRM                                   537.193020250000000
                                                                                                                                              SRM_LOCKED                                                           0.926485260000000                                                                             SRM_LOCKED                              0.926485260000000
                                                                                                                                              SRM-PERP                                                          -150.000000000000000                                                                             SRM-PERP                             -150.000000000000000
                                                                                                                                              TRX                                                                  0.000791000000000                                                                             TRX                                     0.000791000000000


50320*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Twelfth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
81852*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                 Case 22-11068-JTD                                                                  Doc 25689-2                                           Filed 09/25/24                       Page 19 of 20
                                                                                                                               Claims to be Disallowed                                                                                                                         Surviving Claims
  Claim                                                                                                                                                                                                                Claim
                                              Name                                                           Debtor                                                     Tickers     Ticker Quantity                                             Name                  Debtor                         Tickers               Ticker Quantity
 Number                                                                                                                                                                                                               Number
                                                                                                                                              USD                                               3,533.896836042123000                                                                USD                                               3,533.896836042123000
                                                                                                                                              USDT                                                 31.650913287629050                                                                USDT                                                 31.650913287629050
                                                                                                                                              USTC                                                  0.000000001218650                                                                USTC                                                  0.000000001218650
31312          Name on file                                                            FTX Trading Ltd.                                                                                                 Undetermined* 75965  Name on file              FTX Trading Ltd.              BTC                                                   1.160551320000000
                                                                                                                                                                                                                                                                                     ETH                                                  22.968926040000000
                                                                                                                                                                                                                                                                                     ETHW                                                 22.968926040000000
                                                                                                                                                                                                                                                                                     USDT                                                 24.830205000000000
22748          Name on file                                                            FTX Trading Ltd.                                                                                                  Undetermined* 22760     Name on file          FTX Trading Ltd.              APE                                                  38.400000000000000
                                                                                                                                                                                                                                                                                     BTC                                                   0.000000009000000
                                                                                                                                                                                                                                                                                     DOGE                                              2,432.813003280000000
                                                                                                                                                                                                                                                                                     FTT                                                  39.697968900000000
                                                                                                                                                                                                                                                                                     LTC                                                   0.010000000000000
                                                                                                                                                                                                                                                                                     LUNA2                                                 0.121713633700000
                                                                                                                                                                                                                                                                                     LUNA2_LOCKED                                          0.283998478700000
                                                                                                                                                                                                                                                                                     LUNC                                            232,549.400000000000000
                                                                                                                                                                                                                                                                                     SHIB                                          3,100,000.000000000000000
                                                                                                                                                                                                                                                                                     USD                                                  -0.223607494093750
                                                                                                                                                                                                                                                                                     USDT                                                  0.031793938879348
                                                                                                                                                                                                                                                                                     XRP                                                  16.995208200000000
44355          Name on file                                                            FTX Trading Ltd.                                       ETH                                                     0.560890950000000 75788    Name on file          FTX Trading Ltd.              ETH                                                   0.560890950000000
                                                                                                                                              USDT                                                    1.310886700000000                                                              USDT                                                  1.310886700000000
23083          Name on file                                                            FTX Trading Ltd.                                       ALICE-PERP                                              0.000000000000000 56976*   Name on file          FTX Trading Ltd.              ALICE-PERP                                            0.000000000000000
                                                                                                                                              APT                                                     0.000000006795570                                                              APT                                                   0.000000006795570
                                                                                                                                              AR-PERP                                                 0.000000000000000                                                              AR-PERP                                               0.000000000000000
                                                                                                                                              BCH-PERP                                                0.000000000000000                                                              BCH-PERP                                              0.000000000000000
                                                                                                                                              BNB                                                                                                                                    BNB                                                   0.000000000000000
                                                                                                                                              BTC                                                  0.003241102825707                                                                 BTC                                                   0.003241102825707
                                                                                                                                              CEL                                                 23.163513564156910                                                                 CEL                                                  23.163513564156910
                                                                                                                                              CEL-PERP                                             0.000000000000000                                                                 CEL-PERP                                              0.000000000000000
                                                                                                                                              CQT                                                200.000000000000000                                                                 CQT                                                 200.000000000000000
                                                                                                                                              DMG                                                384.600000000000000                                                                 DMG                                                 384.600000000000000
                                                                                                                                              EDEN                                               150.020000000000000                                                                 EDEN                                                150.020000000000000
                                                                                                                                              EOS-PERP                                             0.000000000000000                                                                 EOS-PERP                                              0.000000000000000
                                                                                                                                              ETH                                                  0.038713492332326                                                                 ETH                                                   0.038713492332326
                                                                                                                                              ETH-PERP                                             0.000000000000000                                                                 ETH-PERP                                              0.000000000000000
                                                                                                                                              ETHW                                                 0.086713491332326                                                                 ETHW                                                  0.086713491332326
                                                                                                                                              FLOW-PERP                                            0.000000000000000                                                                 FLOW-PERP                                             0.000000000000000
                                                                                                                                              FTT                                                 41.601080400000000                                                                 FTT                                                  41.601080400000000
                                                                                                                                              GMT-PERP                                             0.000000000000000                                                                 GMT-PERP                                              0.000000000000000
                                                                                                                                              IMX                                                  8.900000000000000                                                                 IMX                                                   8.900000000000000
                                                                                                                                              KSHIB-PERP                                           0.000000000000000                                                                 KSHIB-PERP                                            0.000000000000000
                                                                                                                                              LUNA2                                                3.304114726000000                                                                 LUNA2                                                 3.304114726000000
                                                                                                                                              LUNA2_LOCKED                                         7.732934362000000                                                                 LUNA2_LOCKED                                          7.732934362000000
                                                                                                                                              LUNC                                           491,239.459153660300000                                                                 LUNC                                            491,239.459153660300000
                                                                                                                                              LUNC-PERP                                            0.000000000187355                                                                 LUNC-PERP                                             0.000000000187355
                                                                                                                                              MATIC                                                0.000000002497090                                                                 MATIC                                                 0.000000002497090
                                                                                                                                              MATIC-PERP                                           0.000000000000000                                                                 MATIC-PERP                                            0.000000000000000
                                                                                                                                              NEAR-PERP                                            0.000000000000000                                                                 NEAR-PERP                                             0.000000000000000
                                                                                                                                              NFT (302498735739307807/FTX AU - WE                                                                                                    NFT (302498735739307807/FTX AU - WE
                                                                                                                                              ARE HERE! #11928)                                       1.000000000000000                                                              ARE HERE! #11928)                                       1.000000000000000
                                                                                                                                              NFT (309071814510152921/FTX EU - WE                                                                                                    NFT (309071814510152921/FTX EU - WE
                                                                                                                                              ARE HERE! #127232)                                      1.000000000000000                                                              ARE HERE! #127232)                                      1.000000000000000
                                                                                                                                              NFT (316245971895545368/FTX EU - WE                                                                                                    NFT (316245971895545368/FTX EU - WE
                                                                                                                                              ARE HERE! #127558)                                      1.000000000000000                                                              ARE HERE! #127558)                                      1.000000000000000
                                                                                                                                              NFT (367503298037208066/FTX AU - WE                                                                                                    NFT (367503298037208066/FTX AU - WE
                                                                                                                                              ARE HERE! #49142)                                       1.000000000000000                                                              ARE HERE! #49142)                                       1.000000000000000
                                                                                                                                              NFT (393850693356356106/FTX EU - WE                                                                                                    NFT (393850693356356106/FTX EU - WE
                                                                                                                                              ARE HERE! #126981)                                      1.000000000000000                                                              ARE HERE! #126981)                                      1.000000000000000
                                                                                                                                              NFT (480583399881932821/FTX AU - WE                                                                                                    NFT (480583399881932821/FTX AU - WE
                                                                                                                                              ARE HERE! #11907)                                     1.000000000000000                                                                ARE HERE! #11907)                                    1.000000000000000
                                                                                                                                              OP-PERP                                               0.000000000000000                                                                OP-PERP                                              0.000000000000000
                                                                                                                                              PERP                                                 29.900000000000000                                                                PERP                                                29.900000000000000
                                                                                                                                              RAY                                                 317.131498586990900                                                                RAY                                                317.131498586990900
                                                                                                                                              RAY-PERP                                              0.000000000000000                                                                RAY-PERP                                             0.000000000000000
                                                                                                                                              RUNE                                                 37.704722544006040                                                                RUNE                                                37.704722544006040
                                                                                                                                              RUNE-PERP                                             0.000000000000000                                                                RUNE-PERP                                            0.000000000000000
                                                                                                                                              SOL                                                   0.500639200000000                                                                SOL                                                  0.500639200000000
                                                                                                                                              SOL-PERP                                              0.000000000000000                                                                SOL-PERP                                             0.000000000000000
                                                                                                                                              SRM                                                   0.054762980000000                                                                SRM                                                  0.054762980000000
                                                                                                                                              SRM_LOCKED                                            0.048953640000000                                                                SRM_LOCKED                                           0.048953640000000
                                                                                                                                              STARS                                                50.000000000000000                                                                STARS                                               50.000000000000000
                                                                                                                                              STEP                                                500.000000000000000                                                                STEP                                               500.000000000000000
                                                                                                                                              STORJ-PERP                                           -0.000000000000028                                                                STORJ-PERP                                          -0.000000000000028
                                                                                                                                              SUSHI-PERP                                            0.000000000000000                                                                SUSHI-PERP                                           0.000000000000000
                                                                                                                                              TRX                                                                                                                                    TRX                                                  0.000000000000000
                                                                                                                                              USD                                                 770.216664425490500                                                                USD                                                770.216664425490500
                                                                                                                                              USDT                                                  2.646593010777734                                                                USDT                                                 2.646593010777734
                                                                                                                                              XEM-PERP                                              0.000000000000000                                                                XEM-PERP                                             0.000000000000000
                                                                                                                                              ZIL-PERP                                              0.000000000000000                                                                ZIL-PERP                                             0.000000000000000
13502          Name on file                                                            FTX Trading Ltd.                                       ALICE-PERP                                            0.000000000000000 56976*     Name on file          FTX Trading Ltd.              ALICE-PERP                                           0.000000000000000
                                                                                                                                              APT                                                   0.000000006795570                                                                APT                                                  0.000000006795570
                                                                                                                                              AR-PERP                                               0.000000000000000                                                                AR-PERP                                              0.000000000000000
                                                                                                                                              BCH-PERP                                              0.000000000000000                                                                BCH-PERP                                             0.000000000000000
                                                                                                                                              BNB                                                                                                                                    BNB                                                  0.000000000000000
                                                                                                                                              BTC                                                  0.003241102825707                                                                 BTC                                                  0.003241102825707
                                                                                                                                              CEL                                                 23.163513564156910                                                                 CEL                                                 23.163513564156910
                                                                                                                                              CEL-PERP                                             0.000000000000000                                                                 CEL-PERP                                             0.000000000000000
                                                                                                                                              CQT                                                200.000000000000000                                                                 CQT                                                200.000000000000000
                                                                                                                                              DMG                                                384.600000000000000                                                                 DMG                                                384.600000000000000
                                                                                                                                              EDEN                                               150.020000000000000                                                                 EDEN                                               150.020000000000000
                                                                                                                                              EOS-PERP                                             0.000000000000000                                                                 EOS-PERP                                             0.000000000000000
                                                                                                                                              ETH                                                  0.038713492332326                                                                 ETH                                                  0.038713492332326
                                                                                                                                              ETH-PERP                                             0.000000000000000                                                                 ETH-PERP                                             0.000000000000000
                                                                                                                                              ETHW                                                 0.086713491332326                                                                 ETHW                                                 0.086713491332326
                                                                                                                                              FLOW-PERP                                            0.000000000000000                                                                 FLOW-PERP                                            0.000000000000000
                                                                                                                                              FTT                                                 41.601080400000000                                                                 FTT                                                 41.601080400000000
                                                                                                                                              GMT-PERP                                             0.000000000000000                                                                 GMT-PERP                                             0.000000000000000
                                                                                                                                              IMX                                                  8.900000000000000                                                                 IMX                                                  8.900000000000000
                                                                                                                                              KSHIB-PERP                                           0.000000000000000                                                                 KSHIB-PERP                                           0.000000000000000
                                                                                                                                              LUNA2                                                3.304114726000000                                                                 LUNA2                                                3.304114726000000
                                                                                                                                              LUNA2_LOCKED                                         7.732934362000000                                                                 LUNA2_LOCKED                                         7.732934362000000
                                                                                                                                              LUNC                                           491,239.459153660300000                                                                 LUNC                                           491,239.459153660300000
                                                                                                                                              LUNC-PERP                                            0.000000000187355                                                                 LUNC-PERP                                            0.000000000187355
                                                                                                                                              MATIC                                                0.000000002497090                                                                 MATIC                                                0.000000002497090
                                                                                                                                              MATIC-PERP                                           0.000000000000000                                                                 MATIC-PERP                                           0.000000000000000
                                                                                                                                              NEAR-PERP                                            0.000000000000000                                                                 NEAR-PERP                                            0.000000000000000
                                                                                                                                              NFT (302498735739307807/FTX AU - WE                                                                                                    NFT (302498735739307807/FTX AU - WE
                                                                                                                                              ARE HERE! #11928)                                       1.000000000000000                                                              ARE HERE! #11928)                                       1.000000000000000
                                                                                                                                              NFT (309071814510152921/FTX EU - WE                                                                                                    NFT (309071814510152921/FTX EU - WE
                                                                                                                                              ARE HERE! #127232)                                      1.000000000000000                                                              ARE HERE! #127232)                                      1.000000000000000
                                                                                                                                              NFT (316245971895545368/FTX EU - WE                                                                                                    NFT (316245971895545368/FTX EU - WE
                                                                                                                                              ARE HERE! #127558)                                      1.000000000000000                                                              ARE HERE! #127558)                                      1.000000000000000
                                                                                                                                              NFT (367503298037208066/FTX AU - WE                                                                                                    NFT (367503298037208066/FTX AU - WE
                                                                                                                                              ARE HERE! #49142)                                       1.000000000000000                                                              ARE HERE! #49142)                                       1.000000000000000
                                                                                                                                              NFT (393850693356356106/FTX EU - WE                                                                                                    NFT (393850693356356106/FTX EU - WE
                                                                                                                                              ARE HERE! #126981)                                      1.000000000000000                                                              ARE HERE! #126981)                                      1.000000000000000
                                                                                                                                              NFT (480583399881932821/FTX AU - WE                                                                                                    NFT (480583399881932821/FTX AU - WE
                                                                                                                                              ARE HERE! #11907)                                     1.000000000000000                                                                ARE HERE! #11907)                                     1.000000000000000
                                                                                                                                              OP-PERP                                               0.000000000000000                                                                OP-PERP                                               0.000000000000000
                                                                                                                                              PERP                                                 29.900000000000000                                                                PERP                                                 29.900000000000000
                                                                                                                                              RAY                                                 317.131498586990900                                                                RAY                                                 317.131498586990900
                                                                                                                                              RAY-PERP                                              0.000000000000000                                                                RAY-PERP                                              0.000000000000000
                                                                                                                                              RUNE                                                 37.704722544006040                                                                RUNE                                                 37.704722544006040
                                                                                                                                              RUNE-PERP                                             0.000000000000000                                                                RUNE-PERP                                             0.000000000000000
                                                                                                                                              SOL                                                   0.500639200000000                                                                SOL                                                   0.500639200000000
                                                                                                                                              SOL-PERP                                              0.000000000000000                                                                SOL-PERP                                              0.000000000000000
                                                                                                                                              SRM                                                   0.054762980000000                                                                SRM                                                   0.054762980000000
                                                                                                                                              SRM_LOCKED                                            0.048953640000000                                                                SRM_LOCKED                                            0.048953640000000
                                                                                                                                              STARS                                                50.000000000000000                                                                STARS                                                50.000000000000000
                                                                                                                                              STEP                                                500.000000000000000                                                                STEP                                                500.000000000000000
                                                                                                                                              STORJ-PERP                                           -0.000000000000028                                                                STORJ-PERP                                           -0.000000000000028
                                                                                                                                              SUSHI-PERP                                            0.000000000000000                                                                SUSHI-PERP                                            0.000000000000000
                                                                                                                                              TRX                                                                                                                                    TRX                                                   0.000000000000000
                                                                                                                                              USD                                                 770.216664425490500                                                                USD                                                 770.216664425490500
                                                                                                                                              USDT                                                  2.646593010777734                                                                USDT                                                  2.646593010777734
                                                                                                                                              XEM-PERP                                              0.000000000000000                                                                XEM-PERP                                              0.000000000000000
                                                                                                                                              ZIL-PERP                                              0.000000000000000                                                                ZIL-PERP                                              0.000000000000000
35752          Name on file                                                            FTX Trading Ltd.                                       ADA-PERP                                              0.000000000000000 54333      Name on file          FTX Trading Ltd.              ADA-PERP                                              0.000000000000000
                                                                                                                                              ALGO-PERP                                             0.000000000000000                                                                ALGO-PERP                                             0.000000000000000
                                                                                                                                              AR-PERP                                               0.000000000000000                                                                AR-PERP                                               0.000000000000000
                                                                                                                                              AXS                                                   0.000000001826630                                                                AXS                                                   0.000000001826630
                                                                                                                                              BTC                                                   0.000000008819127                                                                BTC                                                   0.000000008819127
                                                                                                                                              BTC-PERP                                              0.000000000000000                                                                BTC-PERP                                              0.000000000000000
                                                                                                                                              BTTPRE-PERP                                           0.000000000000000                                                                BTTPRE-PERP                                           0.000000000000000
                                                                                                                                              DOGE-PERP                                             0.000000000000000                                                                DOGE-PERP                                             0.000000000000000
                                                                                                                                              DOT                                                   0.000000009046020                                                                DOT                                                   0.000000009046020
                                                                                                                                              DOT-PERP                                             -0.000000000000008                                                                DOT-PERP                                             -0.000000000000008
                                                                                                                                              EDEN-PERP                                             0.000000000000087                                                                EDEN-PERP                                             0.000000000000087
                                                                                                                                              ENS-PERP                                             -0.000000000000017                                                                ENS-PERP                                             -0.000000000000017
                                                                                                                                              ETC-PERP                                              0.000000000000014                                                                ETC-PERP                                              0.000000000000014
                                                                                                                                              ETH                                                   0.000000014997169                                                                ETH                                                   0.000000014997169
                                                                                                                                              ETH-PERP                                              0.000000000000007                                                                ETH-PERP                                              0.000000000000007
                                                                                                                                              FIL-PERP                                              0.000000000000000                                                                FIL-PERP                                              0.000000000000000
                                                                                                                                              FLM-PERP                                              0.000000000000000                                                                FLM-PERP                                              0.000000000000000
                                                                                                                                              FLOW-PERP                                             0.000000000000011                                                                FLOW-PERP                                             0.000000000000011
                                                                                                                                              FTT                                                  45.514890124980305                                                                FTT                                                  45.514890124980305
                                                                                                                                              FTT-PERP                                             -0.000000000000454                                                                FTT-PERP                                             -0.000000000000454
                                                                                                                                              FTXDXY-PERP                                           0.000000000000000                                                                FTXDXY-PERP                                           0.000000000000000
                                                                                                                                              GBP                                                   0.000000001610079                                                                GBP                                                   0.000000001610079
                                                                                                                                              GMT-PERP                                              0.000000000000000                                                                GMT-PERP                                              0.000000000000000
                                                                                                                                              GRT-PERP                                              0.000000000000000                                                                GRT-PERP                                              0.000000000000000
                                                                                                                                              GST-PERP                                              0.000000000001818                                                                GST-PERP                                              0.000000000001818
                                                                                                                                              HNT-PERP                                              0.000000000000053                                                                HNT-PERP                                              0.000000000000053
                                                                                                                                              LUNA2                                                 0.000000003000000                                                                LUNA2                                                 0.000000003000000
                                                                                                                                              LUNA2_LOCKED                                          8.379103910000000                                                                LUNA2_LOCKED                                          8.379103910000000
                                                                                                                                              LUNC                                                  0.000000000753744                                                                LUNC                                                  0.000000000753744
                                                                                                                                              LUNC-PERP                                             0.000000000018644                                                                LUNC-PERP                                             0.000000000018644
                                                                                                                                              MAPS-PERP                                             0.000000000000000                                                                MAPS-PERP                                             0.000000000000000
                                                                                                                                              MATIC-PERP                                            0.000000000000000                                                                MATIC-PERP                                            0.000000000000000
                                                                                                                                              NEAR-PERP                                             0.000000000000000                                                                NEAR-PERP                                             0.000000000000000
                                                                                                                                              NFT (295755277884898039/FTX EU - WE                                                                                                    NFT (295755277884898039/FTX EU - WE
                                                                                                                                              ARE HERE! #112933)                                      1.000000000000000                                                              ARE HERE! #112933)                                      1.000000000000000
                                                                                                                                              NFT (451686257550973445/FTX EU - WE                                                                                                    NFT (451686257550973445/FTX EU - WE
                                                                                                                                              ARE HERE! #112771)                                      1.000000000000000                                                              ARE HERE! #112771)                                      1.000000000000000
                                                                                                                                              NFT (467278078509386908/FTX EU - WE                                                                                                    NFT (467278078509386908/FTX EU - WE
                                                                                                                                              ARE HERE! #113073)                                      1.000000000000000                                                              ARE HERE! #113073)                                      1.000000000000000
                                                                                                                                              NFT (561376909672077508/FTX AU - WE                                                                                                    NFT (561376909672077508/FTX AU - WE
                                                                                                                                              ARE HERE! #16091)                                       1.000000000000000                                                              ARE HERE! #16091)                                       1.000000000000000

56976*: Surviving Claim is pending modification on the Debtors· Seventy-Sixth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                Case 22-11068-JTD                             Doc 25689-2                                  Filed 09/25/24        Page 20 of 20
                          Claims to be Disallowed                                                                                Surviving Claims
 Claim                                                                                             Claim
         Name    Debtor                             Tickers   Ticker Quantity                                Name       Debtor                       Tickers   Ticker Quantity
Number                                                                                            Number
                                    OKB                                       0.000000001379380                                        OKB                                     0.000000001379380
                                    OKB-PERP                                 -0.000000000000007                                        OKB-PERP                               -0.000000000000007
                                    OMG                                       0.000000009336920                                        OMG                                     0.000000009336920
                                    OMG-PERP                                 -0.000000000000170                                        OMG-PERP                               -0.000000000000170
                                    PEOPLE-PERP                               0.000000000000000                                        PEOPLE-PERP                             0.000000000000000
                                    QTUM-PERP                                 0.000000000000014                                        QTUM-PERP                               0.000000000000014
                                    RAY                                       0.000000004652400                                        RAY                                     0.000000004652400
                                    RUNE                                      0.000000003986000                                        RUNE                                    0.000000003986000
                                    SAND-PERP                                 0.000000000000000                                        SAND-PERP                               0.000000000000000
                                    SOL                                       0.000000016309481                                        SOL                                     0.000000016309481
                                    SOL-PERP                                 -0.000000000000001                                        SOL-PERP                               -0.000000000000001
                                    SRM                                       1.251511720000000                                        SRM                                     1.251511720000000
                                    SRM_LOCKED                              175.993330080000000                                        SRM_LOCKED                            175.993330080000000
                                    SRN-PERP                                  0.000000000000000                                        SRN-PERP                                0.000000000000000
                                    SUN                                       0.000000005000000                                        SUN                                     0.000000005000000
                                    SUSHI                                     0.000000009116760                                        SUSHI                                   0.000000009116760
                                    TRX                                       0.000006025756430                                        TRX                                     0.000006025756430
                                    UNI                                       0.000000005377720                                        UNI                                     0.000000005377720
                                    USD                                      -0.000004089133807                                        USD                                    -0.000004089133807
                                    USDT                                    304.430000015897750                                        USDT                                  304.430000015897750
                                    USTC-PERP                                 0.000000000000000                                        USTC-PERP                               0.000000000000000
                                    VET-PERP                                  0.000000000000000                                        VET-PERP                                0.000000000000000
                                    XLM-PERP                                  0.000000000000000                                        XLM-PERP                                0.000000000000000
                                    XRP-PERP                                  0.000000000000000                                        XRP-PERP                                0.000000000000000
                                    XTZ-PERP                                  0.000000000000000                                        XTZ-PERP                                0.000000000000000
